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                IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF TEXAS
                         HOUSTON DIVISION

RONALD JAMES HAMILTON,                  §
            Petitioner,                 §
                                        §
v.                                      § CIVIL ACTION NO. 4:15–cv–01996
                                        § DEATH PENALTY CASE
BOBBY LUMPKIN,                          §
Director, Texas Department of           §
Criminal Justice, Correctional          §
Institutions Division,                  §
                   Respondent.          §

            RESPONDENT LUMPKIN’S AMENDED ANSWER
                   WITH BRIEF IN SUPPORT

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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

RONALD JAMES HAMILTON,                          §
            Petitioner,                         §
                                                §
v.                                              § CIVIL ACTION NO. 4:15–cv–01996
                                                § DEATH PENALTY CASE
BOBBY LUMPKIN,                                  §
Director, Texas Department of                   §
Criminal Justice, Correctional                  §
Institutions Division,                          §
                   Respondent.                  §

              AMENDED ANSWER WITH BRIEF IN SUPPORT

       Ronald James Hamilton 1 shot and killed Ismail Yousef Matalkah while

robbing a convenience store. After Hamilton pleaded guilty to the offense, a

Texas jury convicted Hamilton of capital murder and sentenced him to die.

Following unsuccessful direct appeal and state writ proceedings, Hamilton

filed a federal habeas petition with this Court. ECF No. 19. The Director

answered the petition, and Hamilton replied. ECF Nos. 27, 34. This Court then

stayed the case to allow Hamilton to present unexhausted claims to the state



1       Respondent Bobby Lumpkin will be referred to as “the Director.” The Director employs
the following citation conventions: “ECF” refers to entries on the Court’s electronic docket
sheet; “CR” refers to the clerk’s record of pleadings and documents filed during Hamilton’s
capital-murder trial; “RR” refers to the reporter’s record of transcribed trial proceedings; “SX”
and “DX” refer to the State and defense trial exhibits; “SHCR–01, –02” refer to the clerk’s
record of pleadings and documents filed during Hamilton’s initial and subsequent state
habeas proceedings; and “SHRR–02” refers to the reporter’s record of transcribed subsequent
state habeas proceedings. All references are preceded by volume number and followed by
page number where applicable.


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court. ECF No. 37. Hamilton filed a subsequent state habeas application, and

the Texas Court of Criminal Appeals (CCA) remanded one claim for

consideration on the merits. 2 Following a hearing, the trial court recommended

granting relief, but the CCA rejected the recommendation and instead denied

and dismissed Hamilton’s subsequent state habeas application. 3 With

exhaustion complete, this Court reopened the case and lifted the stay. ECF No.

47. Hamilton has filed his amended petition, ECF No. 50, and the Director now

answers.

      As shown below, Hamilton does not establish that he is entitled to any

relief. Some of his claims are procedurally defaulted or barred, and these

defaulted claims are meritless even under de novo review. Failing to meet his

burden under the governing statute, Hamilton also does not demonstrate that

the state courts unreasonably applied clearly established federal law in

rejecting his claims; nor does he overcome the state courts’ factual findings

with clear and convincing evidence. Accordingly, this Court should deny

Hamilton’s bid for a writ of habeas corpus. 4


2      Ex parte Hamilton, WR–78,114–02, 2018 WL 4344324, at *1 (Tex. Crim. App. Sept.
12, 2018).

3      Ex parte Hamilton, WR–78,114–02, 2020 WL 6588560, at *1–*3 (Tex. Crim. App. Nov.
11, 2020) (per curiam) (not designated for publication).

4      The Director denies all allegations of fact made by Hamilton except those supported
by the record and those specifically admitted herein. The Director also reserves all
affirmative defenses concerning Hamilton’s claims. To the extent that any unexhausted,


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                           HAMILTON’S ALLEGATIONS

       The Director understands Hamilton to allege that:

       1.     “Hamilton’s death sentence was obtained in violation of the
              Due Process Clause and the Eighth Amendment because the
              prosecution suppressed favorable evidence prior to and
              during trial, presented false and misleading evidence, and
              because his death sentence is grounded upon evidence that
              has been revealed to be materially inaccurate”;

       2.     “Hamilton received ineffective assistance of trial counsel
              [(IATC)] during the punishment phase of his trial in
              violation of the [S]ixth and [F]ourteenth [A]mendments,”
              because:

             (a)     “[t]rial counsel repeatedly failed to object to
                     inadmissible and prejudicial extraneous offense and
                     bad act evidence”;

             (b)     “[t]rial counsel was ineffective for failing to
                     investigate, prepare for, and effectively cross-examine
                     [the jailhouse snitch] who testified that he overheard
                     Hamilton admit to committing the extraneous capital
                     murder”;

             (c)     “[t]rial counsel was ineffective for failing to
                     investigate, prepare for, and effectively cross-examine
                     Wanda Johnson—a witness to the [extraneous]
                     murder who observed the shooter had an afro”; and

             (d)     “Hamilton’s counsel failed to adequately investigate,
                     prepare, and present mitigating evidence”;



procedurally defaulted, or time-barred claims or facts are not specifically addressed, the
Director fully intends to exert all of her affirmative defenses in this matter and does not
waive them, either implicitly or explicitly. The Director also retains the right to raise
additional defenses (i.e., jurisdiction, statute-of-limitations, exhaustion/procedural default,
etc.) should Hamilton later contend that he raised more or different issues than the ones
listed.


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      3.     “Hamilton is entitled to a new trial because of his counsel’s
             actual conflict of interest—representing [a] jailhouse snitch
             on the very case on which [he] derived benefit for testifying
             against Hamilton”;

      4.     “Hamilton is entitled to a new trial because of his counsel’s
             actual conflict of interest—being law firm partners with co-
             defendant [Shawon] Smith’s attorney”;

      5.     “[t]rial counsel was ineffective for failing to properly object
             to victim impact evidence”;

      6.     “Hamilton’s Due Process Rights under the Fifth and
             Fourteenth Amendments were violated when the trial court
             failed to admonish him concerning the range of punishment
             and his right against compulsory self-incrimination before
             accepting his guilty plea to capital murder”;

      7.     “Texas’[s] capital sentencing scheme violates the Fifth,
             Sixth, and Fourteenth Amendments [], as interpreted under
             Apprendi v. New Jersey[ 5], Ring v. Arizona[ 6], and Hurst v.
             Florida[ 7]”;

      8.     “Texas’[s] 12–10 [r]ule [v]iolated Hamilton’s [r]ights under
             the Eighth and Fourteenth Amendments”;

      9.     “Texas’[s] death penalty scheme violated Hamilton’s right
             against cruel and unusual punishment and rights to an
             impartial jury and due process of law under the Sixth,
             Eighth, and Fourteenth Amendments [. . .] because [Texas
             Code of Criminal Procedure] Article 37.071 § 2(b)(1) employs
             undefined terms leading to an arbitrary infliction of the
             death penalty”;




5     530 U.S. 466 (2000).

6     536 U.S. 584 (2002).

7     577 U.S. 92 (2016).


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      10.    “Hamilton was denied equal protection and due process of
             law under the [F]ourteenth [A]mendment and subjected to
             cruel [and unusual punishment under the Eighth
             Amendment], under the principles of Bush v. Gore[ 8],
             because he was subjected to disparate treatment on account
             of his race”;

      11.    “Hamilton was denied equal protection and due process of
             law under the [F]ourteenth [A]mendment and subjected to
             cruel [and unusual punishment under the Eighth
             Amendment], under the principles of [Bush], because he was
             subjected to disparate treatment on account of where he
             live[d] in the state”;

      12.    “Texas’[s] [c]apital [s]entencing [s]cheme [v]iolates the
             Eighth Amendment [w]ith [r]espect to the [b]urden of [p]roof
             and [the] internal inconsistencies within the [m]itigation
             [i]ssue, by giving the [j]ury [m]ixed [s]ignals as to [h]ow the
             [m]itigation [i]ssue is to be [a]pplied”; and

      13.    The Texas [s]cheme for [e]xecuting [d]efendants by [l]ethal
             [i]njection is [. . .] in [v]iolation of the Eighth Amendment’s
             [p]rotection [a]gainst [c]ruel and [u]nusual punishment.”

Am. Pet., ECF No. 50 at 2–5 (table of contents), 60, 82, 84, 94, 99, 103, 127,

150, 163, 170, 185, 196, 203, 209, 217, 223 (formatting omitted); Pet., ECF No.

19 at iii–vi (table of contents), 33, 43, 57, 62, 69, 75–76, 85, 90, 94, 118, 129,

136, 141, 146, 150, 156.

                            STATEMENT OF THE CASE

      Indicted for capital murder, Hamilton pleaded guilty to killing Matalkah

while committing a robbery. 1–2 CR 2, 11, 328, 334–35; 16 RR 10; 22 RR 4.



8     531 U.S. 98 (2000).


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Pursuant to the jury’s answers to the punishment special issues, the trial court

sentenced Hamilton to death. 2 CR 329–31; 22 RR 4–7; Tex. Code Crim. Proc.

art. 37.071, § 2(b), (e). The CCA upheld Hamilton’s conviction and death

sentence on automatic direct appeal. Hamilton v. State, No. 74,523 slip op.,

2004 WL 3094382, at *6 (Tex. Crim. App. Oct. 13, 2004) (per curiam) (not

designated for publication), cert. denied 545 U.S. 1130 (2005); Tex. Code Crim.

Proc. art. 37.071, § 2(h).

      Hamilton also filed a state application for a writ of habeas corpus. 1

SHCR–01 2. After briefing, the trial court issued findings of fact and

conclusions of law and recommended that the CCA deny relief. 4 SHCR–01

776–809. Following its own review, the CCA adopted the trial court’s findings

of fact and conclusions of law and denied Hamilton’s application. Ex parte

Hamilton, No. 78,114–01, 2015 WL 3899185, at *1 (Tex. Crim. App. Jun. 24,

2015) (per curiam) (not designated for publication).

      Hamilton filed his federal petition for a writ of habeas corpus on June

17, 2016. Pet., ECF No. 19. The Director answered the petition, and Hamilton

replied. ECF Nos. 27, 34. This Court then stayed the case to allow Hamilton to

present unexhausted claims to the state court. ECF No. 37. The CCA found

that one allegation satisfied the requirements for consideration of a

subsequent application under Texas Code of Criminal Procedure Article




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11.071, § 5—namely, that recently tested fingerprint evidence established

Hamilton’s innocence of an extraneous capital murder introduced at

punishment. Ex parte Hamilton, 2018 WL 4344324, at *1. Following a hearing,

the trial court adopted Hamilton’s proposed findings of fact and conclusions of

law recommending that relief be granted. Ex parte Hamilton, 2020 WL

6588560, at *1. But the CCA independently reviewed the case and rejected the

trial court’s findings and conclusions as not supported by the record or law. Id.

at *1. The CCA then denied relief on Hamilton fingerprint claims and

dismissed the remainder of Hamilton’s claims as procedurally barred. Id. at

*3. Hamilton has petitioned for certiorari review of the CCA’s decision.

Hamilton, Jr. v. Texas, No. 20–7687. His petition remains pending.

       With exhaustion complete, the Court reopened the case and lifted the

stay. ECF No. 47. Hamilton filed his amended petition and a motion for an

evidentiary hearing on April 26, 2021. Am. Pet., No. ECF No. 50; ECF No. 52.

                        STATEMENT OF THE FACTS

I.     Facts of the Crime

       Ahmad Naimi was the manager of a Sun Mart gas station located on

Yellowstone Street in Houston, Texas. 16 RR 252–53. On November 7, 2001,

around 6:45 p.m., Naimi saw Hamilton enter the store, ask the cashier,

Matalkah, about an item, and then leave. Id. at 253–55. Two to three minutes




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later Naimi heard someone talking to Matalkah. Id. at 255, 260. Investigating,

he saw that Hamilton had returned and was pointing a gun at Matalkah’s face.

Id. When Hamilton saw Naimi, he shot Matalkah. Id. at 255, 262. Hamilton

then chased and shot at Naimi, who fell to the ground and was still. Id. at 262–

65. Hamilton left, taking with him a cash register containing about two

hundred dollars. Id. at 263, 276.

      Josephine Miller saw Hamilton leaving the Sun Mart. Hamilton had the

cash register and entered the passenger side of an older grey Cutlass or Regal.

16 RR 57, 65. The car was driven by Hamilton’s friend Smith (also known as

“Big Shawn”). 16 RR 88–89, 242; SX 38-A at 4. Miller provided police a partial

license plate number, noted the car’s driver was heavyset, and described

Hamilton’s clothing. 16 RR 63–65. Miller later identified Smith’s car as the

getaway vehicle. Id. at 242.

      After Hamilton left, Naimi called the police and tended to Matalkah. Id.

at 264–66. Matalkah eventually succumbed to a gunshot wound to the head.

18 RR 67, 86–87. The store’s security camera captured the robbery, and Naimi

identified Hamilton as Matalkah’s shooter. 16 RR 243–46, 277–84; SX 41.

      Billy Norris was Hamilton and Smith’s friend. At the time of Matalkah’s

murder, Norris was staying with Smith about two blocks from the Sun Mart.

16 RR 72–73. Norris testified that Smith drove a late 1980s two-door smoke




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grey Regal. Id. Shortly after Matalkah’s murder, Norris heard Hamilton and

Smith arguing and hitting something with a hammer. Id. at 74–76. Hamilton

and Smith were attempting to open a cash register. Id. at 76. Smith said that

he drove Hamilton to a store because Hamilton was hungry. Id. at 77. While

Smith waited in the car, he heard a gunshot and then saw Hamilton leave the

store with the cash register. Id. Smith told Norris that Hamilton was using fry

when he murdered Matalkah. Id. at 101–02. Fry is marijuana laced with PCP.

17 RR 46. Hamilton himself was evasive with Norris about what happened,

but he did say that he had made a mistake and was sorry. 16 RR 78–79.

Hamilton started attending church with Norris about a week after Matalkah’s

murder and expressed remorse. Id. at 80. After a month or two, though,

Hamilton stopped attending church. Id. at 80–81. In December 2001, Norris

witnessed Hamilton and Smith fighting. Id. at 81–84. Hamilton threatened

Smith not to tell anyone about the murder. Id. at 84–85.

      On January 21, 2002, police responded to a family disturbance involving

Hamilton and Brooke Rogers at a Stop-N-Go store. 16 RR 124–25. Rogers had

met Hamilton in 1995, was romantically involved with him for three years, and

was the mother of his three-year-old son. Id. at 138–39. Hamilton and Rogers

had been at Rogers’s house arguing about her relationship with another man

and her refusal to have sex with Hamilton. Id. at 148. They continued to fight




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as Rogers drove Hamilton home. Id. at 148–49. Rogers eventually grew

frightened that Hamilton might hit her and stopped her car. Id. at 150.

Hamilton got out, and Rogers called the police. Id. at 150–51. When Rogers

locked herself in the car, Hamilton slashed her tires with a knife. Id. at 120,

129, 150–51. After the police arrived, Hamilton told them that Rogers was

wanted for writing hot checks. Id. at 152. In turn, Rogers told police that

Hamilton had confessed to shooting a man at a gas station. Id. at 152–53.

Rogers had recognized Hamilton’s picture from the news. Id. at 153–54.

Hamilton told Rogers that he robbed the convenience store because he was

broke. Id. at 155. But he also claimed that he had shot Matalkah because

Matalkah was reaching for a gun in “a drug deal gone bad.” Id. at 154, 157.

Hamilton told Rogers that he threw the murder weapon and the cash register

into the ship channel and threatened Rogers to keep quiet. Id. at 158–59, 181.

Police arrested Hamilton for criminal mischief 9 and placed a homicide hold on

him. Id. at 130–31. Rogers gave police a statement. 16 RR 229.

       Hamilton himself also gave a videotaped statement. Hamilton confessed

that he had accompanied Smith and a man named “Black” to the Sun Mart in

Smith’s car, but he did not admit to committing the murder or robbery—

instead, he blamed “Black” and Smith. 16 RR 229–38, SX 38, 38-A, 39.


9       Hamilton was convicted of criminal mischief and sentenced to fifty days in the county
jail. 23 RR 53; SX 51.


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Hamilton acknowledged recently having a cast on his right hand. 16 RR 243.

The robber in the Sun Mart surveillance tape also had a cast, albeit on the left

hand. Id.

II.     Evidence Relating to Punishment

        A.    The State’s evidence

        In addition to Matalkah’s murder, the State presented evidence

concerning Hamilton’s other bad acts and convictions. Rogers testified that

Hamilton was nice to her before their son was born, but Hamilton later

contributed little time or money to their son’s upbringing. 16 RR 140–43.

Hamilton and Rogers fought often, and Hamilton would physically hurt

Rogers. Id. at 159–60. Once, Hamilton shot a gun at Rogers from across a field.

Id. at 182–84. Another time, Hamilton grew angry about a comment made by

a friend of a man that Rogers knew, and Hamilton pushed or tripped Rogers.

Id. at 160–61. Hamilton took their son from Rogers, and when she went for

help, he followed Rogers down the street, cursing, hitting, kicking, and pushing

her while she wept. Id. at 161–64. In another incident, the police came to

Rogers’s apartment after Hamilton had beaten her. 17 RR 62. Hamilton had

grown upset when their baby was crying while Hamilton was on the phone. Id.

at 64. Hamilton threw the phone at Rogers, and Rogers sprayed air freshener




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at Hamilton. Id. at 64–65. Hamilton then punched Rogers three times. Id. at

66. Rogers testified that Hamilton sold drugs for a living. 16 RR 198–99.

      The State also elicited testimony about Hamilton’s poor behavior in jail.

Hamilton had assaulted one inmate, calling him a “fucking Mexican” and

beating him until the guards arrived. 17 RR 80–85. Hamilton hit another

inmate hard enough that he injured his own hand and left the inmate with a

permanent scar on his forehead. Id. at 143–46, 165. Hamilton put hair remover

in another inmate’s shampoo bottle and stole an inmate’s food tray. Id. at 113–

17, 127–31.

      Inmate Joseph Montoyer testified that Hamilton was a bully who picked

on Caucasians and Hispanics. 17 RR 185. Montoyer heard Hamilton tell

friends that he shot a man on Yellowstone Street and took a cash drawer. Id.

at 186. Hamilton also told Montoyer that Hamilton’s sister and aunt would

testify that Hamilton was in Dallas during a killing, and Montoyer overheard

Hamilton discuss his alibi during a phone call. Id. at 189–90, 193.

      The State introduced evidence that Hamilton was previously convicted

of: (1) possession of a controlled substance in 1994; (2) possession of marijuana

in 1997; and (3) possession of cocaine in 1998. SX 48–50. As noted, Hamilton

was also convicted of criminal mischief in 2002. SX 51. Hamilton’s 1997

conviction stemmed from police executing a narcotics search warrant at a




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Houston residence after receiving complaints that drugs were being sold there.

17 RR 31–34. The police arrested Hamilton and Smith and found numerous

plastic baggies and envelopes filled with marijuana. Id. at 39, 41. Hamilton’s

1998 conviction arose when police stopped Hamilton for driving a vehicle listed

as stolen. Id. at 93–103, 106. Inside the car, police found crack cocaine, a pistol

under the driver’s seat, and two soda bottles filled with codeine and another

liquid. Id. at 106–07.

       The State also presented evidence that Hamilton committed another

murder at a convenience store on Holman Street in Houston on December 9,

2001. Charles Douglas and Wanda Johnson arrived at the convenience store

around 7:00 p.m. 17 RR 276. Inside, Hamilton was talking with owner Son

Vinh Huynh (also known as “Tulson”). 17 RR 216, 239–42, 262–63; 18 RR 98.

Hamilton and Huynh began fighting. 17 RR 242–43. Hamilton then drew a gun

and shot Huynh. Id. at 244–45, 264, 284–85. After shooting Huynh, Hamilton

tried unsuccessfully to open the store cash register and used a shirt to wipe his

fingerprints off it. Id. at 247. He eventually left, getting into the passenger seat

of an older car driven by a heavyset African American man. Id. at 246, 276,

279.

       When police arrived at the scene, Huynh was dead and lying face down

in a pool of blood. 17 RR 205. The cause of Huynh’s death was similar to




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Matalkah’s—a gunshot to the head. 18 RR 86–87. The type of wound suggested

the gun had been pressed against Huynh’s skin when fired. Id. at 80–81.

Huynh also had injuries consistent with a struggle. Id. at 82, 84–86. Douglas

and Johnson later identified Hamilton from a photospread and in court. 17 RR

241, 266, 268; 18 RR 22–24. Inmate Montoyer also overheard Hamilton

discussing a robbery on Holman Street involving an Asian victim. 17 RR 187–

88.

        Hamilton’s mother had seen him with a gun on several occasions. 18 RR

232–34. Hamilton had an Uzi and possibly a .38 caliber handgun. Hamilton

was proud of his weapons. Id. at 233–36.

        Muhamed Alli, Matalkah’s brother-in-law, testified that Matalkah came

to the United States from Jordan, leaving behind his wife and four children,

because he was unable to find employment in his home country. 19 RR 158–

59. Alli sent money to Matalkah’s family in Jordan because there was no one

else to care for Matalkah’s family except neighbors and relatives after

Matalkah’s death. Id. at 160–61.

        B.    The defense’s evidence

        The defense presented evidence that the getaway vehicle used in

Matalkah’s murder was wrecked on December 2, 2001 (i.e., a week before




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Huynh’s murder). 18 RR 109–12. Hamilton was arrested in connection with

the car accident, but he was released prior to Huynh’s murder. Id. at 111, 116.

      Hamilton’s father and mother—Ronald James Hamilton, Sr., and Elsie

Tippins—testified. Hamilton was the couple’s only child. 18 RR 121.

Hamilton’s father was a construction worker who sometimes worked offshore.

Id. at 122, 129. Hamilton’s father had been in the penitentiary three times and

was only recently released. Id. at 140. He had previously received an eighteen-

year sentence for attempted burglary of a building and a fifteen-year sentence

for robbery. Id. at 140–41. Hamilton’s mother was a full-time housewife. Id. at

122. She had attended school until the eleventh grade and took some special

education classes. Id. at 122, 183. Hamilton’s mother was twenty years old

when she gave birth to Hamilton in 1977 and considered herself to be a poor

mother. Id. at 183, 204. Hamilton’s parents were divorced, and his mother had

remarried. Id. at 121, 128–29.

      According to Hamilton’s father, both he and Hamilton’s mother regularly

smoked marijuana and drank beer—even when Hamilton’s mother was

pregnant. 18 RR 123–25. Hamilton’s father sold marijuana in late 1975 or

1976, and Tippins continued to sell marijuana after the couple separated. Id.

at 127–28. When Hamilton was little, his parents occasionally gave Hamilton

a medicine that they believed contained opium so that he would sleep. Id. at




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125. Hamilton’s father testified that he and his wife had physical and verbal

altercations. Id. at 130–31.

      Between 1977 and 1978, Hamilton lived at his maternal grandmother’s

house on Lozier Street. 18 RR 130. Hamilton’s grandmother suffered from

diabetes, had her leg amputated, and required dialysis. Id. at 134, 187.

Hamilton’s uncles lacked regular employment and also lived at the Lozier

Street house. Id. at 134, 144. Two of the uncles used drugs, and a third was

considered slow. Id. at 144–45, 202. According to Hamilton’s mother, her

brothers were crack addicts. Id. at 202–03. Hamilton’s grandmother and her

disability check supported the household financially. Id. at 134–35. Hamilton’s

father testified that large rats ran through the Lozier Street house, and the

toilets did not work properly. Id. at 132–33, 143.

      After Hamilton’s grandmother mother died in the 1980s, the Lozier

Street house further deteriorated, and Hamilton had to take care of himself

because his parents were not there for him. 18 RR 135, 145, 203. Hamilton’s

father testified that he had no time for young Hamilton because he was

addicted to drugs. Id. at 135–36. Hamilton’s father quit using drugs in 1996 or

1997, and his mother quit at some point as well. 18 RR 157–59. Hamilton’s

mother used cocaine, was arrested twice for prostitution, and was sent to jail

four or five times. Id. at 190, 204, 240. Hamilton saw his mother sell drugs but




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did not see her engage in prostitution. Id. at 193, 216–20. Hamilton’s mother

eventually had more children with another husband, Robert Tippins, but those

children lived with their father while Hamilton remained at the Lozier Street

house. Id. at 224–25.

      Hamilton attended school until the tenth grade and took special

education classes. 18 RR 194. According to his father, Hamilton could not read

or write as an adult and received social promotions in school. Id. at 147. While

imprisoned, Hamilton wrote his father letters that seemed as if they were

written by a seven-year-old child. Id. Hamilton had dealt drugs since he was

ten years old. Id. at 148. Once, Hamilton’s father caught an elementary-age

Hamilton sniffing aerosol deodorant. Id. at 138. Hamilton’s mother learned

that Hamilton was using fry about three years prior to trial. Id. at 204.

Hamilton father was afraid to try fry because he saw others lose control

because of it. Id. at 136.

      Darious Graves, Hamilton’s cousin, testified that Hamilton had little

supervision after Tippins’s mother died, and Hamilton stayed at various places

when he was fifteen or sixteen. 19 RR 17–18. Graves testified that Hamilton

was not generally violent; however, when Hamilton used fry, he would punch

holes in the wall, cry, and run naked in the streets. Id. at 19, 25–28.




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      Deedee Halpin, an educational diagnostician, testified that Hamilton

had average intellectual ability with an IQ of 92. 19 RR 53. Hamilton started

attending special education classes prior to second grade. Id. at 55–56. As an

elementary student, Hamilton’s academics lagged behind his age and grade.

Id. at 53–54, 56–57. Hamilton was also diagnosed with a severe visual

perception deficit, meaning that Hamilton’s brain was not interpreting what

Hamilton saw at an age-appropriate level. Id. at 54. Halpin believed that

Hamilton had a severe learning disability (particularly in the area of reading)

that never significantly improved. Id. at 62. Halpin reviewed two writing

samples from Hamilton and observed that Hamilton was writing at a first or

third grade level when he was twenty years old. Id. at 63–65. Halpin testified

that children with learning disabilities commonly act out or misbehave, and

Hamilton would have difficulty maintaining a job requiring written

communication. Id. at 67–68.

      In rebuttal, the State presented a 1998 pretrial services interview in

which Hamilton reported that he completed the eleventh grade and obtained

his GED. 19 RR 136–42. Hamilton also stated that he did not have a drug or

alcohol problem. Id. At that time, Hamilton worked part-time for a temporary

agency and had been previously employed as a laborer for seven months. Id.




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However, the Texas Education Agency had no record of Hamilton’s GED

certificate. 20 RR 10; DX 43.

                          STANDARD OF REVIEW

      Confined pursuant to a state court judgment, Hamilton is entitled to

relief “only on the ground that he is in custody in violation of the Constitution

or laws or treaties of the United States.” 28 U.S.C. § 2254(a). Thus, any claims

Hamilton raises which are based solely on alleged violations of state law should

be denied as a matter of law.

      Habeas relief is also inappropriate for claims which are either

unexhausted and procedurally defaulted or claims which were exhausted yet

dismissed in a successive state habeas application and, thus, are also

procedurally defaulted. Indeed, under the Antiterrorism and Effective Death

Penalty Act of 1996 (AEDPA), a federal habeas application shall not be granted

unless:

      (A)   the applicant has exhausted the remedies available in the
            courts of the State; or

      (B)   (i)    there is an absence of available State corrective
                   process; or

            (ii)   circumstances exist that render such process
                   ineffective to protect the rights of the applicant.

28 U.S.C. § 2254(b)(1). A writ may be denied on the merits, notwithstanding

any failure to exhaust available state court remedies. 28 U.S.C. § 2254(b)(2).



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       Regarding exhausted claims, under AEDPA, federal habeas relief based

upon claims that were adjudicated on the merits by the state courts cannot be

granted unless that adjudication:

       (1)    resulted in a decision that was contrary to, or involved an
              unreasonable application of, clearly established Federal law,
              as determined by the Supreme Court of the United States;
              or

       (2)    resulted in a decision that was based on an unreasonable
              determination of the facts in light of the evidence presented
              in the state court proceeding.

28 U.S.C. § 2254(d). The Supreme Court has explained that a state court

decision is “contrary to” clearly established federal law if the state court

“applies a rule that contradicts the governing law set forth in [the Supreme

Court’s] cases,” or confronts facts that are “materially indistinguishable” from

relevant Supreme Court precedent but reaches an opposite result. 10 (Terry)

Williams, 529 U.S. at 405–06.

       A “run-of-the-mill” state court decision applying the correct Supreme

Court rule to the facts of a particular case is to be reviewed under the

“unreasonable application” clause. Id. at 406. To this end, a state court



10     “Clearly established Federal law” refers to the holdings, as opposed to the dicta, of the
Supreme Court’s decisions as of the time of the relevant state court decision. Lockyer v.
Andrade, 538 U.S. 63, 71 (2003) (citing (Terry) Williams v. Taylor, 529 U.S. 362, 412 (2000)).
“In other words, ‘clearly established federal law’ under § 2254(d)(1) is the governing legal
principle or principles set forth by the Supreme Court at the time the state court reaches its
decision.” Id. at 71–72 (citing (Terry) Williams, 529 U.S. at 405, 413, and Bell v. Cone, 535
U.S. 685, 698 (2002)).


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unreasonably applies Supreme Court precedent only if it correctly identifies

the governing precedent but unreasonably applies it to the facts of the

particular case. Id. at 407–09. As the Supreme Court described this deferential

standard, in order to determine if the state court made an unreasonable

application, a federal court “must determine what arguments or theories

supported or . . . could have supported, the state court’s decision; and then it

must ask whether it is possible fairminded jurists could disagree that those

arguments or theories are inconsistent with the holding in a prior decision of

this Court.” Harrington v. Richter, 562 U.S. 86, 102 (2011) (emphasis added).

Indeed, this is the “only question that matters under § 2254(d)(1).” Id.

      Thus, “a state court’s determination that a claim lacks merit precludes

federal habeas relief so long as ‘fairminded jurists could disagree’” on the

correctness of the state court’s decision. Id. at 101 (quoting Yarborough v.

Alvarado, 541 U.S. 652, 664 (2002)); see also Woodford v. Visciotti, 537 U.S. 19,

27 (2002) (federal habeas relief is only merited where the state court decision

is both incorrect and objectively unreasonable, “whether or not [this Court]

would reach the same conclusion”). Moreover, “evaluating whether a rule

application was unreasonable requires considering the rule’s specificity. The

more general the rule, the more leeway the courts have in reaching outcomes

in case-by-case determinations.” Alvarado, 541 U.S. at 644. This is particularly




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true when reviewing a state court’s application of Strickland v. Washington,

466 U.S. 668 (1984), which when analyzed in conjunction with § 2254(d)

creates a difficult to surmount and “doubly” deferential assumption in favor of

the state court denial. Richter, 562 U.S. at 105.

      It bears repeating that even a strong case for relief does not mean the

state court’s contrary conclusion was unreasonable:

      If this standard is difficult to meet, that is because it was meant to
      be. As amended by AEDPA, § 2254(d) stops short of imposing a
      complete bar on federal court litigation of claims already rejected
      in state proceedings. It preserves the authority to issue the writ in
      cases where there is no possibility fairminded jurists could
      disagree that the state court’s decision conflicts with this Court’s
      precedents. It goes no farther. [28 U.S.C. §] 2254(d) reflects the
      view that habeas corpus is a “guard against extreme malfunctions
      in the state court criminal justice systems, not a substitute for
      ordinary error correction through appeal.”

Id. at 102–03 (emphasis added, internal citations omitted).

      Moreover, it is the state court’s “ultimate decision” that is to be tested

for unreasonableness, “not every jot of its reasoning.” Santellan v. Cockrell, 271

F.3d 190, 193 (5th Cir. 2001); see also Neal v. Puckett, 286 F.3d 230, 246 (5th

Cir. 2002) (en banc) (holding that a federal court’s “focus on the ‘unreasonable

application’ test under [§] 2254(d) should be on the ultimate legal conclusion

the state court reached and not on whether the state court considered and

discussed every angle of the evidence”); Catalan v. Cockrell, 315 F.3d 491, 493

(5th Cir. 2002) (“[W]e review only the state court’s decision, not its reasoning



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or written opinion[.]”). And a state court’s decision need not expressly cite any

federal law or even be aware of applicable Supreme Court precedent in order

to be entitled to deference. Mitchell v. Esparza, 540 U.S. 12, 16 (2003); Early v.

Packer, 537 U.S. 3, 7–8 (2002) (state court decision must be upheld so long as

the result does not contradict Supreme Court precedent).

       If the Supreme Court has not “broken sufficient legal ground to establish

[a] . . . constitutional principle, the lower federal courts cannot themselves

establish such a principle with clarity sufficiently to satisfy the AEDPA bar”

under either the “contrary to” or “unreasonable application” standard. (Terry)

Williams, 529 U.S. at 381. Stated differently:

       As a condition for obtaining habeas corpus relief from a federal
       court, a state prisoner must show that the state court’s ruling on
       the claim being presented in federal court was so lacking in
       justification that there was an error well understood and
       comprehended in existing law beyond any possibility for
       fairminded disagreement.

Richter, 562 U.S. at 103 (emphasis added). And a federal court must be wary

of circumstances in which it must “extend a [legal] rationale” of the Supreme

Court “before it can apply it to the facts at hand” because such a process

suggests the proposed rule is not “clearly established.” Alvarado, 541 U.S. at

666.

       Regarding questions of fact, federal courts must presume correct the

factual findings of the state courts unless the petitioner “rebut[s] the



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presumption        of    correctness      by     clear     and     convincing       evidence.”

28 U.S.C. § 2254(e)(1). “This presumption of correctness not only applies to

explicit findings of fact, but it also applies to those unarticulated findings

which are necessary to the state court’s conclusions of mixed law and fact.”

Valdez v. Cockrell, 274 F.3d 941, 948 n.11 (5th Cir. 2001).

       Additionally, except for the narrow exceptions contained in § 2254(e)(2),

the evidence upon which a petitioner would challenge a state court finding

must have been presented to the state court. 11 Cullen v. Pinholster, 563 U.S.

170, 181–82 (2011) (explaining that § 2254(d)(1) “refers in the past tense, to a

state court adjudication that ‘resulted in’ a decision that was contrary to, or

‘involved’ an unreasonable application of, established law.” This language

requires an examination of the state-court decision at the time it was made. It

follows that the record under review is limited to the record in existence at the

time, i.e., the record before the state court.”). Further, because a federal habeas

court is also prohibited from granting relief unless a decision was based on an

“unreasonable determination of the facts in light of the evidence presented in

the state court proceeding,” it follows that demonstrating the incorrectness of a

state court fact finding based upon evidence not presented to the state court


11     Throughout this answer, the Director has pointed out specific instances where
Hamilton has presented Pinholster-barred evidence. However, the Director asks the Court to
apply Pinholster to all evidence not presented to the state courts in relation to claims resolved
on the merits, and he does not waive any Pinholster objection, either explicitly or implicitly.


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would be of no avail to a habeas petitioner. 28 U.S.C. § 2254(d)(2) (emphasis

added).

       Finally, where a habeas petitioner has failed to fully develop the factual

bases of his claims in state court, he is precluded from further factual

development in federal court unless (1) his claims rely on a new rule of

constitutional law or a factual predicate previously undiscoverable through the

exercise of due diligence; and (2) he establishes by clear and convincing

evidence that, but for constitutional error, no reasonable fact finder would have

found him guilty. 28 U.S.C. § 2254(e)(2). 12 A failure to meet this standard of

“diligence” will bar a federal evidentiary hearing in the absence of a convincing

claim of actual innocence that can only be established by newly discovered

evidence. (Michael) Williams v. Taylor, 529 U.S. 420, 436 (2000); Beazley v.

Johnson, 242 F.3d 248, 272–73 (5th Cir. 2001). For example, a petitioner’s

failure to present controverted, previously unresolved factual issues to the

state court is sufficient to constitute “failure” under the plain meaning of

§ 2254(e)(2). (Michael) Williams, 529 U.S. at 433; Beazley, 242 F.3d at 273. But

even if a petitioner can meet the foregoing standard, it is within this Court’s




12     As with Pinholster, the Director’s amended answer has pointed out specific instances
where Hamilton has presented evidence that cannot be considered pursuant to § 2254(e)(2).
However, the Director asks the Court to apply § 2254(e)(2) to all evidence not presented to
the state courts (especially in relation to defaulted/barred claims), and he does not waive any
§ 2254(e)(2) objection, either explicitly or implicitly.


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discretion to deny a hearing if sufficient facts exist to make an informed

decision on the merits. Clark v. Johnson, 227 F.3d 273, 284–85 (5th Cir. 2000).

                                 ARGUMENT

I.     Hamilton’s Claim That the Prosecution Committed Misconduct
       Was Reasonably Denied by the State Court, Precluding Relief
       under AEDPA. (Claim 1)

       As explained in the Statement of Facts, supra, during punishment, two

eyewitnesses testified that Hamilton committed a second murder during

another convenience store robbery. In addition to the eyewitnesses, jailhouse

informant Montoyer linked Hamilton to this second murder. However, the

police candidly admitted that no fingerprints or physical evidence from the

second murder “tie[d] back” to Hamilton. Hamilton now alleges that the State

failed to disclose fingerprint comparison results relevant to the second murder,

the State offered false and misleading evidence about the killing, and new

fingerprint evidence proves that someone else was the murderer. Accordingly,

Hamilton contends that the State violated his due process rights under Brady

v. Maryland, 373 U.S. 83 (1963), and Napue v. Illinois, 360 U.S. 264 (1959),

and his sentence is constitutionally unreliable per the Supreme Court’s holding

in Johnson v. Mississippi, 486 U.S. 578 (1988). Am. Pet., ECF No. 50 at 33–46,

60–82; Pet., ECF No. 19 at 62–68.




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       After this Court stayed federal proceedings to allow Hamilton to exhaust

his state remedies, Hamilton raised a claim to the state court asserting that

“recently tested fingerprint evidence establishes [his] innocence of [the]

extraneous capital murder introduced at punishment.” Ex parte Hamilton,

2018 WL 4344324, at *1. The CCA remanded the claim to the trial court for

consideration. Id. Following a hearing, the trial court adopted Hamilton’s

proposed findings of fact and conclusions of law recommending that relief be

granted. Ex parte Hamilton, 2020 WL 6588560, at *1. But the CCA conducted

an independent review and rejected the trial court’s findings and conclusions

as not supported by the record or law. 13 Ex parte Hamilton, 2020 WL 6588560,

at *1, *3. Because the trial court’s findings and conclusions were expressly

rejected by the CCA, they are entitled to no deference by this Court. Murphy

v. Davis, 901 F.3d 578, 596 (5th Cir. 2018) (citing Jones v. Davis, 890 F.3d 559,

565 (5th Cir. 2018)).

       Independently evaluating Hamilton’s claim that he had been sentenced

based on false evidence and was innocent of the extraneous killing, the CCA


13      In disagreeing with the trial court, the CCA simply served its function as the “ultimate
factfinder” in Texas state habeas proceedings. See Ex parte Reed, 271 S.W.3d 698, 727 (Tex.
Crim. App. 2008); see also Ex parte Thuesen, 546 S.W.3d 145, 157 (Tex. Crim. App. 2017)
(“[W]hen our independent review of the record reveals circumstances that contradict or
undermine the trial judge’s findings and conclusions, we have exercised our authority to enter
contrary findings and conclusions.”). Hamilton complains that rejecting the trial court’s
recommendation of relief in capital cases is a trend with the CCA, Am. Pet., ECF No. 50 at
46 n.28, but obviously Hamilton must show that error occurred in his own case to obtain
relief.


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noted that “fingerprint testing in 2017 identified another person as having

handled the bottle.” Ex parte Hamilton, 2020 WL 6588560, at *2. But the CCA

found that “the State’s trial evidence about the fingerprints was consistent

with the fingerprint evidence developed at the habeas stage” because the jury

heard the essence of Hamilton’s claim—that the fingerprints did not tie to

Hamilton or Smith—through police testimony. 14 Id. The CCA further found

that Hamilton failed to show that the prints were “material to the identity of

the [killer]” because Hamilton failed to show that the killer actually handled

the bottle. Id. The CCA then denied relief. Id. at *3. As shown below, the CCA

acted reasonably in making this decision, and Hamilton’s claims merit no

relief.




14     This is essentially the same argument that the Director made in his original answer
before the Court entered a stay. Ans., ECF No. 27 at 83–84. Relatedly, the Director would
note that Hamilton inaccurately characterizes the Director’s earlier answer. Hamilton states
that the Director “suggested there were no DNA samples available for testing,” Am. Pet.,
ECF No. 50 at 61, but what the Director actually said was the trial testimony suggested that
no urine was recovered that could be tested for DNA, Ans., ECF No. 27 at 84, and that “since
Hamilton has not yet done any testing on the bottle or the fingernail scrapings, there is no
indication that any testable DNA exists, let alone DNA that is either material or
exculpatory.” Id. at 85. Also, Hamilton states that the Director “suggested that no forensic
testing had been conducted prior to trial,” Am. Pet., ECF No. 50 at 61, but (again) the Director
clearly expressed his view that the record indicated that “[c]ounsel also brought out at trial
that the bottle was tested for fingerprints and those prints did not match Hamilton.” Ans.,
ECF No. 27 at 83–84 (quoting 18 RR 40–41). Finally, Hamilton complains that the Director
“faulted Hamilton for not testing the evidence himself” and notes that Texas Code of Criminal
Procedure Article 38.43 (i)–(j) was unavailable at the time of trial. Am. Pet., ECF No. 50 at
61. However, the Director’s answer did not make mention of this provision, Ans., ECF No. 27
at 83–84, and Hamilton has not shown that the absence of this provision is what precluded
him from moving for fingerprint or DNA testing at the time of trial. At the state habeas
hearing, Hamilton’s counsel acknowledged that she did not move for testing. 6 SHRR–02 128.


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       In order to establish a Brady violation based on withheld evidence, a

defendant must prove: (1) “[t]he evidence in question was favorable to him;”

(2) the “evidence [was] suppressed by the State;” and (3) the evidence was

material. Banks v. Dretke, 540 U.S. 668, 691 (2004); Strickler v. Greene, 527

U.S. 263, 280–82 (1999). Under Napue, a conviction must be set aside where

the defendant has demonstrated that: (1) a witness gave false testimony; (2)

the falsity was material; 15 and (3) the prosecution knew the testimony was

false. Reed v. Quarterman, 504 F.3d 465, 473 (5th Cir. 2007). In Johnson, the

Supreme Court reversed a death sentence predicated on a materially

inaccurate aggravating factor—a prior violent felony conviction that was

vacated after the petitioner’s trial. 486 U.S. at 580–82, 590.

       Hamilton’s three theories thus all share a materiality component, and

therefore, the CCA’s adverse materiality determination is fatal to all three. As

the CCA recognized, without demonstrating that the killer touched the bottle,

the fingerprints on it are worthless. Ex parte Hamilton, 2020 WL 6588560, at

*2. The bottle was found outside a convenience store where people would drink



15     The Giglio materiality standard—which embraces the harmless-error rule of
Chapman v. California, 386 U.S. 18 (1967)—was abrogated by the Supreme Court’s opinion
in Brecht v. Abrahamson, 507 U.S. 619 (1993). See Barrientes v. Johnson, 221 F.3d 741, 756–
57 (5th Cir. 2000) (assuming Brecht harmless-error standard applies to Giglio claims raised
in federal habeas proceedings) (citing Gilday v. Callahan, 59 F.3d 257, 268 (1st Cir. 1995)).
Because this is a postconviction proceeding, the government no longer bears the onus of
proving harmlessness of trial error under Chapman; rather, it is Hamilton who must prove
harm.


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and loiter and may have been sitting there when the killer arrived. 17 RR 202–

03; 8 SHRR–02 352. It was imperative for Hamilton to conclusively show that

the killer handled the bottle, and he failed to do so. Ex parte Hamilton, 2020

WL 6588560, at *2. In any event, the jury was aware that fingerprints on the

bottle did not tie back to Hamilton and Smith. 18 RR 40–41. Additional

evidence on this point would have been cumulative and, thus, not material. See

Spence v. Johnson, 80 F.3d 989, 995 (5th Cir. 1996).

      And for the same reason that the evidence was cumulative, no false

testimony was actually presented—the police truthfully told the jury that the

fingerprints did not tie back to Hamilton or Smith. Hamilton does not contend

anyone knew at the time of trial who the prints matched. Am. Pet., ECF No.

50 at 78. In fact, Hamilton does not appear to identify a statement made at

trial that was actually false; rather, Hamilton seems to simply believe that he

has proved he did not kill Huynh and thus any testimony that suggests that

he did must necessarily be incorrect and misleading. Id. at 62 (“These claims

were based upon the idea that all of the evidence suggesting Mr. Hamilton

committed the [ ] murder was false and misleading[.]”).

      Having apparently decided to view Hamilton’s claim concerning

prosecutorial misconduct vis-à-vis Smith’s plea bargain as part and parcel of

the fingerprint claim permitted in the subsequent habeas application, the CCA




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denied relief on that claim as well. Ex parte Hamilton, 2020 WL 6588560, at

*1 n.1 & *3. The CCA found that the prosecution’s statements to the trial court

were not testimony and were not heard by the jury. Id. at *3. But

notwithstanding, Hamilton still failed “to show by a preponderance of the

evidence that the State misled the trial court or misrepresented any

information.” Id.

       As shown further below, the state court’s denial of these related claims

was not unreasonable, precluding relief under AEDPA. See Mays v. Hines, 141

S. Ct. 1145, 1149 (2021) (“The term ‘unreasonable’ refers not to ordinary error

or even to circumstances where the petitioner offers a strong case for relief, but

rather to extreme malfunctions in the state criminal justice system.”) (internal

quotation and alteration marks omitted).

       A.     The CCA reasonably denied Hamilton’s claims concerning
              the bottle.

              1.      Background

                      a.     The incident report

       Hamilton’s instant contentions originate in the Houston Police

Department’s (HPD) incident report 16 detailing Huynh’s murder. 8 SHRR–02


16     Hamilton asserts that the parties agreed that the trial court could consider this report,
Am. Pet., ECF No. 50 at 9 n.2, but the State qualified that the court must find the contents
admissible first. 2 SHRR–02 16. The admissibility of the contents, particularly pages 2.011
and 2.025, was the subject of some debate at the evidentiary hearing. 5 SHRR–02 29–39.
Hamilton attempted to introduce the pages under the rule of optional completeness with
witness Johnson’s police statement, but the State successfully argued that admission under


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337–64. Police officers Larry Hoffmaster and Connie Park investigated the

killing. 17 Id. at 337. According to the report, latent print examiner Debbie

Benningfield was called to the crime scene to aid in the collection and

processing of potential evidence. Id. at 347, 351–52, 358–59. Benningfield

developed a single usable palm print from the inside of the store’s glass front

door. 4 SHRR–02 45. Benningfield also collected various items for processing,

including four alcohol containers outside of the store. 4 SHRR–02 45–46; 8

SHRR–02 351–52. She developed three usable fingerprints. 3 SHRR–02 91; 4

SHRR–02 47–48, 53; 8 SHRR–02 358–59. These fingerprints came from a

Schlitz can found on top of a cooler and a Schlitz bottle found on top of a railing.

Id. Benningfield requested that the container mouths be swabbed for DNA. 8

SHRR–02 347, 352. Police also requested fingernail scrapings from Huynh. 8

SHRR–02 346. While the report shows that items were available for testing, it




that rule was improper and the contents were hearsay. Id. However, the whole report was
later admitted over the State’s renewed hearsay objections, although likely with the
qualification that it was not offered to prove the truth of the matters asserted within. 6
SHRR–02 10–21.

17     Hoffmaster was retired and testified in the subsequent state proceedings via
deposition. 4 SHRR–02 891. Hoffmaster’s memory was compromised by the passage of time
and the number of cases that he had worked on. Id. at 896–98, 901, 908, 920–21, 934–36. He
mostly related the information contained in the incident report. Park did not testify at the
hearing. 5 SHRR–02 949.




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does not appear to show any results. 18 3 SHRR–02 93–94, 101; 4 SHRR–02 97–

98; 8 SHRR–02 337–64.

                     b.      The fingerprint evidence

       The trial court conducted an evidentiary hearing in late May and early

June of 2019. 1 SHRR–02. At the hearing, the parties presented evidence

concerning the fingerprints taken from the scene. Benningfield, since retired,

testified. 3 SHRR–02 57–150; 4 SHRR–02 31–117. She acknowledged that her

supplements to the incident report do not reflect that she compared the

fingerprints to anyone. 3 SHRR–02 93–94, 101; 4 SHRR–02 97–98. However,

when she reviewed photographs of the evidence, she recognized that she had

made certain comparisons and Automatic Fingerprint Identification System

(AFIS) 19 searches based on her own markings and notations. 3 SHRR–02 94–

95; 4 SHRR–02 40–41, 49–53, 57–94. At the time, if a comparison did not yield

an identification, no supplement was made. 20 3 SHRR–02 90, 101; 4 SHRR–02



18     It does not seem that samples were obtained from Hamilton for DNA testing. 7 SHRR–
02 118.

19     AFIS refers to any database of fingerprint records. 2 SHRR–02 35, 41, 101; 3 SHRR–
02 70; 4 SHRR–02 69.

20     During the subsequent state writ proceedings, lawyers for the Harris County District
Attorney’s Office became aware that, despite the lack of reports or supplements documenting
the results of pretrial forensic testing, pretrial comparisons had occurred and contrary
representations in the District Attorney’s answer had been incorrect. Hearing (May 21, 2019)
at 4–11. This was due to the aforementioned policy not to record eliminations. Id. The District
Attorney disclosed this information to habeas counsel, as well as a memorandum discussed
below noting that Hamilton was eliminated. Id. at 7. The State also provided its file to the


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61–62, 65–68. Benningfield did not make a positive identification on any palm

or fingerprint developed from the crime scene. 4 SHRR–02 65, 87–90, 93–94.

Hamilton’s prints were compared and eliminated, but pursuant to policy no

supplement was made. Id. at 52, 58, 65–68, 93. Benningfield did not recall the

specific person to whom she reported Hamilton’s elimination. 3 SHRR–02 101–

02; 4 SHRR–02 62. Benningfield explained that in 2001 or 2002, the defense

could learn comparison results by contacting HPD’s legal department. 4

SHRR–02 62–64, 68, 96.

       George Barringer, a retired investigator for the Harris County District

Attorney’s Office, also testified at the evidentiary hearing. 5 SHRR–02 40–53.

Barringer reviewed a memorandum that he had prepared for the prosecution.

5 SHRR–02 41–42; 8 SHRR–02 365. In this document, Barringer noted that he

“[c]heck[ed] for print results 169781801[ 21] prints found were compared to

defendants and eliminated.” 5 SHRR–02 48; 8 SHRR–02 365. Based on the

chronology of his notetaking, Barringer believes he would have made this entry

before April 15, 2002—i.e., before main trial proceedings in November 2002. 5

SHRR–02 52–53; 16 RR 8.




trial court for an in-camera review. Id. at 9–10. It does not seem that the trial court found
any additional disclosable items. 5 SHRR–02 1139.

21     This is the incident number associated with Huynh’s murder. 8 SHRR–02 338.


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       Rebecca Green, latent print technical lead at the Houston Forensic

Science Center (HFSC) 22, testified at the evidentiary hearing. 2 SHRR–02 30–

143. Pursuant an order of the court, Green had examined the fingerprint

evidence from the Huynh murder investigation. Id. at 85–86. Green testified

that AFIS algorithms are periodically upgraded to newer, better versions. Id.

at 103–04. Green agreed that the 2019 algorithms were “exponentially better”

than those used when she started work in 2006. Id. at 104. After excluding

Hamilton as the source of the three fingerprints from the crime scene, Green

ran AFIS searches. Id. at 100. One fingerprint was linked to witness Charles

Douglas. 2 SHRR–02 71, 117–18; 8 SHRR–02 77. The other two linked to a

man named Marshall Knight. 2 SHRR–02 67–68, 72, 121; 8 SHRR–02 77.

Knight’s counsel stated at the hearing that Knight would not answer questions

pursuant to the Fifth Amendment. 6 SHRR–02 4–5, 7–10.

       Loretta Muldrow, Hamilton’s lead trial counsel, testified at the

evidentiary hearing. 6 SHRR–02 21–143. She only reviewed portions of the

record before the hearing (id. at 60, 122–23), no longer had the defense file (id.

at 58, 60, 142), and her memory of the case details and her interactions with

the State had been somewhat compromised by the passage of years and her

participation in other cases. Id. at 58–60. Muldrow acknowledged that before



22     HFSC became an accredited lab separate from HPD in 2014. 2 SHRR–02 83–84.


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trial she was aware from the incident report regarding the Schlitz bottle and

that usable latent prints had been collected from the Huynh murder scene. Id.

at 42, 47–48, 114–15, 119–20. But Muldrow claimed she was not given notice

that Hamilton had been excluded as the source of any prints. 6 SHRR–02 42–

43, 49–50, 114. Muldrow did not file pretrial motions seeking comparison of

the fingerprint evidence to Hamilton or DNA testing. Id. at 128. Hamilton did

not call the prosecutors or Hamilton’s trial co-counsel to validate any of

Muldrow’s assertions regarding the State’s disclosures.

      Wanda Johnson testified at the evidentiary hearing, having previously

testified at trial as an eyewitness to Huynh’s murder. 5 SHRR–02 5–39. At the

hearing, Johnson confirmed that she had testified truthfully at trial and told

police the truth after Huynh’s murder. Id. at 19, 26. Johnson mostly testified

that she saw Huynh’s killer set down a bottle, 5 SHRR–02 9, 11–12, 17, 27–29,

although there was confused testimony that she knew the shooter did not touch

the bottle. Id. at 13. Johnson also first stated that she had told police about the

shooter setting down the bottle, id. at 11–13, 16–19, 27–28, but then qualified,

“Well I don’t know if I told the police, but I think when they brung me to court

to testify. . . I told the Court.” Id. at 28. Johnson was not happy to testify; she

perplexingly stated that her memory was better eighteen years after the




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crime; 23 she incorrectly asserted that it was a long time after the shooting

before she spoke to police when it had only been a day; she claimed she did not

read her sworn police statement 24 before signing it and the police made

omissions; and she had recently told a defense investigator that her memory

was not what it used to be, had trouble remembering what had happened, and

conveyed inconsistent information about the timing of events. Id. at 11, 14–18,

20–23.

                   c.     The DNA evidence

       The parties also presented testimony about DNA evidence from the

Huynh murder. Jessica Powers, HFSC DNA analyst, testified. 7 SHRR–02 69–

140. Powers could not reliably make any comparisons using the DNA profile

developed from the Schlitz bottle. 7 SHRR–02 88–89, 112; 8 SHRR–02 21.

Along the same lines, Powers believed “there very well could be more than one

contributor” to the Schlitz bottle’s DNA profile, “but the data is just so low and

unreliable to make an interpretation on that.” 7 SHRR–02 91, 106, 108, 111–

12; 8 SHRR–02 21. DNA profiles suggesting a mixture of at least two

contributors, at least one male, were developed from Huynh’s left- and right-



23     But see 5 SHRR–02 26 (“[H]ow you expect me to remember what I told somebody 17
years ago and I’m 54? I was younger then, but now I’m older.”).

24      Witnesses who gave sworn statements at the HPD police station were given an
opportunity to read their typed statements and make any changes before signing them;
officers typed statements using a witness’s own words. 4 Supp.SHCR–02 929–30.


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hand fingernail scrapings. 7 SHRR–02 106–09, 11. Powers found both major

and minor contributors to the DNA mixture derived from the scrapings. 7

SHRR–02 106–09; 8 SHRR–02 21. Powers excluded Hamilton as a possible

contributor to the major component of the scraping profiles, but the minor

component was “not suitable for comparison due to insufficient data.” 7 SHRR–

02 109; 8 SHRR–02 21. Four people at HFSC checked Powers’s work. 7 SHRR–

02 99–100, 139.

      Dr. Robert Collins, Hamilton’s DNA expert, testified at the evidentiary

hearing. 5 SHRR–02 55–100; 7 SHRR–02 14–67. Collins had not worked in a

forensic DNA laboratory. 5 SHRR–02 61, 65. Collins also did not perform his

own DNA testing, even though the DNA evidence had not been fully consumed.

5 SHRR–02 71; 7 SHRR–02 27, 44, 76. Nevertheless, Collins disagreed that the

partial male profile developed from the bottle had insufficient data for

comparison purposes, believed the evidence did not indicate an additional

contributor, and believed that Hamilton was excluded as the contributor of the

partial male profile. 5 SHRR–02 91–95; 7 SHRR–02 58–61. Similarly, Collins

disagreed that the minor contributor profile from the fingernail scrapings had

insufficient data for comparison purposes and believed that Hamilton was

excluded. 5 SHRR–02 96–99; 7 SHRR–02 61–62.




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                    d.    The     expert        testimony        on      eyewitness
                          identifications

       Over the State’s scope objections, Hamilton called Trent Terrell, a

psychology professor at the University of Mary Hardin-Baylor, to testify as an

expert on eyewitness identifications. 3 SHRR–02 151–66; 4 SHRR–02 122–213.

Terrell never spoke with Douglas or Johnson about their identifications. 4

SHRR–02 172. He did not offer an opinion on their credibility, assert that they

misidentified Hamilton as Huynh’s killer, or claim that they made false

identifications. Id at 174–75. Rather, Terrell identified several factors that he

believed may have affected the reliability of their identifications. Id. at 175–

76. Of the factors, Terrell believed that previous exposure to a police sketch

was most detrimental. Id. at 162. 25

              2.    The State did not violate Brady.

       Hamilton believes that Huynh’s killer set down a bottle outside the store

on Holman Street and then urinated on or over it. Am. Pet., ECF No. 50 at 100.

Hamilton alleges that the State then withheld fingerprint evidence derived

from the bottle that excluded him from touching it. Id. at 63–73. However, the

CCA correctly determined that Hamilton is not entitled to relief on this claim,

explaining:


25    Alvin Nunnery, Smith’s trial attorney, and Darrell Stein, HFSC Director of
Information Strategy and former HPD firearms examiner, also testified at the hearing. 4
SHRR–2 13–31; 5 SHRR–02 107–41.


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           [Hamilton] argues that because recent fingerprint testing in
     2017 identified another person as having handled the bottle[ ], the
     State presented false evidence, and, therefore, he is innocent of the
     Holman murder. But the State’s trial evidence about the
     fingerprints was consistent with the fingerprint evidence
     developed at the habeas stage.

            Investigating Houston Police Detective Connie Park
     testified at trial that the Holman fingerprint evidence—including
     that found on the 40-ounce bottle—did not “tie back” to [Hamilton]
     or his co-defendant in the Yellowstone murder, [Smith]. The
     habeas evidence merely confirmed Park’s testimony by specifying
     whose prints they were—not [Hamilton]’s or Smith’s. Since the
     jury heard the “essence” of the habeas evidence—that the prints
     on the bottle were not [Hamilton]’s or Smith’s—[Hamilton] has not
     established the falsity of the State’s trial evidence. See Ex parte De
     La Cruz, 466 S.W.3d 855, 866–67 (Tex. Crim. App. 2015) (because
     jury heard the first medical examiner’s opinion, which conflicted
     with the eyewitness’s testimony, and resolved the conflict against
     applicant, post-conviction evidence of an additional gunshot
     wound, viewed in light of the totality of the record, failed to
     demonstrate by a preponderance of the evidence the eyewitness’s
     testimony gave the jury a false impression, and this Court denied
     habeas relief).

            Further, [Hamilton] fails to show that this bottle or the print
     recovered from it is material to the identity of the Holman shooter.
     See U.S. v. Bagley, 473 U.S. 667, 682 (1985) (evidence is material
     when there is a reasonable probability that, had the evidence been
     disclosed to the defense, the outcome of the trial would have been
     different); Quinones v. State, 592 S.W.2d 933 (Tex. Crim. App.
     1980) (when determining materiality, any omission must be
     evaluated in the context of the entire record). No one identified the
     bottle in question as having been handled by the shooter. And the
     witness who testified in the habeas hearing that the shooter
     handled a bottle just before the shooting equivocated about that
     assertion.

Ex parte Hamilton, 2020 WL 6588560, at *2.




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       As previously noted, to establish a Brady violation Hamilton must prove:

(1) the evidence in question was favorable; (2) the evidence was suppressed by

the State; and (3) the evidence was material. Banks, 540 U.S. at 691; Strickler,

527 U.S. at 281–82. Concerning materiality, “[t]he mere possibility that an

item of undisclosed information might have helped the defense, or might have

affected the outcome of the trial, does not establish ‘materiality’ in the

constitutional sense.” United States v. Agurs, 427 U.S. 97, 109–10 (1978);

Dickson v. Quarterman, 462 F.3d 470, 478 (5th Cir. 2006) (“alleging a

speculative outcome is insufficient”); Hampton v. State, 86 S.W.3d 603, 612–13

(Tex. Crim. App. 2002). Rather, “[t]he evidence is material only if there is a

reasonable probability that, had the evidence been disclosed to the defense, the

result of the proceeding would have been different. A ‘reasonable probability’

is a probability sufficient to undermine confidence in the outcome.” Bagley, 473

U.S. at 682. 26

       Brady materiality does not require a defendant to demonstrate by a

preponderance that disclosure of the suppressed evidence would have resulted

in acquittal nor is it identical to a sufficiency-of-the-evidence test. Kyles v.

Whitley, 514 U.S. 419, 434 (1995); Wearry v. Cain, 577 U.S. 385, 392 (2016).



26    Hamilton states that the CCA did not identify the appropriate materiality standard,
Am. Pet., ECF No. 50 at 67–68, but the CCA correctly cited Bagley. Ex parte Hamilton, 2020
WL 6588560, at *2.


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However, the State’s evidence is relevant. See, e.g., Hampton, 86 S.W.3d at 613;

Kopycinski v. Scott, 64 F.3d 223, 226–27 (5th Cir. 1995). To determine

materiality, the proper inquiry is “whether ‘the favorable evidence could

reasonably be taken to put the whole case in such a different light as to

undermine confidence in the verdict.’” Strickler, 527 U.S. at 290 (quoting Kyles,

514 U.S. at 435) (emphasis added).

      Here, the CCA held that the jury heard the essence of the habeas

evidence. Ex parte Hamilton, 2020 WL 6588560, at *2. Indeed, the record

clearly shows that the defense brought out at trial that the bottle had

fingerprints and those prints did not tie to Hamilton or Smith:

      [Defense Counsel:]       Did you collect that bottle?

      [Connie Park:]           Yes, we did. Our latent lab examiner did.

      [Defense Counsel:]       And any prints on the bottle?

      [Connie Park:]           Yes.

      [Defense Counsel:]       Okay. Did it tie back to my client?

      [Connie Park:]           No.

      [Defense Counsel]        Did it tie up to Mr. Smith, Shawn Smith?

      [Connie Park:]           No.

      [Defense Counsel]        Okay. Any physical evidence that came back to
                               my client or to Shawn Smith?

      [Connie Park:]           No, not in this investigation.



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18 RR 40–41. Counsel’s closing argument reiterated the absence of fingerprints

or DNA linking Hamilton to Huynh’s murder. 21 RR 45.

      Evidence is not suppressed when the State presents it at trial. See, e.g.,

Kutzner v. Cockrell, 303 F.3d 333, 336 (5th Cir. 2002); see also Powell v.

Quarterman, 536 F.3d 325, 335 (5th Cir. 2008) (“The Supreme Court has never

expressly held that evidence that is turned over to the defense during trial has

been ‘suppressed’ within the meaning of Brady.”). Here, the fact that the

fingerprints did not tie to Hamilton or Smith was known to the jury and

therefore was not suppressed. Hamilton may be making a tortured distinction

between the fact that the prints did not tie to him and specific knowledge of

Benningfield’s eliminations. Or he may perhaps be arguing that when Park

said that he did not tie to the bottle, she merely meant that the prints were not

usable or were not compared to him and therefore he was not aware he was

affirmatively eliminated. But these distinctions slice Brady very fine. Even

assuming Hamilton did not know Benningfield had compared Hamilton and

Smith to the prints on the bottle prior to trial, the fact that Hamilton and

Smith were not included as donors of fingerprints is the important thing, not

the specifics of any exclusion. Wyatt v. State, 23 S.W.3d 18, 27 (Tex. Crim. App.

2003) (defense counsel cross-examined witness with similar facts as she would

had with the undisclosed evidence, so the evidence is not material). And when



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Park said that Hamilton and Smith did not tie to the bottle, the clear import

was that they were not a match to the prints—Park did not say that no

comparisons were done or that the prints were unusable. Certainly, this is the

commonsense interpretation of Park’s testimony that the CCA adopted. Ex

parte Hamilton, 2020 WL 6588560, at *2 (“the jury heard the ‘essence’ of the

habeas evidence—that the prints on the bottle were not [Hamilton]’s or

Smith’s”). Hamilton therefore fails both the first and the third prongs of Brady.

      Trying to show materiality, Hamilton asserts that if he had known of his

pretrial elimination, his “entire defense strategy would have changed.” Am.

Pet., ECF No. 50 at 8, 23 n.15, 41, 65. Granted, Muldrow asserted that she

would have hired her own fingerprint expert and altered her cross-examination

of Park if she had known Hamilton had been eliminated, 6 SHRR–02 44, 51,

but it remains unknown what different testimony an expert would have

provided or what was left unasked of Park. Muldrow elicited the relevant

information from Park, and an expert would have just confirmed what Park

willingly admitted. The idea that an expert repeating the information would

have yielded a reasonable probability of different result is speculative at best.

      Moreover, Muldrow’s assertions are suspect since the trial was not over

when Park finished testifying. If Hamilton had wanted to call a fingerprint

expert, nothing stopped him from doing so after Park revealed the purportedly




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suppressed fact that he was not tied to the bottle. He also could have re-

examined Park when his surprise wore off; in fact, Park was recalled three

days later. 19 RR 6. And if Hamilton needed more time to adjust his strategy

or prepare, he could have raised an objection and requested a continuance. 27

But he made no objection. 6 SHRR–02 120.

       Hamilton argues that his facts are analogous to those in Floyd v. Vannoy,

894 F.3d 143 (5th Cir. 2018), where the Fifth Circuit granted habeas relief on

a Brady claim. Am. Pet., ECF No. 50 at 65–66, 69–73. But Floyd is easily

distinguishable. To begin, it is important to note that the Fifth Circuit majority

found Floyd demonstrated his actual innocence such that he was permitted to

present time-barred claims. Id. at 159–60. Floyd had confessed to two similar

murders, was tried for both, but was convicted of only one. Id. at 149–52. The

Fifth Circuit majority found that Floyd’s own statements (a confession and a

threat made to another person) were the only evidence supporting his

conviction. And the Fifth Circuit majority entertained the possibility that the



27     Under state law, “when previously withheld evidence is disclosed at trial, the
defendant’s failure to request a continuance waives any Brady violation.” Gutierrez v. State,
85 S.W.3d 446, 452 (Tex. App.—Austin 2002, pet. ref’d) (citations omitted); see also Wilson v.
State, 7 S.W.3d 136, 146 (Tex. Crim. App. 1999); Valdez v. State, AP–77,042, 2018 WL
3046403, at *11 (Tex. Crim. App. Jun. 20, 2018) (not designated for publication) (“A
defendant’s failure to request a continuance when Brady evidence is disclosed at trial
arguably waives his complaint that the State has violated Brady and suggests that the tardy
disclosure of the evidence was not prejudicial to him.”). The CCA did not explicitly find waiver
here, but Hamilton’s failure to object to the purported Brady violation shows that he likely
was not surprised and/or that the allegedly withheld information was not important.


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confession had been improperly obtained or even beaten out of Floyd, who had

an IQ of 59. Id. at 157–59. In fact, the case against Floyd was so weak that the

State refused to expressly oppose Floyd’s innocence claim in the Fifth Circuit

and tried to plea bargain the case away during federal habeas review. Id. at

154. Floyd’s Brady claim involved the nondisclosure of fingerprint comparison

results from the scene of the murders and a statement from a friend of the

victim. Id. at 166. Evidence disclosed to the defense prior to trial had indicated

that the fingerprints taken from both scenes had not been tested, when, in fact,

they had been tested and excluded the victims and Floyd. Id. at 162. The Fifth

Circuit majority emphasized that Floyd had not been convicted of the other

murder despite his confession, and the majority believed that the instant

evidence might have led to the same result. Id. at 167. The majority also noted

that a detective had presented incorrect testimony at trial that reinforced the

validity of Floyd’s confession, when the correct testimony would have

undermined it. Id. at 164–66.

      Thus, the only real similarity between Floyd and Hamilton’s case is that

they both involve fingerprints. Hamilton has not been found actually innocent,

and the Director rejects any such conclusion. Floyd’s Brady claim involved two

compelling nondisclosures, whereas Hamilton’s only involves one purported

nondisclosure. Floyd’s Brady claim involved the crime of conviction, whereas




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Hamilton’s case centers on an extraneous offense presented in the punishment

phase of a capital case with robust additional evidence in support of the death

penalty. But most importantly, in the instant case the police admitted that

Hamilton was not tied to the prints on the bottle. In Floyd, “[a]lthough the

fingerprint-comparison results existed at the time of the joint bench trial, the

results were not presented.” Id. at 156. This distinction undermines Hamilton’s

whole comparison. 28

       Hamilton concedes that the trial prosecutors were likely not aware of the

fact that the prints on the bottle matched Knight. Am. Pet., ECF No. 50 at 78.

In any event, because the jury already knew that the prints did not tie back to

Hamilton or Smith, the CCA reasonably held that the jury’s evaluation would

not have been swayed by additional testimony showing who the prints actually



28      Floyd found that “the State’s assertions the evidence was not withheld because Floyd
could have conducted his own analysis are in direct contrast to clearly-established Brady law
rejecting the defense’s ability to conduct their own analysis as justification for prosecutorial
non-disclosure.” Floyd, 894 F.3d at 163. The Fifth Circuit based its decision in this respect
on Banks. Banks, 540 U.S. at 696 (holding “a rule thus declaring ‘prosecutor may hide,
defendant must seek’, is not tenable in a system constitutionally bound to accord defendants
due process”). Accordingly, the Director makes no due diligence argument with respect to the
bottle prints. But the Director qualifies that this holding from Floyd would not apply to any
DNA claims, since Hamilton has not demonstrated that the State did relevant DNA testing
at the trial level. Williams v. Scott, 35 F.3d 159, 163 (5th Cir. 1994) (no Brady violation if the
defendant, using due diligence, could have obtained the information). If there was no
prosecutorial “hiding” of DNA testing results conducted before trial, then the reasonable
diligence requirement should still apply.
        And the Director nevertheless notes that Hamilton’s failure to request testing still
suggests that before trial either (1) he did not consider the testing results important, (2) he
knew the results already (because someone with the State told counsel), or (3) he was
concerned that DNA and fingerprint testing might incriminate him (for instance, if his DNA
was found in the scrapings).


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belonged to. Ex parte Hamilton, 2020 WL 6588560, at *2. The Supreme Court

has previously held that “the cumulative effect of [ ] withheld evidence” may

be “insufficient to undermine confidence in the jury’s verdict.” Turner v. United

States, 137 S. Ct. 1885, 1894–95 (2017) (citing Smith v. Cain, 565 U.S. 73, 75–

76 (2012) & Kyles, 514 U.S. at 434) (internal quotation omitted); see also Agurs,

427 U.S. at 109 n.16 & 114 (declining to find a Brady claim in part because

lower court found evidence cumulative); Murphy, 901 F.3d at 598 (immaterial

evidence “was of marginal value to the defense and was cumulative with

already presented [ ] evidence.”); Rocha v. Thaler, 619 F.3d 387, 396 (5th Cir.

2010) (“Undisclosed evidence that is merely cumulative of other evidence is not

material[.]”).

      Further, the CCA observed that “[n]o one identified the bottle in question

as having been handled by the shooter. And the witness who testified in the

habeas hearing that the shooter handled a bottle just before the shooting

equivocated about that assertion.” Ex parte Hamilton, 2020 WL 6588560, at

*2. Huynh’s convenience store was a high traffic location where people would

loiter and drink. 17 RR 202–03; 8 SHRR–02 352 (alcohol containers found), 513

(no loitering sign). There is no way of telling when Knight’s prints were left on

the bottle or how long the bottle had been outside the store. Thus, the CCA

correctly recognized it was critically important for Hamilton to show that the




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bottle was touched by Huynh’s killer if he wanted to demonstrate materiality.

Without that connection, the bottle is just unremarkable trash, and it does not

matter whose prints are on it.

      Hamilton argues that Johnson clearly stated that the killer handled the

bottle, Am. Pet., ECF No. 50 at 67, but the totality of the record shows Johnson

was confused and inconsistent on this point. Hamilton’s instant contentions

stemmed originally from a portion of the incident report noting that Johnson

said that she saw the killer handle the bottle. 4 Supp.SHCR–02 917; 8 SHRR–

02 348 (pg. 2.011: “[i]t was not mentioned in the statement but [Johnson] also

saw the same man sit down an empty 40 once [sic] beer bottle on the rail”). Yet,

this is a hearsay statement by the reporting officer. Id. In her sworn statement

Johnson did not mention the killer handling the bottle. 6 SHRR–02 17; 8

SHRR–02 244–45. She also seemed to deny it in another hearsay statement. 4

Supp.SHCR–02 918; 8 SHRR–02 362 (pg. 2.025: “Johnson stated the suspect

did not pick up the glass bottle but stood over it when he urinated”).

      Johnson’s trial testimony did not specify that the killer touched a 40-oz

Schlitz beer bottle. 17 RR 275–99. Rather, Johnson merely referred to “a bottle”

and said that the killer urinated over it. Id. at 277 (“He had a bottle sitting on

the side of the store on the bench. He was urinating over the bottle onto the

wall.”). At the evidentiary hearing, Hamilton failed to show Johnson the




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recovered bottle and ask Johnson to confirm that it was the same bottle that

she saw the shooter touch, although she did state that she saw the killer

drinking a “40-ounce.” 5 SHRR–02 5–29. Again, at the hearing, Johnson mostly

testified that she saw Huynh’s killer set down a beer bottle, 5 SHRR–02 9, 11–

12, 17, 27–29, although she inconsistently said that she knew the shooter did

not touch the bottle. Id. at 13. Johnson also first stated that she had told police

about the shooter setting down the bottle, id. at 11–13, 16–19, 27–28, but then

qualified, “Well I don’t know if I told the police, but I think when they brung

me to court to testify. . . I told the Court.” Id. at 28. This does not appear to be

reflected in the relevant trial testimony. 17 RR 277.

       Johnson’s hearing testimony is, simply put, a mess. Hoffmaster could not

independently remember how Johnson described the alcohol container, and

multiple containers were recovered. 4 Supp.SHCR–02 931–33. Thus, the CCA

was entirely correct when it noted that no one identified the bottle in question,

and Johnson equivocated about the shooter handling a bottle. 29 The CCA’s

determination that Johnson was not credible on this point is supported by the

record and is “virtually unreviewable” by this Court. Ford v. Davis, 910 F.3d

232, 234–35 (5th Cir. 2018) (citing Pippin v. Dretke, 434 F.3d 782, 792 (5th Cir.


29     Hamilton complains that the prosecution’s closing argument misled the jury by
observing that prints were not found at either crime scene. Am. Pet., ECF No. 50 at 32, 72.
However, the prosecution was emphasizing the fact that Hamilton used a shirt to wipe his
fingerprints off the cash register. 17 RR 247; 21 RR 22.


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2005)); 28 U.S.C. § 2254(e)(1). Similarly, the CCA’s determination that

Hamilton failed to conclusively show that the bottle was handled by the shooter

is a factual resolution entitled to a presumption of correctness in this forum.

28 U.S.C. § 2254(e)(1).

       Here, two eyewitnesses identified Hamilton as Huynh’s murderer. 17 RR

227–28, 251, 282, 288; 18 RR 21–24. Jailhouse informant testimony linked

Hamilton to Huynh’s murder. 17 RR 187–90, 195–97. Huynh’s murder was

similar to Matalkah’s. 21 RR 21–23 (prosecutor’s closing summary). Moreover,

the State presented evidence that Hamilton had prior convictions, dealt drugs,

possessed weapons, was racist and violent in prison, and engaged in domestic

abuse. See Wood v. Bartholomew, 516 U.S. 1, 8 (1995) (evidence not material

partly in light of overwhelming other evidence); see also Smith, 565 U.S. at 76

(evidence “may not be material if the State’s other evidence is strong enough

to sustain confidence in the verdict”). This is not a situation where the State

had a weak case, either with respect to guilt-innocence, 30 the extraneous

offense, or the State’s other punishment evidence. 31 Thus, in light of the



30     Under Texas law, the facts of the crime alone can be enough to make the future
dangerousness finding necessary for the death penalty. Guevara v. State, 97 S.W.3d 579, 581
(Tex. Crim. App. 2003).

31     Cf. Wearry, 577 U.S. at 392 (“[t]he State’s trial evidence resembles a house of cards”);
Smith, 565 U.S. at 76 (“testimony was the only evidence linking [the petitioner] to the crime,”
and, therefore, the undisclosed statements contradicting this testimony were “plainly
material”); Agurs, 427 U.S. at 113 (“[I]f the verdict is already of questionable validity,


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dubious value of the allegedly withheld information and the State’s robust case

against Hamilton, there is no reasonable probability that had additional

evidence been disclosed to the defense, the result of the proceeding would have

been different, i.e., Hamilton would have received a life sentence in lieu of the

death penalty.

       Finally, although the CCA did not explicitly rule on the suppression

prong 32, it is worth noting that if Hamilton was actually surprised by Park’s

testimony, 6 SHRR–02 48, 50, 114, then the defense’s reaction is puzzling. It

is extremely odd that they did not request a continuance or mistrial or

otherwise put that surprise on the record. Muldrow acknowledged that after

Park testified to the lack of fingerprints and physical evidence linking

Hamilton to the murder, she did not object that the State had violated any of

the trial court’s orders or rulings. 33 6 SHRR–02 120; see also Am. Pet., ECF No.

50 at 15–16. Along the same lines, Muldrow acknowledged that she cannot


additional evidence of relatively minor importance might be sufficient to create a reasonable
doubt.”).

32      Hamilton asserts that “the CCA accepted that prongs one and two of the Brady claim
were proven.” Am. Pet., ECF No. 50 at 64. This is not reflected in the opinion. Indeed, given
the rejection of all the trial court’s findings and conclusions, it appears the converse is true—
the CCA found that the first and second prongs were not proven.

33      Hamilton does not appear to make a claim that the disclosure that he was not tied to
the fingerprints was merely late or tardy. However, even if he did, the question is whether
“the evidence is received in time for its effective use at trial.” Powell, 536 F.3d at 335–36;
Little v. State, 991 S.W.2d 864, 867–68 (Tex. Crim. App. 1999). Given that the jury was aware
that the fingerprint evidence did not tie to Hamilton and Smith, it is clear that the evidence
was, in fact, used effectively.


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recall all the details of her conversations related to the case and that some

aspects of her memory had faded due to the passage of time and the number of

cases she has handled. 6 SHRR–02 59–60, 75. Despite having the burden of

proof, Hamilton failed to call co-counsel or the prosecution 34 to confirm

Muldrow’s assertion that she was unaware of the eliminations prior to trial

despite the State’s open file. 2 RR 7. Muldrow also did not know where the

defense file was and therefore her hearing testimony lacked documentation. 6

SHRR–02 58, 60, 142.

       In sum, Hamilton has not shown that, in the light of all the evidence, it

is reasonably probable that the punishment outcome would have been different

had the purportedly suppressed evidence been disclosed. 35 The CCA was

therefore not objectively unreasonable when it denied relief Hamilton’s Brady

claim. Morales v. Thaler, 714 F.3d 295, 303 n.5 (5th Cir. 2013) (§ 2254(d)(2)



34     Hamilton asserts that the State should have called the prosecution, Am. Pet., ECF
No. 50 at 42, but he had the burden of proof. Ex parte Hamilton, 2020 WL 6588560, at *2.
This Court should be reticent to impugn the ethical reputations of attorneys who have not
had the opportunity to defend themselves.

35      The incident report put the defense on notice that DNA swabs were collected from the
evidence. 8 SHRR–02 347. Prior to trial, the defense could have requested that DNA testing
but did not. 6 SHRR–02 128. Hamilton states that Park “falsely testified that no DNA
samples were obtained.” Am. Pet., ECF No. 50 at 24. He makes a similar statement about
the prosecution’s closing argument. Id. at 32. To the extent that Hamilton refers to the
exchange on 18 RR 55–56, the defense’s question and Park’s answer appear to refer to the
collection of DNA samples from the killer’s urine and not to DNA on the bottle or in fingernail
scrapings. See also 18 RR 95 (defense asking different witness about DNA in urine). The same
goes for the prosecution’s closing argument. 21 RR 45 (defense closing mentioning urine), 85–
86 (prosecution closing mentioning DNA in urine).


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requires that a state court’s findings be objectively unreasonable, not just

disagreed with by the federal habeas court).

              3.     The State did not violate Napue.

       The rule under Napue and Giglio 36 is that “‘a conviction obtained by the

knowing use of perjured testimony must be set aside if there is any reasonable

likelihood that the false testimony could have affected the jury’s verdict.’”

Bagley, 473 U.S. at 679–80 & n.9 (quoting Agurs, 427 U.S. at 103). Here, the

record fully supports the CCA’s decision that no false testimony was presented

because the jury heard the essence of the habeas evidence. Ex parte Hamilton,

2020 WL 6588560, at *2. Indeed, the habeas evidence merely shows the

additional fact that, based on comparisons made long after trial, the prints

match another individual—not that Park’s testimony was false, perjured, or

misleading. Id. Park truthfully and accurately testified that the prints did not

tie to Hamilton or Smith. 18 RR 40–41. Therefore, “the State’s trial evidence

about the fingerprints was consistent with the fingerprint evidence developed

at the habeas stage.” Ex parte Hamilton, 2020 WL 6588560, at *2. This lack of

false testimony dooms Hamilton’s claim.

       Under the Napue/Giglio standard, Hamilton is also required to prove

that the prosecution knew that false testimony was presented. Because



36     Giglio v. United States, 405 U.S. 150 (1972).


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Hamilton has not demonstrated any testimony is false, he necessarily also

cannot show that the prosecution knew any testimony was false. 37 And if he

believes that he has conclusively proved his innocence of Huynh’s murder and

therefore any evidence to the contrary must be false or misleading, Hamilton’s

premise is flawed. The CCA disagreed that it was shown that the killer actually

handled the bottle, so Knight’s prints on it are meaningless. Hamilton thinks

that it is telling that Knight took the Fifth 38 rather than answer questions, but

Hamilton has no other compelling evidence that Knight committed the murder.

Am. Pet., ECF No. 50 at 8, 76, Hamilton observes that Knight had a criminal

history, Am. Pet., ECF No. 50 at 33, 76, 78, 81, but so does Hamilton, including

killing Matalkah during a similar robbery. Hamilton subjectively suggests that

Knight better fits the shooter’s description, Am. Pet., ECF No. 50 at 22 n.14,

but he largely ignores that the eyewitnesses identified Hamilton. Hamilton’s

petition does not show that the witnesses have retracted those identifications.

Indeed, Hamilton does not seem to argue anyone identified Knight as the

37      To the extent that Hamilton argues that the testimony was incomplete because it did
not show that the prints matched Knight, his claim fails because he does not contend that
the prosecutors knew that the prints matched Knight. Am. Pet., ECF No. 50 at 78. Also,
Knight’s 2017 AFIS identification does not mean that a 2001 AFIS search would have yielded
the same result. 2 SHRR–02 112–13; 4 SHRR–02 81, 92–93. And the Barringer memorandum
just reflects what was before the jury—that the prints did not tie back to Hamilton. Am. Pet.,
ECF No. 50 at 34–35; 8 SHRR–02 365; 18 RR 40–41.

38     Knight could have had any number of wholly unrelated reasons for asserting the Fifth
Amendment. For instance, Hamilton says that Knight was twenty when the murder
occurred. Am. Pet., ECF No. 50 at 22 n.14. If so, that suggests that he was drinking underage
and possibly in violation of the terms of his community supervision. 8 SHRR–02 380.


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shooter, testified that Knight was the shooter, or provided any forensic

evidence linking Knight to the crime outside the bottle. 39 Knight’s prints do

not undermine the State’s evidence in support of Hamilton’s commission of the

Huynh murder, specifically the two identifications, Montoyer’s testimony, and

the similarities in the murders.

       For his false testimony claim, Hamilton faced a less demanding standard

in state court and did not need to show that the prosecution knew about any

purported falsity. Ex parte Hamilton, 2020 WL 6588560, at *2; Ex parte

Chabot, 300 S.W.3d 768, 771 (Tex. Crim. App. 2009) (recognizing a due process

deprivation through the State’s unknowing presentation of false evidence).

However, Hamilton must prove knowledge here in federal court. “There is a

long line of unbroken precedent from . . . the U.S. Supreme Court holding that

false trial testimony does not implicate a defendant’s due process rights if the

State was unaware of the falsity at the time the testimony was given.” Pierre

v. Vannoy, 891 F.3d 224, 230 (5th Cir. 2018) (Ho, J., concurring), as revised

(June 7, 2018), cert. denied, 139 S. Ct. 379 (2018). The Supreme Court has

“never held” that the unknowing use of false testimony violates the Due

Process Clause and it is “unlikely ever to do so.” Cash v. Maxwell, 565 U.S.

1138 (2012) (Scalia, J., dissenting from denial of certiorari). “All we have held


39     Hamilton asserts that his DNA was not found on the bottle, Am. Pet., ECF No. 50 at
23–24, 32–33, 39 but the HFSC analyst found insufficient data for that conclusion.


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is that ‘a conviction obtained through use of false evidence, known to be such

by representatives of the State, must fall under the Fourteenth Amendment.’”

Id. (quoting Napue, 360 U.S. at 269) (emphasis in original).

      Lastly, Hamilton’s evidence was not material under Napue/Giglio for the

same reasons that it was not material under Brady. As shown above, the CCA

found that the jury heard the essence of the habeas evidence and that Hamilton

failed to demonstrate that the shooter had actually handled the bottle in the

first place. Hamilton’s guilt of Huynh’s murder was supported by two

eyewitness identifications, Montoyer’s testimony, and similarities in the

crimes. And the State presented ample evidence of Hamilton’s noncompliant

and racist behavior in prison, his drug-dealing, his weapons possession, and

his abuse of his child’s mother. Consequently, even if Hamilton could

demonstrate falsity and knowledge, his claim would still fail because of a lack

of materiality. There simply is no reasonable likelihood that the purported

falsity could have affected the jury’s verdict. Agurs, 427 U.S. at 103. The CCA

therefore reasonably denied relief on this claim. Hines, 141 S. Ct. at 1149 (to

obtain relief the petitioner needs to show that the state court “managed to

blunder so badly that every fairminded jurist would disagree” with its

conclusion); White v. Woodall, 572 U.S. 415, 427 (2014) (the “critical point” in

applying § 2254(d)(1) is whether “it is so obvious that a clearly established rule




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applies to a given set of facts that there could be no ‘fairminded disagreement’

on the question”) (citing Richter, 562 U.S. at 103–04).

            4.    The State did not violate Johnson.

      Hamilton also argues that he is entitled to a new sentencing trial

because, while he concedes that the prosecution likely did not know about

Knight, his conviction is based on materially inaccurate testimony suggesting

that he killed Huynh. Am. Pet., ECF No. 50 at 78–82. In Johnson, the Supreme

Court addressed whether Johnson’s death sentence could stand despite being

predicated on the existence a prior assault conviction that was vacated after

his trial. 486 U.S. at 585–86. During Johnson’s sentencing, the jury found three

aggravating factors, including that Johnson had been previously convicted of a

violent felony, an assault in New York. Id. at 581 n.1. The only evidence

presented to prove the assault was a copy of Johnson’s prison commitment. Id.

at 581. No witnesses were presented to testify regarding the underlying facts

of the assault. Id. at 585. In closing, the prosecutor “repeatedly urged the jury

to give [the prior conviction] weight.” Id. at 586. But after the trial a New York

court reversed the assault conviction. Id. at 582.

      The Supreme Court held that Johnson’s death sentence could not stand

because it was predicated on an aggravating circumstance that was “materially

inaccurate.” Id. at 589. In so holding, the Court stated that, “petitioner’s death




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sentence is now predicated, in part, on a New York judgment that is not valid

now, and was not valid when it was entered in 1963.” Id. at 585 n.6. However,

the Supreme Court indicated that it may have reached a different conclusion

if additional evidence (e.g., witness testimony) had been admitted. Id. at 585–

86, 590 n.9.

      Johnson simply does not apply here. Hamilton does not contend that an

invalid conviction was entered against him. Hernandez v. Johnson, 213 F.3d

243, 252 (5th Cir. 2000) (“[t]he present case does not parallel the situation

addressed in Johnson nor the vast majority of cases that have relied upon

Johnson [. . .] Instead of a materially inaccurate criminal conviction, we

confront purportedly materially inaccurate testimony.”). Hamilton’s discussion

of this claim offers no case where the Supreme Court granted Johnson relief in

a situation like his. Accordingly, the CCA could not have unreasonably applied

clearly established federal law by denying relief. 28 U.S.C. § 2254(d); see

Woodall, 572 U.S. at 427. But even expanding Johnson beyond its initial

confines, Hamilton cannot show that any materially inaccurate testimony was

used against him. As the Johnson Court clearly stated, Johnson’s prior

conviction was invalid when it was entered and was invalid at the time of trial.

Johnson, 486 U.S. at 585 n.6. Here, the police correctly testified that the

fingerprints on the bottle did not tie to Hamilton or Smith. 18 RR 40–41.




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Nothing that happened after trial has rendered that testimony false. The

testimony was accurate then, and it is accurate now. Hamilton himself

concedes that there was no inaccurate testimony about Knight at his trial. Am.

Pet., ECF No. 50 at 78.

      Moreover, the Supreme Court in Johnson indicated that the result may

have been different if additional evidence had supported the facts of the prior

assault. Here, as shown above, two eyewitnesses identified Hamilton as

Huynh’s killer, an informant linked Hamilton to the crime, and there were

prominent similarities between the murders. See Hughes v. Quarterman, 530

F.3d 336, 346 (5th Cir. 2008) (rejecting Johnson claim in part because other

evidence connected petitioner to offense).

      As with his prior claims, the main thrust of Hamilton’s argument seems

not to be that any trial testimony was actually inaccurate, but that he is

actually innocent of killing Huynh and, if he had presented additional evidence

at trial, then the jury would not have sentenced him to death. However, this is

plainly not an argument under Johnson. Spence, 80 F.3d at 1000

(distinguishing Johnson because the petitioner’s claim raised only a question

“over what weight the jury should have accorded” an expert witness’s

testimony); see also Buntion v. Lumpkin, 982 F.3d 945, 950 (5th Cir. 2020)

(rejecting argument that Johnson ‘“stands for the proposition that any




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sentence based on a factual inaccuracy must be vacated” because “[t]he

Supreme Court has never intimated that the factual correctness of the jury’s

prediction on the issue of future dangerousness . . . bears on the

constitutionality’ of a death sentence.”) (quoting Lincecum v. Collins, 958 F.2d

1271, 1281 (5th Cir. 1992)). And, in any event, Hamilton does not come close

to demonstrating his actual innocence. The CCA found the bottle was not

material to the identity of Huynh’s killer, but even if it was relevant, then

Hamilton is merely offering evidence that conflicts with the State’s other

evidence that he killed Huynh. Kelly v. Cockrell, 72 F. App’x 67, 76 (5th Cir.

2003) (denying Johnson claim because, inter alia, evidence conflicted).

         The unimportance of Hamilton’s new evidence is reflected in the CCA’s

materiality decision, which likewise defeats his claim. The relevant fact that

Hamilton was not tied to the bottle was before the jury, which thus heard the

essence of Hamilton’s theory. Ex parte Hamilton, 2020 WL 6588560, at *2.

Likewise, Hamilton failed to show that the shooter handled the bottle. Id.

Without locking in that critical evidentiary step, Hamilton’s claims fall apart.

Unless the killer touched the bottle, it was just trash next to a convenience

store.

         Hamilton contends that the CCA’s decision is flawed because it failed to

consider any evidence adduced posttrial. Am. Pet., ECF No. 50 at 80–82.




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However, the CCA was not required to address every jot of evidence or

argument that Hamilton raised. Coleman v. Thompson, 501 U.S. 722, 739

(1991) (“[W]e have no power to tell state courts how they must write their

opinions.”); Ex parte Graves, 70 S.W.3d 103, 120 n.3 (Tex. Crim. App. 2002)

(Price, J., dissenting) (“we are not required to write an opinion explaining the

reason or reasons we deny relief on applications of habeas corpus”). Indeed,

“there are instances in which a state court may simply regard a claim as too

insubstantial to merit discussion.” Johnson v. Williams, 568 U.S. 289, 299–300

(2013). Nevertheless, the CCA clearly considered postconviction developments

in its opinion, specifically noting Johnson’s postconviction testimony and the

fingerprint evidence matching another individual. The fact that the state court

did not specifically respond to every jot of Hamilton’s evidence is not

surprising, nor does it undermine the state court’s decision. State courts are

tasked with reviewing scores of habeas applications and their “[o]pinion-

writing practices” are influenced by considerations other than avoiding

scrutiny in federal court. Richter, 562 U.S. at 99. And while Hamilton argues

that the state court did not consider the totality of the evidence, Am. Pet., ECF

No. 50 at 82, the CCA’s opinion offers parentheticals referring both to the

“totality of the record” and the “entire record.” Ex parte Hamilton, 2020 WL

6588560, at *2–*3.




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       But even if Hamilton showed some trial testimony was false, any

resulting error was harmless. Velez v. State, AP–76,051, 2012 WL 2130890, at

*32 (Tex. Crim. App. Jun. 13, 2012) (not designated for publication) (for

Johnson claims, “a reviewing court ‘must reverse a judgment of conviction or

punishment unless the court determines beyond a reasonable doubt that the

error did not contribute to the conviction or punishment.’”); see also Clemons v.

Mississippi, 494 U.S. 738, 754 (1990) (harmless error analysis permissible for

capital sentencing); Hogue v. Johnson, 131 F.3d 466, 498 n.60, 502 (5th Cir.

1997) (“[Johnson] does not preclude harmless error analysis”). A crucial

problem in Johnson was that the lower court “refused to reweigh the

remaining, untainted aggravating circumstances against the mitigating

circumstances.” Romano v. Oklahoma, 512 U.S. 1, 11 (1994). Here, the CCA

did not explicitly conduct a harm analysis. Ex parte Hamilton, 2020 WL

6588560, at *2. However, unlike Johnson, it is not obvious the CCA refused.

And the result of the analysis is clear—Hamilton shows no harm.

       This lack of harm is reflected by Hamilton’s reference to the prosecution’s

closing statement that “Even, ladies and gentlemen, without that second

capital, he is a future danger; but, with it, he is an absolute menace.” 40 Am.



40     If Hamilton is claiming that the prosecutor falsely claimed he committed the murder,
closing arguments are not evidence and the prosecutor may make reasonable deductions or
inferences from the evidence. United States v. Mendoza, 522 F.3d 482, 491 (5th Cir. 2008);


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Pet., ECF No. 50 at 79 n.36 (quoting 21 RR 84). Hamilton believes this

statement shows the State’s reliance on Huynh’s murder, but it more

accurately shows the opposite. The State was clearly saying that it did not

matter Hamilton killed Huynh because the evidence supports a death sentence

regardless. 21 RR 84. This closing argument is borne out by the evidence—

namely, the facts of Matalkah’s murder, Hamilton’s prior convictions, his drug-

dealing, his weapons possession, his violence and noncompliance in prison, and

his vicious domestic abuse.

      Hamilton is correct that the CCA did not explicitly address his Johnson

claim. Am. Pet., ECF No. 50 at 79. Accordingly, the Director would argue that

Richter would apply, see Am. Pet., ECF No. 50 at 80–81 (agreeing that Richter

may be applicable), and mandates that the Court “must determine what

arguments or theories supported or . . . could have supported, the state court’s

decision; and then it must ask whether it is possible fairminded jurists could

disagree that those arguments or theories are inconsistent with the holding in

a prior decision of [the Supreme] Court.” Richter, 562 U.S. at 102. Given that

Hamilton fails to show that: (1) Johnson should be extended to cases involving

false testimony (as opposed to false convictions); (2) any false or otherwise

inaccurate testimony was actually presented at trial; (3) any purportedly


Clark v. Johnson, 227 F.3d 273, 279 (5th Cir. 2000); Moody v. State, 827 S.W.2d 875, 894
(Tex. Crim. App. 1992).


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inaccurate testimony was material; (4) the evidence does not simply just

conflict; or (5) any error was not harmless, this Court must find that the CCA

reasonably refused to grant Hamilton relief on this claim. See id.

      B.    The Director understands Hamilton to have abandoned his
            claims concerning the prosecution’s dealings with Smith as
            well as any Simmons claim relating to Smith or the bottle.

      While Hamilton reiterates many of his original petition’s complaints

about the prosecution’s dealings with Smith in his factual summary, Am. Pet.,

ECF No. 50 at 29–31, 41, it appears that he has abandoned any claim for

federal habeas relief based upon those complaints. Compare Pet., ECF No. 19

at 62–68 with Am. Pet., ECF No. 50 at 60–82. Likewise, he does not appear to

reurge his claim for relief based on Simmons v. South Carolina, 512 U.S. 154

(1994). Compare Pet., ECF No. 19 at 68 with Am. Pet., ECF No. 50 at 60–82.

      To the extent that these claims are re-raised, the Court should find them

waived for lack of adequate briefing. Trevino v. Johnson, 168 F.3d 173, 181 n.3

(5th Cir. 1999) (“Because they are inadequately argued, we consider these

issues waived.”); Batiste v. Davis, CV H–15–1258, 2017 WL 4155461, at *28

n.28 (S.D. Tex. Sept. 19, 2017) (unpublished). Furthermore, to the extent that

they are re-raised, the Director would rely on his earlier briefing in these

topics, Ans., ECF No. 27 at 74–83, 86, and would request the opportunity to

provide additional briefing if the Court finds that these claims are not




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abandoned or waived. Nonetheless, the Director will briefly note that, during

initial state habeas review, the trial court entered findings and conclusions

germane to its denial of Hamilton’s claim that the State violated Brady by

withholding evidence from Smith. 4 SHCR–01 784–87, 801. And, as noted

above, the CCA rejected Hamilton’s prosecutorial misconduct claim during

Hamilton’s subsequent state habeas proceedings. The CCA held:

        Regarding the existence of a plea deal with co-defendant Smith,
        because the prosecution’s statements to the trial court about its
        plea deal with Smith were not testimony, nor heard by the jury,
        [Hamilton] is not entitled to relief on a claim that the State
        presented false testimony based on the prosecution’s statements.
        See Ex parte Ghahremani, 332 S.W.3d 470, 479 (Tex. Crim. App.
        2011) (in determining whether particular piece of testimony has
        been demonstrated to be false, relevant question is whether the
        testimony, taken as a whole, gives the jury a false impression).
        Notwithstanding that, applicant nevertheless still fails to show by
        a preponderance of the evidence that the State misled the trial
        court or misrepresented any information. See Ex parte Kimes, 872
        S.W.2d 700, 703 (Tex. Crim. App. 1993) (applicant has burden of
        proof in post-conviction habeas proceeding).

Ex parte Hamilton, 2020 WL 6588560, at *3. To the extent Hamilton is re-

raising any of his claims about Smith, the CCA’s decisions denying relief were

reasonable, and his claims fail under AEDPA.

II.     Hamilton’s Second Claim for Relief Is Procedurally Defaulted.
        Alternatively, Hamilton’s Counsel Was Not Ineffective. (Claim 2)

        In his amended petition’s second claim for relief, Hamilton argues that

he received IATC because: (1) “[t]rial counsel repeatedly failed to object to




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inadmissible and prejudicial extraneous offense and bad act evidence”; (2)

“[t]rial counsel was ineffective for failing to investigate, prepare for, and

effectively cross-examine Joseph Montoyer—a ‘jailhouse snitch’ who testified

that he overheard Hamilton admit to committing the extraneous capital

murder”; (3) “[t]rial counsel was ineffective for failing to investigate, prepare

for, and effectively cross-examine Wanda Johnson—a witness to the [Huynh

extraneous] murder who observed the shooter had an afro”; and (4) “Hamilton’s

counsel failed to adequately investigate, prepare, and present mitigating

evidence.” Am. Pet., ECF No. 50 at 82–127; Pet., ECF No. 19 at 75–117.

However, Hamilton’s instant IATC claims are procedurally defaulted because

he failed to properly present them to the state courts, and he fails to

demonstrate that he can evade his default under Martinez 41 and Trevino.42

Alternatively, Hamilton fails to show either deficiency or prejudice with

respect to counsel’s actions. Accordingly, Hamilton would not be entitled to

relief under the deferential Strickland standard of review even if these claims

were not defaulted. Padilla v. Kentucky, 559 U.S. 356, 371 (2010)

(“[s]urmounting Strickland’s high bar is never an easy task”).




41     Martinez v. Ryan, 566 U.S. 1 (2012).

42     Trevino v. Thaler, 569 U.S. 413 (2013).


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      A.    These claims are procedurally defaulted.

      Hamilton did not raise the instant IATC claims in either his brief on

direct appeal or his initial state habeas application. See Brief for Appellant at

ii–iv (table of contents); 1 SHCR–01 3–4 (table of contents). Instead, he

presented them in a subsequent state habeas application that the CCA denied

as an abuse of the writ. 1 SHCR–02 52–120; Ex parte Hamilton, 2020 WL

6588560, at *3. Consequently, this claim (including all its subparts and the

new evidence supporting it) is procedurally defaulted by virtue of the fact it

was not properly presented to the state court. It is well-settled that federal

courts “will not review a question of federal law decided by a state court if the

decision of that court rests on a state law ground that is independent of the

federal question and adequate to support the judgment.” Coleman, 501 U.S. at

729; Harris v. Reed, 489 U.S. 255, 262 (1989). Thus, federal review of a habeas

claim is procedurally barred if the last state court to consider the claim

expressly and unambiguously based its denial of relief on a state procedural

default. 43 Coleman, 501 U.S. at 729; Harris, 489 U.S. at 265; Amos v. Scott, 61

F.3d 333, 338 (5th Cir. 1995).

      Concerning the case-at-bar, Texas Code of Criminal Procedure Article

11.071, Section 5, prohibits a successive state habeas corpus application except

in limited circumstances. Williams v. Thaler, 602 F.3d 291, 306 (5th Cir. 2010),




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abrogated on other grounds by Banister v. Davis, 140 S. Ct. 1698 (2020)

(recognizing Section 5 bars consideration on the merits of new claims contained

in a subsequent state habeas corpus application unless either: (1) the new

claims could not have been presented in a previous application because the

legal or factual basis for the new claims were unavailable at the time the

previous application was filed; (2) by a preponderance of the evidence, but for

a violation of the United States Constitution, no rational juror could have

found the applicant guilty beyond a reasonable doubt; or (3) by clear and

convincing evidence, but for a violation of the United States Constitution, no

rational juror would have answered in the state’s favor one or more of the

capital sentencing special issues). Thus, the state court’s dismissal of claims as

an abuse of the writ precludes federal habeas relief as a matter of law. Aguilar

v. Dretke, 428 F.3d 526, 533 (5th Cir. 2005) (“This court has consistently held

that Texas’ abuse-of-writ rule is ordinarily an ‘adequate and independent’

procedural ground on which to base a procedural default ruling.”); Matchett v.

Dretke, 380 F.3d 844, 848 (5th Cir. 2004); Busby v. Dretke, 359 F.3d 708, 724

(5th Cir. 2004); Barrientes v. Johnson, 221 F.3d 741, 758–59 (5th Cir. 2000);

Fuller v. Johnson, 158 F.3d 903, 906 (5th Cir. 1998).



43     A state court expressly and unambiguously bases its denial of relief on a state
procedural default even if it alternatively reaches the merits of a defendant’s claim. Fisher v.
Texas, 169 F.3d 295, 300 (5th Cir. 1999).


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      A petitioner may overcome the state procedural bar only “by

demonstrating (1) cause for the procedural default and actual prejudice as a

result of the alleged violation of federal law or (2) that failure to consider his

claims will result in a fundamental miscarriage of justice.” Pitts v. Anderson,

122 F.3d 275, 279 (5th Cir. 1997). The Supreme Court expanded the notion of

cause to include ineffective state habeas counsel in Martinez and found

Martinez applicable to Texas cases in Trevino. And a fundamental miscarriage

of justice occurs when the petitioner is “‘actually innocent’ of the offense

underlying his conviction or ‘actually innocent’ of the death penalty.” Roberts

v. Thaler, 681 F.3d 597, 605 (5th Cir. 2012).

      Hamilton acknowledges his procedural default. Am. Pet., ECF No. 50 at

83. Nevertheless, Hamilton argues that the Court can review his claims de

novo because he can demonstrate cause and prejudice for his default under

Martinez and Trevino. But Martinez and Trevino do not help Hamilton.

Hamilton’s state habeas counsel was not ineffective. And Hamilton’s

underlying claims are not meritorious or substantial, as shown below. Thus,

he is not entitled to evade the procedural default of these claims.

      Indeed, Hamilton fails to demonstrate that he meets Martinez’s difficult

requirements. In Martinez, the Supreme Court held that when a State requires

a petitioner to raise an IATC claim in an initial-review collateral proceeding,




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the petitioner may establish cause to excuse a default of that claim if either:

(1) no counsel was appointed; or (2) counsel in that proceeding was ineffective

under the standards of Strickland. Martinez, 566 U.S. at 17. Here, Hamilton

had state habeas counsel; therefore, Hamilton must demonstrate that his

attorney was actually ineffective to qualify for Martinez relief. Id. at 14, 17. An

appellate attorney’s effectiveness is measured by the same standard applied to

trial counsel: whether counsel’s performance was objectively reasonable and

whether any deficient performance prejudiced the proceeding. Sharp v.

Puckett, 930 F.2d 450, 452–53 (5th Cir. 1991). State habeas counsel, if required

by the facts, also has an obligation under Strickland to perform “some

minimum investigation prior to bringing the initial state habeas petition.”

Trevino v. Davis, 829 F.3d 328, 347–49 (5th Cir. 2016). However, counsel is not

ineffective merely because he fails to raise issues that the defendant, his client,

requests him to raise. Smith v. Robbins, 528 U.S. 259, 285 (2000). Nor is

counsel ineffective for failing to raise every possible point on appeal. Id. at 288.

Rather, appellate counsel is obliged to raise and brief only those issues that he

believes have the best chance of success. See Engle v. Issac, 456 U.S. 107, 134

(1982) (“[T]he constitution guarantees criminal defendants only a fair trial and

a competent attorney. It does not insure that defense counsel will recognize

and raise every conceivable constitutional claim.”). Only “solid, meritorious




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arguments based on directly controlling precedent should be discovered and

brought to the court’s attention.” United States v. Williamson, 183 F.3d 458,

462–63 (5th Cir. 1999). In the instant case, state habeas counsel effectively

investigated and litigated Hamilton’s case under these standards. Thus,

Hamilton asserts a very different type of grievance against his counsel than

the complaint levied by Martinez 44— Hamilton only claims that state habeas

counsel failed to present certain claims and evidence in conjunction with

Hamilton’s state habeas application.

        Here, the record reflects that Patrick McCann, Hamilton’s state habeas

counsel, filed a seventy-six-page initial state writ, including several claims

raised in the instant federal habeas petition. 1 SHCR–01 2–78. This

application was accompanied by hundreds of pages of documents. 1–2 SHCR–

01 79–416. Hamilton attached at least some of McCann’s billing records to his

federal habeas application. Without conceding the validity or completeness of

these records, the Director observes that these bills demonstrate that

44      Martinez was convicted in Arizona state court of sexual conduct with a minor.
Martinez, 566 U.S. at 4–8. His conviction was affirmed on direct appeal. Id. During the
pendency of his appeal, Martinez’s appellate counsel initiated collateral review in state court
by filing a notice of post-conviction relief. Id. But counsel then filed a statement that she
could find no colorable claim for post-conviction relief. Id. The state court gave Martinez the
option of filing a pro se petition, but Martinez alleged that his counsel failed to inform him
that he needed to do so. Id. After the time to file a petition expired, the trial court dismissed
the collateral action. Id. Later, represented by new counsel, Martinez filed a new notice of
postconviction relief in state court and alleged that Martinez’s trial counsel had been
unconstitutionally ineffective. Id. But Martinez’s petition was dismissed since he did not
present the claim in the first proceeding. Id. In subsequent federal habeas proceedings, the
district court denied Martinez’s claims as procedurally barred. Id.


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McCann’s investigator met with Hamilton, filed open records requests to

obtain governmental documents, visited the Matalkah and Huynh crime

scenes, ran background checks on involved officers, did background research

on Smith, pulled court records, ran searches to try to find Montoyer

(presumably referred to as “Joe Montoya”), ran background checks on Wanda

Johnson, Brooke Rogers, and Charles Douglas, and attempted to meet with

those individuals. Am. Pet., ECF No. 50 at Exhibit 14; Pet., ECF No. 19 at

Exhibit 14. According to these records, McCann himself apparently spent 194

hours on the writ (as well as 14.5 hours of travel time), reviewing records and

mitigation materials, doing legal research, consulting with another attorney,

conducting juror interviews, meeting with a “psych expert” and an

investigator, interviewing an attorney, responding to client correspondence,

visiting his client, looking for and visiting with witnesses, and visiting the

crime scene. Id. This is clearly not deficient performance.

      Regardless, prejudice cannot be shown in the absence of a reasonable

probability that, but for state habeas counsel omitting a particular ground of

error, the case would have been reversed on appeal. Smith, 528 U.S. at 285. As

shown below, Hamilton’s instant claim is wholly without merit. Because

Hamilton’s underlying claim is wholly without merit, there is no way that

Hamilton can make the “substantial” showing required by Martinez that he




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was prejudiced by state habeas counsel’s alleged deficiencies. 566 U.S. at 14

(requiring a showing “that the underlying [IATC] claim is a substantial one,

which is to say that the prisoner must demonstrate that the claim has some

merit”); Canales v. Stephens, 765 F.3d 551, 568 (5th Cir. 2014). Accordingly,

Hamilton cannot overcome the procedural bar to review of his claims even if

state habeas counsel was somehow deficient. See Garza v. Stephens, 738 F.3d

669, 676 (5th Cir. 2013) (agreeing with the district court that “habeas counsel

was not ineffective in failing to raise [a] claim at the first state proceeding”

because “there was no merit to [the petitioner’s] claim”); Beatty v. Stephens,

759 F.3d 455, 466 (5th Cir. 2014).

      Along the same lines, Hamilton’s claim fails because—even assuming he

has successfully shown cause under Martinez—he has not shown the

accompanying actual prejudice. Ramey v. Davis, 942 F.3d 241, 255–56 (5th Cir.

2019); Hernandez v. Stephens, 537 F. App’x 531, 542 (5th Cir. 2013), cert.

denied, 134 S. Ct. 1760 (2014); see, e.g., Martinez, 566 U.S. at 18 (remanding

to address prejudice). “Proving ‘actual prejudice’ requires a prisoner to

‘establish not merely that the errors at his trial created a possibility of

prejudice, but that they worked to his actual and substantial disadvantage,

infecting his entire trial with error of constitutional dimensions.’” Ramey, 942




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F.3d 255–56 (quoting Hernandez, 537 F. App’x at 542) (emphasis in original).

Hamilton simply cannot make this showing.

      B.    Hamilton’s claims are insubstantial and meritless.

      The familiar two-prong standard by which an IATC claim is weighed is

set forth in Strickland. That is, to establish that counsel performed

ineffectively, Hamilton must show both that his attorneys’ performance was

deficient, and the deficient performance prejudiced his defense. 466 U.S. at

687. Furthermore, because a convicted defendant must satisfy both prongs of

the Strickland test, a failure to establish either deficient performance or

prejudice makes it unnecessary to examine the other prong. Id. at 697.

      To establish that counsel’s performance was constitutionally deficient, a

convicted defendant must show that trial counsel “made errors so serious that

counsel was not functioning as the ‘counsel’ guaranteed . . . by the Sixth

Amendment.” Strickland, 466 U.S. at 687. In so doing, a convicted defendant

must overcome a strong presumption that trial counsel’s conduct fell within a

wide range of reasonable professional assistance, and every effort must be

made to eliminate the “distorting effect of hindsight.” Id. at 689.

      Nevertheless, “any deficiencies in counsel’s performance must be

prejudicial to the defense in order to constitute ineffective assistance under the

Constitution.” Strickland, 466 U.S. at 692. To establish that he has sustained




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prejudice, Hamilton “must show that there is a reasonable probability that,

but for counsel’s unprofessional errors, the result of the proceeding would have

been different. Id. at 694. A reasonable probability is a probability sufficient to

undermine the confidence in the outcome.” Id. That requires a “substantial,”

not just “conceivable,” likelihood of a different result. Richter, 562 U.S. at 112.

            1.     Hamilton’s claim that trial counsel failed to object to
                   unnoticed extraneous offenses and bad acts is largely
                   conclusory and entirely meritless.

      As part of his IATC claim, Hamilton argues that his attorney failed to

object to unnoticed extraneous offenses and bad acts. Am. Pet., ECF No. 50 at

84–94; Pet., ECF No. 19 at 76–85. Specifically, he contends that counsel should

have objected to testimony that: (1) Hamilton threatened to hurt Rogers if she

told anyone about the Matalkah murder; (2) Hamilton had other girlfriends

besides Rogers and had children with those girlfriends while dating Rogers; (3)

Hamilton attempted to have sex with Rogers while she was dating another

man; (4) Hamilton violently assaulted Rogers and then disappeared with their

child; (5) Hamilton argued with and cursed Rogers; (6) Hamilton shot a gun at

Rogers; (7) Hamilton assaulted Rogers while she was visiting Hamilton’s

cousin; (8) Hamilton joked that another inmate was homosexual; and (9)

Hamilton was a jailhouse bully who picked on Caucasians and was involved in

several fights. Am. Pet., ECF No. 50 at 84–94; Pet., ECF No. 19 at 77–81.




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However, Hamilton’s claim should be denied as conclusory since he provides

no citation to the record that shows that the incidents in question were

unnoticed. Instead, he only refers to a document in the state habeas record—

the prosecution’s list of extraneous offenses and bad acts that they might

introduce at the punishment phase. Am. Pet., ECF No. 50 at 84 (citing 3

SHCR–01 555–56). But this letter clearly states that prosecutor will update

the defense with any further information. Id.; see, e.g., 8 SHRR–02 390–91.

Hamilton supplies no affidavit from trial counsel indicating that they were

surprised by any unnoticed extraneous offense or bad act. It is therefore

unclear that there was any valid basis for objecting.

      Hamilton asserts that “Respondent has not pointed to any evidence

showing that additional notice of these bad acts was given, because it was not.”

Reply, ECF No. 34 at 69 (emphasis in original). However, on federal habeas

review, the petitioner has the burden of proof—not the Director. Lockett v.

Anderson, 230 F.3d 695, 707 (5th Cir. 2000). The Fifth Circuit has consistently

held that a petitioner’s conclusory, self-serving allegations will not merit

habeas relief. Miller v. Johnson, 200 F.3d 274, 282 (5th Cir. 2000); Koch v.

Puckett, 907 F.2d 524, 530 (5th Cir. 1990); Ross v. Estelle, 694 F.2d 1008, 1011

(5th Cir. 1983). “Absent evidence in the record, a court cannot consider a




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habeas petitioner’s bald assertions on a critical issue in his pro se[ 45] petition,

unsupported and unsupportable by anything else contained in the record, to be

of probative evidentiary value.” Ross, 694 F.2d at 1011–12 (citing Woodard v.

Beto, 447 F.2d 103, 104 (5th Cir. 1971)). The Fifth Circuit has likewise noted

that “[Petitioner]’s failure to provide ‘competent summary judgment

evidence’—i.e., exhibits or affidavits—is fatal to his claim.” Gregory v. Thaler,

601 F.3d 347, 353 (5th Cir. 2010). Accordingly, Hamilton must affirmatively

prove that no notice was given 46 and, moreover, that his counsel had no

strategic reason for not objecting. Dunn v. Reeves, 141 S. Ct. 2405, 2412 (2021)

(“if the attorneys had been given the chance to testify, they might have pointed

to information justifying the strategic decision to devote their time and efforts

elsewhere”).

        That said, the prosecution’s list indicated that the State intended to

present evidence concerning Hamilton being a poor provider and neglectful

father, which could possibly be viewed as including his behavior towards his

child’s mother, Brooke Rogers. 3 SHCR–01 555–56. It also referred to

Hamilton’s violent and noncompliant behavior in jail. Id. This included the




45     Hamilton is not pro se. However, one presumes that a represented inmate is held to
the same (if not higher) standard. [footnote added]

46    If the defense file cannot be located, see 6 SHRR–02 58, 60, 142, then it seems that
Hamilton lacks the ability to show that there is no additional notice contained therein.


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assault on inmate Jason Gurley. Compare 17 RR 139 with 3 SHCR–01 556.

And it included testimony about Hamilton trying to manufacture a false alibi.

3 SHCR–01 555 (“Witnesses at the Harris County Jail would testify that

Ronald Hamilton shortly after being jailed on the Capital Murder case for

which he now stands charged, tried to set up an alibi with members of his

family.”). A follow-up letter included an assault on Rogers. 8 SHRR–02 391.

        Hamilton asserts that the State’s notice did not comply with Texas Code

of Criminal Procedure Article 37.07, Section 3(g), but it is debatable that the

incidents enumerated above went unnoticed in any meaningful way 47, and it

is unlikely that the trial court would have upheld an objection on this basis.

Luna v. State, 301 S.W.3d 322, 326 (Tex. App.—Waco 2009, no pet.) (failure to

provide notice is nonconstitutional error and “[t]o assess nonconstitutional

errors, [a court on appeal will] examine whether the purpose of the statute or

rule violated was thwarted by the error”). The available notice was sufficient

to avoid unfair surprise and to enable Hamilton to answer the extraneous

offense evidence. 48 Id.



47      Hamilton also does not show that Rogers, Gurley, and Montoyer were not on the
State’s witness list, which may have also alerted him to their testimony. 1 CR 65 (court order
for witness list).

48      It is worth noting that Hamilton’s IATC allegation is premised on an interpretation
of state law, but such state-law questions are generally “beyond the scope of federal habeas
review.” Gutierrez v. Stephens, No. 1:09–CV–22, 2013 WL 12092544, at *31 (S.D. Tex. Oct. 3,
2013) (citing Charles v. Thaler, 629 F.3d 494, 500–01 (5th Cir. 2011)).


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      In any event, the State’s remaining punishment case showed that

Hamilton committed a second murder, had prior convictions, made his living

selling drugs, and was belligerent while incarcerated. While the allegedly

unnoticed extraneous acts do support a finding that Hamilton constituted a

future danger, the successful exclusion of these facts would not have created a

reasonable probability that the verdict would have been different.

             2.    Counsel effectively cross-examined Montoyer.

      Hamilton also claims that his attorney failed to adequately cross-

examine Montoyer. Am. Pet., ECF No. 50 at 94–99; Pet., ECF No. 19 at 85–90.

Specifically, he claims that defense counsel should have pointed out additional

prior convictions, as well as Montoyer’s various aliases, and Muldrow should

have pointed out purported discrepancies between Montoyer’s original

statement to police and his testimony. Id. Yet, in Henderson v. Norris, the

Eighth Circuit noted that an ineffectiveness claim based on an allegedly

deficient cross-examination “is not the type of error, if indeed it [is] error at all,

that the Sixth Amendment functions to correct.” 118 F.3d 1283, 1287 (8th Cir.

1997). The court explained

      The cross-examination of a witness is a delicate task; what works
      for one lawyer may not be successful for another. Courts generally
      entrust cross-examination techniques, like other matters of trial
      strategy, to the professional discretion of counsel. We have
      recently observed that there are a few, if any, cross-examinations
      that could not be improved upon. If that were the standard of



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      constitutional effectiveness, few would be the counsel whose
      performance would past [sic] muster.

Id. (quotations and citations omitted). The decision whether, and how much,

to cross-examine a witness is a strategic decision best left to counsel’s

discretion and is not amenable to second-guessing. Ex parte McFarland, 163

S.W.3d 743, 756 (Tex. Crim. App. 2005) (“[C]ross-examination is an art, not a

science, and it cannot be adequately judged in hindsight.”); see also Thang Lai

v. Cain, CIV. A. 08–3984, 2009 WL 324059, at *11 (E.D. La. Feb. 6, 2009);

Rockwell v. Davis, CIV. A. 4:14–CV–1055–O, 2016 WL 4398378, at *20 (N.D.

Tex. Aug. 18, 2016) (citing Dunham v. Travis, 313 F.3d 724, 732 (2d Cir. 2002)).

Since decisions regarding the cross-examination of witnesses are strategic,

they usually “will not support an ineffective assistance claim.” United States v.

Bernard, 762 F.3d 467, 472 (5th Cir. 2014) (citation omitted). Indeed,

“[s]peculating about the effect of tinkering with the cross-examination

questions is exactly the sort of hindsight that Strickland warns against.”

Castillo v. Stephens, 640 F. App’x 283, 292 (5th Cir. 2016).

      But even if the Court wished to evaluate counsel’s cross-examination,

this is clearly not deficient performance. See, e.g., Nelson v. Davis, 952 F.3d

651, 668 (5th Cir. 2020) (“the fact that [petitioner] has identified in hindsight

another unprobed weakness in [the witness]’s testimony does not render his

trial counsel’s cross-examination unreasonable”); Castillo, 640 F. App’x at 292



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(cross-examinations were not deficient where attorneys elicited evidence and

statements favorable to defendant, such as stressing motivations of various

witnesses to lie and lack of physical evidence linking defendant to crime). The

Director has exhaustively set forth Montoyer’s testimony below. See Argument,

Section III, infra. Counsel raised at least some of Montoyer’s aliases and

convictions 49 during her two examinations. Id. She also addressed some of the

discrepancies between his police statement and trial testimony. Id. Additional

impeachment would have been cumulative. Bernard, 762 F.3d at 473 (no relief

when      additional     details     not    elicited    on    cross-examination         were

“unsubstantiated or cumulative of other inconsistencies brought out at trial”);

see Soliz v. Davis, CIV. A. 3:14–CV–4556–K, 2017 WL 3888817, at *13 (N.D.

Tex. Sept. 6, 2017) (rejecting IATC claim alleging a failure to adequately cross-

examine a witness where counsel elicited useful information from the witness.

        Furthermore, since the same type of evidence that Hamilton now claims

defense counsel should have explored was, in fact, developed at trial and would

not have undermined the facts of the crime or the State’s other aggravating

evidence, Hamilton has also failed to demonstrate any prejudice. Russell v.



49     Hamilton refers to Montoyer’s convictions from after trial, Am. Pet., ECF No. 50 at 97
n.39, but convictions that did not yet exist have no bearing on an evaluation of counsel’s
performance. Counsel are not required to be clairvoyant with respect to future developments
in the law. United States v. Fobbs, No. 2:03–CR–20067, 2006 WL 8426592, at *1 n.5 (W.D.
Tex. 2006) (collecting cases). It goes without saying, then, that counsel are not required to—
nor could they possibly—predict future factual developments.


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Collins, 944 F.2d 202, 206 (5th Cir. 1991) (defendant failed to show that further

impeachment by defense counsel would have altered outcome of trial). Indeed,

even without Montoyer, the State still would have been able to show that

Hamilton was identified by two eyewitnesses as Huynh’s murderer and that

the facts of Huynh murder were remarkably similar to that of Matalkah’s (i.e.,

convenience store robberies in the same geographic area, close in time, both

utilizing firearms and a getaway driver, and involving attempts to steal a cash

register). Montoyer’s testimony may have been relevant and inculpatory, but

it was not necessary to show Hamilton’s guilt in Huynh’s murder, and further

impeachment of Montoyer would not have led to a reasonable probability of

different result. Thus, this Court should hold that Hamilton has proved neither

deficiency nor prejudice with respect to this allegation.

            3.    Counsel effectively cross-examined Johnson.

      Hamilton also argues that counsel ineffectively cross-examined Wanda

Johnson. Am. Pet., ECF No. 50 at 99–103; Pet., ECF No. 19 at 90–93.

Specifically, he argues that: (1) counsel should have impeached Johnson with

her written statement to police that the Huynh murderer had an afro and was

about seventeen years old; and (2) counsel should have presented evidence that

Johnson had seen the shooter holding the 40 oz. bottle before going into the

store. Id. As shown immediately above, it is dubious that inadequate cross-




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examination is a type of claim upon which habeas relief can be granted.

Nevertheless, the record shows that counsel’s cross-examination was not

deficient.

      With respect to Hamilton’s claim that counsel should have more

effectively cross-examined Johnson concerning her statement to police that the

Huynh shooter had an afro and was about seventeen-years old, the record

reflects that, on cross-examination and in front of the jury, defense counsel

specifically questioned whether Johnson had told Officer Park that the shooter

was seventeen and had an afro, and she denied it. 17 RR 291–92. Counsel also

attempted to exclude Johnson’s identification outside of the presence of the

jury using the same information. Id. at 270. Johnson said that she had told the

officer that the assailant was in his late teens. Id. Later, counsel asked Officer

Park about the issue, and Officer Park confirmed—while referencing her

notes—that Johnson had said that Hamilton had “a little thicker hair” or an

afro. 18 RR 56–57. Hamilton believes that counsel should have confronted

Johnson with her witness statement, but presenting the written statement

would have been cumulative impeachment in light of Officer Park’s testimony.

See Rockwell, 2016 WL 4398378, at *20 (“[C]ounsel did not fail to cross-

examine or impeach [the witness]; [petitioner] simply claims counsel should

have done more. Thus, this claim is one of degrees. Such claims risk




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incorporating the distorting effects of hindsight and are accordingly less

susceptible to judicial second-guessing.”) (citations and quotations omitted).

      Concerning the bottle, the Director has addressed this matter

exhaustively above. See Argument, Section I, supra. Hamilton complains that

counsel did not adequately show through cross-examination that Huynh’s

shooter handled the bottle. Am. Pet., ECF No. 50 at 101. But Johnson stated

on direct examination that Huynh’s killer “had a bottle sitting on the side of

the store on the bench. He was urinating over the bottle onto the wall.” 17 RR

277. And counsel then elicited from police that the prints on the bottle did not

tie back to Hamilton or Smith. 18 RR 40–41. The fact that the prints did not

tie back was before the jury because counsel put it there. Id.

      Hamilton nevertheless argues that counsel should have explicitly

ascertained from Johnson whether Johnson saw the shooter touch the bottle

because of a portion of the police report which states “[i]t was not mentioned

in the statement but [Johnson] also saw the same man sit down an empty 40

once [sic] beer bottle on the rail.” 4 Supp.SHCR–02 917; 8 SHRR–02 348 (pg.

2.011). The problem with this argument is that, even assuming that Johnson

would have said that the shooter handled the bottle or that counsel could have

impeached her with this statement, in yet another report (which the State

likely would have relied upon), Johnson explains that she did not see the




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shooter pick up the bottle, but rather that he merely urinated over it. 4

Supp.SHCR–02 918; 8 SHRR–02 362 (pg. 2.025: “Johnson stated the suspect

did not pick up the glass bottle but stood over it when he urinated”). Similarly,

in her sworn statement Johnson did not mention the killer handling the bottle.

6 SHRR–02 17; 8 SHRR–02 244–45. The State therefore could have easily

undermined the value of whatever counsel obtained utilizing this cross-

examination tactic. Indeed, having access to all the evidence adduced since

trial and at the subsequent state habeas hearing, the CCA still found that

Johnson “equivocated” about the shooter handling the bottle. 50 Ex parte

Hamilton, 2020 WL 6588560, at *2. The jury’s interpretation would have likely

been the same.

        Further, even if Johnson had been impeached and the bottle shown to

have been picked up, it would not change the fact that Hamilton was still

identified by two eyewitnesses (including Johnson), and the facts of the offense

were remarkably similar to Matalkah’s murder—again, convenience store

robberies in the same geographic area, close in time, using firearms, employing

a getaway driver, with attempts to steal a cash register. Montoyer also testified

to Hamilton’s jailhouse admissions. 17 RR 187–88. The CCA found no

materiality with respect to Hamilton’s bottle claims, and that determination



50      This fact finding is entitled to deference by this Court. 28 U.S.C. § 2254(e)(1).


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should strongly influence this Court’s IATC prejudice evaluation. Ex parte

Hamilton, 2020 WL 6588560, at *2. Accordingly, Hamilton fails to prove that

he is entitled to relief with respect to his claim that counsel ineffectively cross-

examined Johnson.

            4.     Counsel effectively investigated,             prepared,     and
                   presented mitigating evidence.

                   a.    Hamilton has not shown any deficiency.

      Hamilton also asserts that trial counsel failed to effectively investigate,

prepare, and present mitigating evidence. Am. Pet., ECF No. 50 at 103–23;

Pet., ECF No. 19 at 94–111. Hamilton argues that counsel performed a tardy

and inadequate investigation that failed to uncover individuals who could have

testified favorably for him (or failed to prepare those that did testify). Id. These

individuals include James Anthony Brown, Penelope Ann Leon, Sheena

Gaines, Elsie Tippins, and Tywon Hamilton. ECF No. 50-1 at Exhibit 7

(witness affidavits); Exhibit 8 (affidavits of federal mitigation investigator

Jade Ortego). He further argues that counsel should have spent more effort

explaining the effects of fry on Hamilton through an expert like Dr. Wilkie A.

Wilson. Id. at Exhibit 13. Finally, he contends that defense witness Halpin, an

educational diagnostician and consultant, did not have access to all the records

that she needed and was therefore unprepared to testify. As previously noted,

this claim is unexhausted and procedurally defaulted. However, even if this



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claim were not unexhausted and procedurally defaulted, it is still meritless

under de novo review.

      To render effective assistance, the Sixth Amendment requires counsel

“to make a reasonable investigation of defendant’s case or to make a reasonable

decision that a particular investigation is unnecessary.” Ransom v. Johnson,

126 F.3d 716, 723 (5th Cir. 1997) (citing Strickland, 466 U.S. at 691). When

assessing effectiveness at the sentencing stage of a capital trial, counsel’s

“investigations into mitigating evidence should comprise efforts to discover all

reasonably available mitigating evidence.” Wiggins v. Smith, 539 U.S. 510, 524

(2003). “[C]ounsel should consider presenting . . . [the defendant’s] medical

history, educational history, employment and training history, family and

social history, prior adult and juvenile correctional experience, and religious

and cultural influences.” Id. That is, “[g]enerally accepted standards of

competence require that counsel conduct an investigation regarding the

accused’s background and character.” Id. Yet, Strickland does not “require

defense counsel to present mitigating evidence at sentencing in every case.”

Miniel v. Cockrell, 339 F.3d 331, 344 (5th Cir. 2003).

      With respect to counsel’s duty to investigate, the Supreme Court has

observed:

      [S]trategic choices made after thorough investigation of law and
      facts relevant to plausible options are virtually unchallengeable;



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      and strategic choices made after less than complete investigation
      are reasonable precisely to the extent that reasonable professional
      judgments support the limitations on investigation. In other
      words, counsel has a duty to make reasonable investigations or to
      make a reasonable decision that makes particular investigations
      unnecessary. In any ineffectiveness case, a particular decision not
      to investigate must be directly assessed for reasonableness in all
      the circumstances, applying a heavy measure of deference to
      counsel’s judgments.

Strickland, 466 U.S. at 690–91. When a petitioner argues that his counsel

failed to adequately investigate mitigation evidence, the proper inquiry is “not

whether counsel should have presented a mitigation case . . . [but] whether the

investigation supporting counsel’s decision not to introduce mitigating

evidence of [the defendant’s] background was itself reasonable.” Wiggins, 539

U.S. at 523.

      The reasonableness of an attorney’s investigation must be determined

by considering not only the evidence already known to counsel, but also

whether such evidence would lead a reasonable attorney to investigate further.

Id. at 527. The reasonableness of an investigation depends in large part on the

information supplied by the defendant. Strickland, 466 U.S. at 691 (“The

reasonableness of counsel’s actions may be determined or substantially

influenced by the defendant’s own statements or actions. Counsel’s actions are

usually based, quite properly, on informed strategic decisions made by the

defendant and on information supplied by the defendant. In particular, what




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investigation   decisions   are   reasonable   depends   critically   on   such

information.”); see also Johnson v. Cockrell, 306 F.3d 249, 252–53 (5th Cir.

2002) (evidence of any history of abuse or brain injury never disclosed despite

specific questions on these topics).

      With respect to any allegation that counsel should have called other

family members, friends, or experts that did not actually testify at trial,

“[c]omplaints of uncalled witnesses are not favored in federal habeas corpus

review because allegations of what a witness would have testified are largely

speculative.” See Sayre v. Anderson, 238 F.3d 631, 635–36 (5th Cir. 2001)

(quoting Lockhart v. McCotter, 782 F.2d 1275, 1282 (5th Cir. 1986)); see also

Day v. Quarterman, 566 F.3d 527, 538 (5th Cir. 2009) (“[T]o prevail on an

[IATC] claim based on counsel’s failure to call a witness, the petitioner must

name the witness, demonstrate that the witness was available to testify and

would have done so, set out the content of the witness’s proposed testimony,

and show that the testimony would have been favorable to a particular

defense”). Furthermore, the presentation of witness testimony is essentially

strategy and, thus, within trial counsel’s domain. Alexander v. McCotter, 775

F.2d 595, 602 (5th Cir. 1985). A petitioner must overcome a strong presumption

that his counsel’s decision in not calling a particular witness was a strategic

one. Murray v. Maggio, Jr., 736 F.2d 279, 282 (5th Cir. 1984).




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      To begin, it is worth noting that mitigation investigator Jade Ortego’s

affidavits are rife with hearsay and could not be considered even if this claim

were not procedurally defaulted. ECF No. 50-1 at Exhibit 8. As for the

affidavits of Hamilton’s friends, family, and Dr. Wilson, the affiants do state

that they would have testified to the affidavits’ contents if they had been asked.

Id. at Exhibits 7, 13. However, Hamilton offers no affidavit from his trial

attorneys explaining their strategic motivations and investigations regarding

these witnesses. Without providing any explanation of counsel’s thinking and

motivations—their “perspective at the time”—Hamilton plainly fails to meet

his burden to show deficient performance. See Burt v. Titlow, 571 U.S. 12, 23

(2013) (“It should go without saying that the absence of evidence cannot

overcome” Strickland’s presumption of attorney competence.); see also Reeves,

141 S. Ct. at 2412. Judicial scrutiny of counsel’s performance must be “highly

deferential,” indulging in a “strong presumption” that “trial counsel rendered

adequate assistance and that the challenged conduct was the product of a

reasoned trial strategy.” West v. Johnson, 92 F.3d 1385, 1400 (5th Cir. 1996)

(citing Wilkerson v. Collins, 950 F.2d 1054 (5th Cir. 1993). In the absence of

information concerning trial counsel’s strategic reasoning, the presumption of

adequate assistance must prevail. See Titlow, 571 U.S. at 23. Indeed, without




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any information from counsel about their thinking, strategy, and the extent of

their investigations, Hamilton’s claim of IATC is basically conclusory.

      Moreover, the information offered in Hamilton’s affidavits is merely

cumulative to the evidence that was already presented. At trial, there was

abundant family and personal history presented through Hamilton’s mother

and father, his cousin, his friend Billy Norris, and Halpin. There was also

ample testimony about fry and its deleterious effects presented through these

individuals. See Statement of Facts, supra. And Halpin testified at length

about Hamilton’s academic and intellectual issues. Id. Counsel’s decision not

to present cumulative and redundant testimony does not constitute ineffective

assistance. Pinholster, 563 U.S. at 200; Sheppard v. Davis, 967 F.3d 458, 468–

69 (5th Cir. 2020); Murray, 736 F.2d at 282. “The defense of a criminal case is

not an undertaking in which everything not prohibited is required. Nor does it

contemplate the employment of wholly unlimited time and resources.” Smith

v. Collins, 977 F.2d 951, 960 (5th Cir. 1992). “Additional evidence on these

points would have offered an insignificant benefit, if any at all.” Wong v.

Belmontes, 558 U.S. 15, 23 (2009) (per curiam); Lovett v. State of Florida, 627

F.2d 706, 708 (5th Cir. 1980) (counsel is “not required to pursue every path

until it bears fruit or until all conceivable hope withers”). In Van Hook, the

Supreme Court concluded that “the minor additional details” of Van Hook’s




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traumatic childhood, which the interviews with additional family members

would have revealed, did not prejudice Van Hook because counsel had already

presented extensive evidence of Van Hook’s traumatic childhood at trial. Bobby

v. Van Hook, 558 U.S. 4, 11–12 (2009) (“there comes a point at which evidence

from more distant relatives can reasonably be expected to be only cumulative,

and the search for it distractive from more important duties”). “[Petitioner] has

not shown any deficiency related to [his] proffer of cumulative evidence.” Carty

v. Thaler, 583 F.3d 244, 264 (5th Cir. 2009).

      Furthermore, there does not appear to be any affidavit from Halpin in

which she states that she was unprepared. See, e.g., Segundo v. Davis, 831 F.3d

345, 352 (5th Cir. 2016) (“none of the experts retained by trial counsel indicated

that they were missing information needed to form an accurate conclusion that

Segundo is not intellectually disabled”). And Hamilton’s exhibits show that

they provided Halpin with at least some records. ECF No. 50-1 at Exhibit 5

(faxes). Hamilton asserts that Halpin never received 142 pages of school

records, see Am. Pet., ECF No. 50 at 114–15 (citing ECF No. 50-1 at Exhibit 8),

but this is a conclusory statement of the federal habeas investigator. Moreover,

assuming that these documents were not provided, the defense team may have

had a strategic reason for withholding them. See Coble v. Quarterman, 496

F.3d 430, 441–42 (5th Cir. 2007) (“At most, Coble is challenging the strategy




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employed by trial counsel, arguing that witnesses should have been better

prepared and that more witnesses should have been proffered. Coble’s

challenge is measurably distinct from the failure to investigate social history

in Wiggins.”). For instance, it is entirely possible that they contained damaging

information that would have undermined Halpin’s testimony.

      Also, concerning Dr. Wilkie, Hamilton’s counsel would obviously have to

be circumspect about calling an expert to testify about his mental state. Had

counsel done so, the State would have undoubtedly countered with their own

expert, and that expert would likely have had a dim view of a double murderer

like Hamilton. See Kansas v. Cheever, 571 U.S. 87, 94 (2013) (“When a

defendant presents evidence through a psychological expert who has examined

him, the government likewise is permitted to use the only effective means of

challenging that evidence: testimony from an expert who has also examined

him.”); Lagrone v. State, 942 S.W.2d 602, 611 (Tex. Crim. App. 1997) (allowing

trial courts to “order criminal defendants to submit to a state-sponsored

psychiatric exam on future dangerousness when the defense introduces, or

plans to introduce, its own future dangerousness expert testimony”) (emphasis

in original). Counsel thus may have decided it was a safer course to present

testimony about Hamilton’s fry usage and its effects through the lay witnesses

and avoid damaging rebuttal. See Pinholster, 563 U.S. at 196 (explaining that




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a court reviewing a Strickland claim is “required not simply to give the

attorneys the benefit of the doubt, but to affirmatively entertain the range of

possible reasons [a defendant]’s counsel may have had for proceeding as they

did”) (cleaned up). Moreover, overemphasizing Hamilton’s drug use could have

been seen by the jury as an attempt blame drugs for Hamilton’s crime and

undermined the defense’s        strategy    of showing    that Hamilton took

responsibility for his actions by pleading guilty. See Strickland, 466 U.S. at 699

(rejecting IATC claim where the Court found trial counsels’ strategy “to rely as

fully as possible on respondent’s acceptance of responsibility for his crimes”

was reasonable); Boyle v. Johnson, 93 F.3d 180, 187–88 (5th Cir. 1996) (“As to

evidence of drug and alcohol abuse, counsel stated ‘‘it would have been

aggravating.’”).

      Hamilton also asserts that he suffers from brain damage. Am. Pet, ECF

No. 50 at 119. But Hamilton concedes that his trial team was aware of it. Id.

One must therefore presume that counsel had a strategic reason for not

employing this potential evidence. See Pinholster, 563 U.S. at 196. Indeed,

brain damage has a double-edged nature that can counsel against its use.

Druery v. Thaler, 647 F.3d 535, 541–42 (5th Cir. 2011); Martinez v. Dretke, 404

F.3d 878, 899–90 (5th Cir. 2005).




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      Hamilton questions the timing of the defense team mitigation

investigation and contends that it did not comport with ABA Guidelines. Am.

Pet, ECF No. 50 at 107; Pet., ECF No. 19 at 97–98. But while it is true that

Supreme Court decisions refer approvingly to the ABA Guidelines, the

guidelines were not adopted as law. Wiggins, 539 U.S. at 524. As the Court

explained in Strickland:

      In any case presenting an ineffectiveness claim, the performance
      inquiry must be whether counsel’s assistance was reasonable
      considering all the circumstances. Prevailing norms of practice as
      reflected in American Bar Association standards and the like [] are
      guides to determining what is reasonable, but they are only guides.
      No particular set of detailed rules for counsel’s conduct can
      satisfactorily take account of the variety of circumstances faced by
      defense counsel or the range of legitimate decisions regarding how
      best to represent a criminal defendant.

466 U.S. at 468–89 (citations omitted).

      The Supreme Court has soundly rejected the notion that the ABA’s

guidelines are an “inexorable command with which all capital defense counsel

must fully comply” to be constitutionally effective. Van Hook, 558 U.S. at 8

(internal quotation marks omitted). The Court emphasized that the same was

true of all state and private organization rules, noting that they are “free to

impose whatever specific rules they see fit to ensure that criminal defendants

are well represented,” but “the Federal Constitution imposes one general




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requirement: that counsel make objectively reasonable choices.” Id. at 9

(internal quotation marks omitted).

        Moreover, while not conceding either the completeness or the accuracy

of the documents Hamilton provides with his federal habeas petition 51, the

Director observes that Hamilton’s Exhibit 5 shows that counsel retained an

investigator (Gerald Bierbaum) who: met with Hamilton; acquired or read

governmental records concerning Hamilton, his family, and potential

witnesses; met with Hamilton’s great aunt, uncles, Billy Norris, and Darious

Graves; located educational records; interviewed neighbors; and met experts.

ECF No. 50-1 at Exhibit 5. The defense team arranged for Hamilton to be

examined for neuropsychological defects, acquired some of his medical records,

and retained an expert to provide a report. Id. The defense also retained and

met with educational diagnostician Halpin. Id. A detailed chronology of



51     While the Director believes that the current record is sufficient to rebut Hamilton’s
arguments and support the denial of relief, to the extent that the Court wishes to entertain
granting relief or permitting factual development (either with respect to Hamilton’s default
or the merits), the Director requests that the Court first order Hamilton to divulge both state
habeas counsel and trial counsel’s files (to the extent available) to the Director for evaluation.
Hamilton has called into question the competence of both state habeas and trial counsel and
has selectively submitted statements and file materials to support his accusation. Hamilton
cannot use privilege as a sword and a shield, and his IATC claims constitute a waiver of his
attorney-client privilege with respect to his accusations. Willy v. Admin. Review Bd., 423 F.3d
483, 497 (5th Cir. 2005) (“when a party entitled to claim the attorney-client privilege uses
confidential information against his adversary (the sword), he implicitly waives its use
protectively (the shield) under that privilege.”); United States v. Ballard, 779 F.2d 287, 292
(5th Cir. 1986); In re Medina, 475 S.W.3d 291, 302 (Tex. Crim. App. 2015). The Director
should be permitted to review counsel’s relevant file materials to make any rebuttal
arguments applicable.


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Hamilton’s life was produced. Id. Another investigator (Lisa Milstein)

conducted a lengthy interview with Ronald Hamilton, Sr. Id.

       “All of [Hamilton’s] arguments—that trial counsel did not begin the

investigation soon enough, that they did not try hard enough to gather records

or get [various witnesses] to testify, that they did not find enough witnesses—

come down to a matter of degrees.” Balentine v. Lumpkin, No. 18–70035, 2021

WL 3376528, at *9 (5th Cir. Aug. 3, 2021), pet. rehearing filed. And “[w]e must

be particularly wary of arguments that essentially come down to a matter of

degrees. Did counsel investigate enough? Did counsel present enough

mitigating evidence? Those questions are even less susceptible to judicial

second guessing.” Skinner v. Quarterman, 576 F.3d 214, 220 (5th Cir. 2009)

(quoting Dowthitt v. Johnson, 230 F.3d 733, 743 (5th Cir. 2000)); Ward v.

Stephens, 777 F.3d 250, 265 (5th Cir. 2015). “Reliance on ‘the harsh light of

hindsight’ to cast doubt on a trial that took place . . . years ago is precisely what

Strickland and AEDPA seek to prevent.” Richter, 562 U.S. at 107; Bell, 535

U.S. at 702; see also Lockhart v. Fretwell, 506 U.S. 364, 372 (1993). When

unpresented evidence is not “shocking and starkly different than that

presented at trial,” the Fifth Circuit has previously held that an ineffectiveness

claim is not viable. Blanton v. Quarterman, 543 F.3d 230, 239–40 n.1 (5th Cir.

2008); Newbury v. Stephens, 756 F.3d 850, 873 (5th Cir. 2014) (where counsel




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“presented six witnesses to testify about [petitioner’s] family, medical, and

educational history” and because the jury “heard about [petitioner’s] traumatic

childhood” which included neglect and abuse, counsel were not ineffective for

not presenting evidence that may have provided more details but “is of the

same genre as that presented to the jury at trial”); Trottie v. Stephens, 720 F.3d

231, 248 (5th Cir. 2013) (“[A]lthough the jury may not have had all of the facts

that [petitioner] now wishes it had, [petitioner]’s counsel did offer meaningful

information regarding [petitioner]’s childhood and how it may have impacted

[petitioner]’s decisions on the day of the incident.”); see also Coble, 496 F.3d at

441 (counsel not ineffective because counsel produced significant witnesses

who testified about petitioner’s background); Martinez v. Dretke, 99 F. App’x.

538, 543 (5th Cir. 2004) (counsel not ineffective because “[t]hey conducted

investigations and located numerous witnesses to help their client avoid the

death penalty”). Hamilton is plainly raising an argument of degrees. The

record clearly shows that the trial witnesses related the important facts

concerning Hamilton’s personal history and background. See Pinholster, 563

U.S. at 200 (finding no reasonable probability that the additional evidence

presented in state habeas proceeding would have changed jury’s verdict

because the “‘new’ evidence largely duplicated the mitigation evidence at

trial”). Moreover, “[c]ounsel was entitled to formulate a strategy that was




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reasonable at the time and to balance limited resources in accord with effective

trial tactics and strategies.” Richter, 562 U.S. at 107. Counsel were not

deficient with respect to their investigation and presentation of mitigating

evidence, and relief on this basis should be denied.

                         b.    Hamilton has not shown prejudice.

      The Supreme Court has explained that the fact patterns of its IATC

cases do not necessarily set the bar for a finding of prejudice. Andrus v. Texas,

140 S. Ct. 1875, 1887 n.6 (2020). Nevertheless, it is informative that

Hamilton’s allegedly mitigating evidence does not compare to the mitigating

evidence the Court has found to be prejudicially omitted in other cases. See,

e.g., Wiggins, 539 U.S. at 516–17, 525–26, 534–35 (“Wiggins experienced

severe privation and abuse in the first six years of his life while in the custody

of his alcoholic, absentee mother. He suffered physical torment, sexual

molestation, and repeated rape during his subsequent years in foster care.”);

Rompilla v. Beard, 545 U.S. 374, 378, 390–95 (2005) (evidence established that

Rompilla was reared in a slum, quit school at sixteen, had a series of

incarcerations, his mother drank during pregnancy, his father had a “vicious

temper,” Rompilla and his siblings “lived in terror,” he and a brother were

locked “in a small wire mesh dog pen that was filthy and excrement filled,”

their home had no indoor plumbing, and they slept in an attic with no heat);




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Williams, 529 U.S. at 395 (counsel “failed to conduct an investigation that

would have uncovered extensive records graphically describing Williams’

nightmarish childhood, not because of any strategic calculation but because

they incorrectly thought that state law barred access to such records.”).

      Andrus held that evaluating prejudice requires reweighing the

aggravating and mitigating evidence. 140 S. Ct. at 1886. In assessing the

relative weight of the new mitigating evidence, a reviewing court compares the

new evidence with that from the trial. Sheppard, 967 F.3d at 469.

“[O]verwhelming aggravating factors” can outweigh unpresented mitigating

evidence. Busby v. Davis, 925 F.3d 699, 726 (5th Cir. 2019); Clark v. Thaler,

673 F.3d 410, 424 (5th Cir. 2012); Sonnier v. Quarterman, 476 F.3d 349, 360

(5th Cir. 2007); Ladd v. Cockrell, 311 F.3d 349, 360 (5th Cir. 2002). For

instance, the “brutal and senseless nature of the crime,” Smith v. Quarterman,

471 F.3d 565, 576 (5th Cir. 2006), or the “cruel manner in which [petitioner]

killed,” Miniel, 339 F.3d at 347, may weigh heavily against a finding of

Strickland prejudice. Strickland, 466 U.S. at 700; Knight v. Quarterman, 186

F. App’x 518, 535 (5th Cir. 2006). Here, Hamilton’s amended petition fails to

show a reasonable probability that the result would have been any different if

his additional, allegedly omitted evidence had been before the jury. See, e.g.,

Parr v. Quarterman, 472 F.3d 245, 256–58 (5th Cir. 2006); Ransom, 126 F.3d




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at 724. Hamilton also has not shown that “[t]he likelihood of a different result

[is] substantial, not just conceivable.” Richter, 562 U.S. at 112.

      Again, the evidence Hamilton now offers is largely cumulative.

Sheppard, 967 F.3d at 468 (“[Petitioner] has not shown that, but for her

counsel’s failure to present cumulative mitigating evidence, ‘the result of the

proceeding would have been different.”) (citing Andrus, 140 S. Ct. at 1881). It

would not have caused the jury to view Hamilton any differently than they

already did. The defense offered Hamilton’s family and personal history

through testimonies from Hamilton’s mother and father (18 RR 119–244), his

cousin Darious Graves (19 RR 8–49), and his friend Billy Norris (16 RR 89–

115). Hamilton’s parents, who were previously married but subsequently

divorced, 18 RR 121, 128–29, had a tumultuous relationship, id. at 130–31, had

criminal histories, id. at 140–41, 190, 204, 240, abused drugs and alcohol, id.

at 123–25, 127–28, 135–36, 190, 204, 240, and neglected Hamilton due to their

own issues. Id. at 135, 145, 203. Hamilton was partially raised by his

grandmother in poor conditions, id. at 130, 132–33, 143, and began selling

drugs at a young age. Id. at 148. There was also testimony about fry and its

deleterious effects on Hamilton. 18 RR 136, 204; 19 RR 18–19, 25–27.

Educational diagnostician Deedee Halpin testified about Hamilton’s academic

and intellectual issues. 19 RR 50–94. While Hamilton had an IQ of 92, he likely




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also had a learning disability, and his academic performance was poor. Id. at

53–57, 60–62.

      On the other side of the ledger, the State’s case showed that Hamilton

had committed two capital murders, had previous convictions, was a vicious

domestic abuser, earned his living as a drug dealer, and remained violent even

after he was incarcerated. See Statement of Facts, supra. Hamilton’s

additional evidence would not have made any appreciable difference in this

case—there is simply no reasonable probability of a different result.

Strickland, 466 U.S. at 695; Wiggins, 539 U.S. at 534; Balentine, 2021 WL

3376528, at *9–*10 (finding a lack of prejudice where purportedly mitigating

new mental-health expert testimony was double-edged and the aggravating

evidence overwhelmed the proffered mitigating evidence); see also Neal, 286

F.3d at 241 (“Stated to the point: Is this additional mitigating evidence so

compelling that there is a reasonable probability at least one juror could

reasonably have determined that, because of Neal’s reduced moral culpability,

death was not an appropriate sentence?”) (footnote omitted). Thus, even if this

Court finds deficient performance by trial counsel, Hamilton is not entitled to

relief on any of his IATC claims due to a failure to show prejudice. Strickland,

466 U.S. at 700 (noting that the unpresented evidence would have “barely

altered the sentencing profile”); see also Ex parte Martinez, 195 S.W.3d 713,




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731 (Tex. Crim. App. 2006) (“since the jury was privy to some of the severe

abuse Applicant suffered during his childhood, there is not a reasonable

probability that the unadmitted alleged mitigating evidence would have tipped

the scale in Applicant’s favor”).

      Finally, Hamilton argues that the errors in this case can be cumulated

to demonstrate prejudice. This claim is more thoroughly addressed in a

response to Hamilton’s related, free-standing claim. See Argument, Section

XIII, infra. But, to briefly summarize the Director’s later briefing, the claim is

unexhausted and defaulted, Hamilton has failed to demonstrate any

constitutional errors, individual errors not of constitutional dimension cannot

be cumulated to form an error worthy of relief, and the Supreme Court has

never recognized a claim of cumulative error. Therefore, this claim must be

denied.

      C.    Hamilton’s request for an evidentiary hearing should be
            denied.

      In conjunction with this claim, Hamilton asks the Court to hold an

evidentiary hearing. Am. Pet., ECF No. 50 at 126–27; Pet., ECF No. 19 at 115–

16. But since an evidentiary hearing is either prohibited under 28 U.S.C.




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§ 2254(e)(2) or is otherwise unnecessary, the Court should deny Hamilton’s

motion. 52

        First, § 2254(e)(2) “continues to have force” with respect to claims that

were not adjudicated on the merits in state court proceedings. Pinholster, 563

U.S. at 185–86; see also McCamey v. Epps, 658 F.3d 491, 497 (5th Cir. 2011)

(noting that § 2254(e)(2) “remains an important tool” where habeas petitioners

raise claims not adjudicated on the merits by the state court). Pursuant to

§ 2254(e)(2), where the applicant has failed to develop the factual basis for a

claim in state court, a federal court cannot hold a hearing on the claim unless

the applicant shows the legal or factual basis for the claim was previously

unavailable and the applicant demonstrates that but for constitutional error

no reasonable fact-finder would have found the applicant guilty of the

underlying offense. (Michael) Williams, 529 U.S. at 432–37.

        Hamilton cannot satisfy this standard with regard to his defaulted

allegations. Hamilton is at fault for not raising these claims in state court 53

because he had the opportunity to raise them in his initial habeas application




52     Hamilton has also filed a separate motion for an evidentiary hearing. ECF No. 52. The
Director is responding to that motion contemporaneously with this amended answer.

53     Under AEDPA, the proper forum for the making of all factual determinations in
habeas cases is the state courts (“where it belongs”), and it is the burden of the federal habeas
petitioner “to raise and litigate as fully as possible his potential federal claims in state court.”
Hernandez v. Johnson, 108 F.3d 554, 558 & n.4 (5th Cir. 1997).


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and did not. 54 Id. at 432 (holding that “a failure to develop the factual basis of

a claim is not established unless there is lack of diligence, or some greater fault,

attributable to the prisoner or the prisoner’s counsel”). A hearing on the merits

of his IATC claims is therefore foreclosed because Hamilton has not

demonstrated his claims rely on a new rule of constitutional law or a factual

predicate previously undiscoverable and that he is actually innocent of his

crime. In fact, Hamilton could never satisfy these requirements because he

pleaded guilty to the underlying offense and his claims pertain to punishment

only. Thompson v. Davis, 916 F.3d 444, 458 (2019) (court did not have

discretion to grant hearing because the alleged errors were only in punishment

proceeding).

        Second, even if a petitioner has satisfied the requirements of

§ 2254(e)(2), he is still not necessarily entitled to an evidentiary hearing.

“[O]vercoming the narrow restrictions of § 2254(e)(2) does not guarantee a

petitioner an evidentiary hearing; it merely opens the door for one[.]” Murphy

v. Johnson, 205 F.3d 809, 815 (5th Cir. 2000). Federal law leaves “[t]he decision

whether to conduct an evidentiary hearing . . . to the sound discretion of the

district court[.]” Barrientes, 221 F.3d at 770. “[W]here a district court has

before it sufficient facts to make an informed decision regarding the merits of


54     The Supreme Court recently granted certiorari review in Shinn v. Ramirez, No. 20–
1009, to determine the relationship between Martinez/Trevino and § 2254(e)(2).


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a claim, a district court does not abuse its discretion in refusing to grant an

evidentiary hearing (even where no factual findings are explicitly made by any

state court).” Murphy, 205 F.3d at 816; see also McDonald v. Johnson, 139 F.3d

1056, 1060 (5th Cir. 1998) (“The district court had sufficient facts before it to

make an informed decision on the merits . . . and, accordingly, did not abuse

its discretion in refusing to hold an evidentiary hearing.”); Young v. Herring,

938 F.2d 543, 560 n.12 (5th Cir. 1991) (“[A] petitioner need not receive an

evidentiary hearing if it would not develop material facts relevant to the

constitutionality of his conviction.”).

      Furthermore, a petitioner is not entitled to an evidentiary hearing “if his

claims are merely ‘conclusory allegations unsupported by specifics’ or

‘contentions that in the face of the record are wholly incredible.’” Young, 938

F.2d at 560 (quoting Blackledge v. Allison, 431 U.S. 63, 74 (1977)). In deciding

whether to grant a hearing, under Rule 8 of the Rules Governing Section 2254

Cases, “‘the judge must review the answer [and] any transcripts and records of

state-court proceedings . . . to determine whether an evidentiary hearing is

warranted.’” Hall v. Quarterman, 534 F.3d 365, 368 (5th Cir. 2008) (quoting

Schriro v. Landrigan, 550 U.S. 465, 473 (2007)).

      Therefore, before granting Hamilton’s request for a hearing, the Court

must consider whether further factual development could “enable [Hamilton]




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to prove the petition’s factual allegations, which, if true, would entitle

[Hamilton] to federal habeas relief.” Landrigan, 550 U.S. at 474. Furthermore,

“if the record refutes [Hamilton’s] factual allegations or otherwise precludes

habeas relief, a district court is not required to hold an evidentiary hearing.”

Id. Hamilton’s claims are unexhausted and procedurally defaulted, prohibiting

relief even if he were to uncover more favorable facts.

        Hamilton’s amended petition argues that the Court should hold a

hearing on whether he can evade the procedural bar of hiss IATC 55 claims

under Martinez and Trevino. 56 Am. Pet., ECF No. 50 at 126. Hamilton then

cites Barrientes and contends that he is entitled to evidentiary development if

he demonstrates cause and prejudice to overcome procedural default under

Martinez. Id. at 126. But “the Fifth Circuit has held that an evidentiary

hearing is not required before finding that a claim does not fall within the

[Martinez] exception.” Ochoa v. Davis, 3:09–CV–2277–K, 2017 WL 2666150, at

*3 (N.D. Tex. Jun. 20, 2017) (citing Segundo v. Davis, 831 F.3d 345, 351 (5th

Cir. 2016)). “Martinez and Trevino protect Texas habeas petitioners from

completely forfeiting an IATC claim; neither entitles petitioners to



55     The Director’s amended answer has argued that Martinez and Trevino are not
applicable to conflict-of-interest claims like Hamilton’s Claim 4. This is a threshold legal
question that the Court should resolve first if it were inclined to hold a hearing.

56     The Supreme Court recently granted certiorari review in Shinn v. Ramirez, No. 20–
1009, to determine the relationship between Martinez/Trevino and § 2254(e)(2).


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an evidentiary hearing in federal court in order to develop such a claim.”

Segundo, 831 F.3d at 351. Furthermore, while Barrientes provided for

evidentiary development on the merits if cause and prejudice was shown,

Barrientes’s counsel appeared diligent in pursing his claims but were

frustrated in their efforts by the State. Barrientes, 221 F.3d at 766–69, 771.

Here, unlike in Barrientes, Hamilton has effectively conceded that state habeas

counsel was not diligent by virtue of making a Martinez allegation; thus, an

evidentiary hearing on the merits of Hamilton’s punishment-phase IATC

claims (as opposed to the effectiveness of state habeas counsel for the purpose

of determining whether his IATC claims satisfy Martinez) is impermissible

under the plain language of § 2254(e)(2).

      Furthermore, a hearing on defaulted constitutional claims is warranted

only where there is “‘a viable constitutional claim, not a meritless one, and not

simply a search for evidence that is supplemental to evidence already

presented.’” Segundo, 831 F.3d at 351 (quoting Ayestas v. Stephens, 817 F.3d

888, 896 (5th Cir. 2016)). And “Martinez and Trevino protect Texas habeas

petitioners from completely forfeiting an IATC claim; neither entitles

petitioners to an evidentiary hearing in federal court in order to develop such

a claim.” Id. For the reasons discussed herein, there is not a factual dispute

which, if resolved in Hamilton’s favor, would entitle him to relief.




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Consequently, he is not entitled to a hearing on these claims. See, e.g., Garcia

v. Davis, 704 F. App’x 316, 327 (5th Cir. 2017) (“Because an evidentiary

hearing would not have affected Garcia’s failure to establish prejudice by

counsel’s error, the district court did not abuse its discretion in denying an

evidentiary hearing on the claim.”).

       Accordingly, an evidentiary hearing is either barred by 28 U.S.C.

§ 2254(e)(2) or simply unnecessary for the resolution of this procedurally

defaulted claim. Hamilton’s request should be denied.

III.   The State Court Reasonably Denied Hamilton’s Claim That One
       of His Attorneys Had a Conflict of Interest Stemming from the
       Attorney’s Prior Interactions with Joseph Montoyer. (Claim 3)

       In his amended petition’s third ground for relief, Hamilton argues that

one of his trial attorneys suffered from a conflict of interest. Am. Pet., ECF No.

50 at 127–50; Pet., ECF No. 19 at 43–57. Specifically, Hamilton alleges that

lead counsel Muldrow had a conflict of interest because she fleetingly

represented State’s witness Joseph Montoyer at a minutes-long plea colloquy.

Id. But the state habeas court correctly procedurally barred this claim because

it could have been raised on direct appeal. 4 SHCR–01 787–92, 801–02; Ex

parte Hamilton, 2015 WL 3899185, at *1. Accordingly, this claim cannot now

be considered on federal habeas review. See Coleman, 501 U.S. at 729; Rhoades

v. Davis, 914 F.3d 357, 372 (5th Cir. 2019) (“The state court is free to reach the




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merits in the alternative . . . without interfering with the procedural bar.”).

Alternatively, the state court also correctly found that this claim was meritless

even if it was not procedurally barred, and AEDPA deference applies to the

alternative merits adjudication. Ex parte Hamilton, 2015 WL 3899185, at *1;

Busby, 359 F.3d at 721 n.14. Id. To overcome AEDPA’s relitigation bar,

Hamilton must show that this decision “was contrary to, or involved an

unreasonable application of, clearly established Federal law, as determined by

the Supreme Court of the United States.” 28 U.S.C. § 2254(d)(1). Because

Hamilton has failed to meet his burden of proof to show that the state court’s

decision was unreasonable, this Court must deny relief even if it does not

procedurally bar this claim.

      A.    Background

      The state habeas court issued extensive findings concerning this claim.

4 SHCR–01 787–92. These findings are a reasonable determination of the facts

in light of the evidence presented in the state court proceeding. See 28 U.S.C.

§ 2254(d)(2). The state court findings and trial record reflect that Montoyer

was a State’s witness during Hamilton’s punishment hearing. Montoyer was

serving time for forgery and was previously jailed with Hamilton. 4 SHCR–01

788; 17 RR 181, 183–85. Montoyer said that Hamilton was a bully and

assaulted other inmates. 4 SHCR–01 788; 17 RR 185. Montoyer also heard




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Hamilton tell friends that he shot a man on Yellowstone and took a cash

register. 4 SHCR–01 788; 17 RR 186. Hamilton further mentioned robbing a

Chinese person at a store on Holman Street. 4 SHCR–01 788; 17 RR 187–88.

Montoyer stated that Hamilton told him that Hamilton’s sister and his aunt

were going to assert that Hamilton was in Dallas during Matalkah’s murder.

4 SHCR–01 788; 17 RR 189–90. On cross-examination by Muldrow, Montoyer

admitted his taped police statement omitted Hamilton’s robbery of a Chinese

person on Holman Street. 4 SHCR–01 788; 17 RR 194–95. Defense counsel also

reiterated Montoyer’s two-year sentence for forgery. 4 SHCR–01 788; 17 RR

195.

       Subsequently, co-counsel Frances Northcutt informed the trial court

that the defense team had discovered that Muldrow stood in for Montoyer’s

attorney when Montoyer made his forgery plea. 4 SHCR–01 788–89; 19 RR

104–05, 111, 119. Northcutt moved the trial court to strike Montoyer’s

testimony and/or grant a mistrial because Muldrow was not able to effectively

cross-examine Montoyer. 4 SHCR–01 788–89; 19 RR 104–05, 119. Muldrow

explained the situation to the trial court as follows:

       [Muldrow]:         What happened, Your Honor, was during the
       week I worked in the 337th District Court, I believe it was the first
       week of April, the last week of March, I was called by Mr. Williams
       and while I was there in court he had contacted I believe the court
       reporter Melissa.




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     [The Court]:      Gina?

     [Muldrow]:          Whatever. You know better than I do. But, at
     any rate, he told me that he would be unavailable and he had
     learned that I was attorney of the week and needed me to stand in
     for him for a plea.
            I had forgotten that day, got a call the next day, kind of
     lightly chastised by Mr. Williams because he thought that I would
     have handled that plea for him and he was in a federal hearing of
     some sort is how he put it. And I assured him that I would work it
     out.
            As it turned out I believe I worked it out better than the
     original deal. I think I ended up getting him the minimum of two
     years to do. And that’s all I knew about it.
            I didn’t know until last week that this individual Joe
     Montoyer was, in fact, the same person who had given a statement
     that inculpated our client even further in the Yellowstone case
     until last week when I went back to see my client and he pointed
     at me. And that’s when Miss Davidson informed me that I, indeed,
     had represented him and gotten him a better offer.

19 RR 106–08. Muldrow stated that the extent of her involvement with

Montoyer was standing in for his plea, and there was no discussion of

Hamilton’s case. 4 SHCR–01 789; 19 RR 109.

     According to the record, Montoyer was indicted for forgery of a

commercial instrument on December 17, 2001, in cause number 891658. 4

SHCR–01 790–91; DX 45–46. Attorney Connie Williams represented Montoyer

in cause number 891658. 4 SHCR–01 790–91; DX 45–46. On January 7, 2002,

Montoyer’s bond was set at $60,000. 4 SHCR–01 790–91; DX 45–46. On

February 24, 2002, Montoyer provided a statement to police regarding

Hamilton. 4 SHCR–01 790–91; 19 RR 119–20. On March 7, 2002, a bond



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agreement of $20,000 was reached, see id., with Montoyer subsequently

forfeiting his bond on March 26, 2002. 4 SHCR–01 790–91; 19 RR 124, 130. On

April 19, 2002, Montoyer pleaded guilty to forgery and was sentenced to two

years imprisonment pursuant to a plea agreement. 4 SHCR–01 790–91; 17 RR

181; 19 RR 127; DX 45–46. Attorney Williams was reflected as Montoyer’s

lawyer on the docket sheets and plea papers—not Muldrow. 4 SHCR–01 789;

19 RR 108–09, 118–19. The trial court observed that the court’s computer did

not associate Muldrow with Montoyer’s case. 4 SHCR–01 789; 19 RR 109, 115.

     Prosecutor Colleen Barnett noted that the State learned of Montoyer

when a deputy sheriff called to inform her that a Harris County Jail inmate

wanted to provide information about Hamilton. 19 RR 111–12. Prosecutor

Barnett contacted the HPD and two officers took Montoyer’s statement. Id. at

112. Prosecutor Barnett also arranged with Montoyer’s attorney (Williams) for

Montoyer’s bond to be lowered after Montoyer gave his statement. Id. at 112–

13, 116. Barnett testified that she had no further contact with Montoyer’s

attorney regarding Montoyer’s case, and she had no other dealings with

Montoyer’s case other than to get Montoyer’s bond lowered. Id. at 112–13.

There were no deals regarding Montoyer’s sentence, and Barnett did not

participate in any plea negotiations regarding Montoyer’s case. Id. When

Hamilton’s case got closer to trial, Barnett discovered that Montoyer was




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already sentenced. Id. at 113. Barnett also stated that she had told Muldrow

of Montoyer’s bond being lowered. Id. at 113–14. Muldrow disputed this. Id. at

113–15.

      The defense argued to the trial court that Muldrow was unable to

effectively cross-examine Montoyer because of the purported conflict of interest

even though her involvement with Montoyer was minimal. 4 SHCR–01 788–

89; 19 RR 115. The trial court denied the defense’s motions to strike Montoyer’s

testimony and declare a mistrial. 4 SHCR–01 790; 19 RR 119. The trial court

also took notice that Muldrow was not listed in the clerk’s file, including on the

docket sheet and judgment. Id.

      Montoyer was then recalled, and Muldrow questioned him outside the

presence of the jury. Montoyer testified that Williams represented him in his

forgery case. 4 SHCR–01 790; 19 RR 121–26. Muldrow filled in for Williams at

Montoyer’s plea when Williams was unavailable. Id. Their interaction was

limited to one day. Id. Williams arranged Montoyer’s plea agreement and

completed the paperwork. Id. Montoyer’s bond was reduced after he gave his

statement concerning Hamilton. Id. Montoyer’s contact with Muldrow lasted

only five to ten minutes. Id. On cross-examination by the State, Montoyer

testified that the court initially denied his bond reduction motion. 4 SHCR–01

790; 19 RR 123–24. Williams later conveyed to him that prosecutor Barnett




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would assist in getting Montoyer’s bond reduced and Montoyer subsequently

made the reduced bond. 4 SHCR–01 790; 19 RR 123–24. Montoyer made no

other deals with the State. 4 SHCR–01 790; 19 RR 124–25.

      The jury was then brought in, and Muldrow examined Montoyer.

Montoyer admitted that he also used the name Yousef Mohamed and was

serving a two-year sentence for forgery. 4 SHCR–01 790; 19 RR 127–29.

Montoyer was arrested for forgery on January 1, 2002. Id. No bond was set. Id.

On January 10, 2002, bond was set at $60,000. Id. Williams represented

Montoyer. Montoyer gave his statement on February 24, 2002. Id. Montoyer’s

initial motion to reduce his bond was denied, but the bond was later reduced

as a result of the information he gave about Hamilton. Id. Montoyer was

released on bond in March 2002 but was rearrested later that month. Id.

Montoyer had prior felony convictions for possession of marijuana in 1984 and

forgery in 1994. Id. During the State’s cross-examination, Montoyer testified

that he forfeited his bond on March 26, 2002, and reentered custody with no

bond status. 19 RR 130–31. Except for the initial lowering of his bond, there

were no other deals between Montoyer and the State. Id.

      B.    This claim is procedurally barred because Hamilton did not
            raise it on direct appeal.

      This claim is procedurally barred because Hamilton failed to present it

to the state court in a procedurally correct manner. Here, the CCA found that



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Hamilton could have raised this claim on direct appeal but did not. 4 SHCR–

01 801. “Texas law requires that a petitioner must raise a [record-based] claim

on direct appeal before it can be raised on state habeas, and this rule is an

adequate state ground capable of barring federal habeas review.” Scheanette v.

Quarterman, 482 F.3d 815, 827 (5th Cir. 2007) (quotation and footnote

omitted); Dorsey v. Quarterman, 494 F.3d 527, 532 (5th Cir. 2007) (“The [CCA]

has held that record based claims not raised on direct appeal will not be

considered in habeas proceedings. . . . This procedural rule [is] firmly

established . . . [and] sets forth an adequate state ground capable of barring

federal habeas review.”) (citations omitted); Busby, 359 F.3d at 718–19.

      Hamilton’s default could be excused on a showing of cause and prejudice

or of fundamental miscarriage of justice, but he does not argue that either

exception applies. See generally Am. Pet., ECF No. 50 at 148–50. Rather,

Hamilton argues that this bar in not adequate in his case because he is raising

a conflict-of-interest claim similar to an IATC claim, and Texas procedure

usually reserves such claims for state habeas review. Id. But in Buntion, the

Fifth Circuit held that it would not second-guess the state court’s application

of a procedural default. 982 F.3d at 951–52. The Court observed that “‘a basic

tenet of federal habeas review is that a federal court does not have license to

question a state court’s finding of procedural default [that is] based upon an




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adequate and independent state ground.”’ Id. (quoting Smith v. Johnson, 216

F.3d 521, 523 (5th Cir. 2000) (per curiam)). At bottom, Hamilton’s contention

is that the CCA got the procedural default wrong. Under Buntion and Smith,

this argument is foreclosed. Indeed, this Court should be unwilling to second-

guess Texas’ high court’s interpretation of its own law, an undertaking for

which it is ill-suited. See, e.g., Swarthout v. Cooke, 562 U.S. 216, 219 (2011)

(federal habeas review does not lie for errors of or in applying state law); Estelle

v. McGuire, 502 U.S. 62, 67–68 (1991) (“We reemphasize that it is not the

province of a federal habeas court to reexamine state-court determinations on

state-law questions”).

        In any event, it appears that the CCA properly applied this bar to

Hamilton’s situation. The issue of counsel’s representation of Montoyer was

addressed extensively at trial, with testimony and explication from the trial

court, trial counsel, the prosecution, and Montoyer. The record was thus fully

developed and sufficient for a conflict-of-interest claim to be raised on direct

appeal. 57 Accordingly, the Court should find that this claim is procedurally

barred from federal habeas review.


57      Hamilton argues that he raised “substantial evidence” relating to this claim on initial
state habeas. Am. Pet., ECF No. 50 at 149. But obviously the state court disagreed, and it
appears that Muldrow’s state habeas affidavit added little to what was already adduced at
trial. The line-drawing decision as to whether this new evidence was sufficient to avoid the
bar is appropriately made by the state court, not a federal habeas court.
        And while Hamilton cites to cases in which Texas courts have resolved conflict-of-
interest claims in state habeas, so too have Texas courts resolved such claims on direct appeal


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       C.     Alternatively, the state court reasonably held                               that
              Hamilton’s conflict-of-interest claim is meritless.

              1.      No actual conflict existed.

       Criminal defendants are entitled, under the Sixth Amendment, to the

assistance of counsel who is not “burdened by an actual conflict of interest.”

Strickland, 466 U.S. at 692. To prevail on a conflict-of-interest claim, a

petitioner must “show that his trial attorney was acting under the influence of

an actual conflict of interest that adversely affected his performance at trial.”

United States v. Infante, 404 F.3d 376, 392 (5th Cir. 2005) (citing Cuyler v.

Sullivan, 446 U.S. 335 (1980); Strickland, 466 U.S. at 668; Perillo v. Johnson,

205 F.3d 775, 781 (5th Cir. 2000)). Under Cuyler, the petitioner “need not show

prejudice in the sense that the outcome of the proceeding would have been

different if it were not for his attorney’s conflict of interest.” Id. (citing Perillo,

205 F.3d at 781–82).

       “‘Conflicts may arise when an attorney simultaneously represents clients

with differing interests (multiple representation), or when an attorney

representing a defendant has previously represented co-defendants or trial



where the trial record provided a basis on which to raise the claim. See, e.g., Johnson v. State,
583 S.W.3d 300, 311–18 (Tex. App.—Fort Worth 2019, pet. ref’d); Gaston v. State, 136 S.W.3d
315, 318–22 (Tex. App.—Houston [1st Dist.] 2004, pet. struck). To be sure, in Johnson, the
state court recognized that the record did not reflect whether the witness could have been
impeached with prior offenses. Johnson, 583 S.W.3d at 318. Nonetheless, the court
adjudicated the claim, noting that the appellant failed to develop the record by way of a
motion for new trial. Id.


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witnesses (successive representation).’” Moss v. United States, 323 F.3d 445,

459 (6th Cir. 2003) (quoting United States v. Shepard, 675 F.2d 977, 979 (8th

Cir. 1982)). “In the case of successive representation, a non-hypothetical

conflict exists only ‘when defense counsel is compelled to compromise his or her

duty of loyalty or zealous advocacy to the accused by choosing between or

blending the divergent or competing interests of a former or current client.’”

Wilkins v. Stephens, 560 F. App’x 299, 309 (5th Cir. 2014) (quoting Perillo, 205

F.3d at 781). “It is more difficult for a defendant to show that counsel actively

represented conflicting interests in cases of successive rather than

simultaneous representation.” Moss, 323 F.3d at 459.

      The question of whether an actual conflict exists is highly fact-sensitive.

Perillo, 205 F.3d at 782, 798–99. “Whether a conflict of interest exists depends

on a number of factors, including, but not limited to, whether the attorney has

confidential information that is helpful to one client but harmful to another;

whether and how closely the subject matter of the multiple representations is

related; how close in time the multiple representations are related; and

whether the prior representation has been unambiguously terminated.”

Infante, 404 F.3d at 392 (5th Cir. 2005) (citing Perillo, 205 F.3d at 798–99).

Merely “the possibility of a conflict is insufficient to impugn a criminal

conviction.” Cuyler, 446 U.S. at 350.




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        Here Muldrow’s representation of Montoyer occurred during her

representation of Hamilton. 58 However, Muldrow’s representation lasted only

minutes and was terminated months before Hamilton’s trial and the cross-

examination of Montoyer that forms the crux of Hamilton’s complaints. See 4

SHCR–01 791. Consequently, it may be that Hamilton’s case is most accurately

considered a case of successive representation than multiple representation.

But regardless whether it is multiple representation or successive

representation, Hamilton is not entitled to relief. Hamilton has asserted that

cross-examining a former client inherently leads to divided loyalties. Reply,

ECF No. 34 at 24 (citing Perillo, 205 F.3d at 801–02). But Perillo did not apply

AEDPA (which applies here), and this situation nonetheless does not

inevitably lead to a conflict of interest. Perillo, 205 F.3d at 793; see, e.g., Boswell

v. Davis, 4:16–CV–729–A, 2017 WL 5635822, at *4 (N.D. Tex. Nov. 22, 2017).

Perillo itself acknowledged as much, even in the cross-examination context.

Perillo, 205 F.3d at 782 (comparing cross-examination cases and noting that

“[e]ven a brief review of the precedent reveals that any categorical treatment

of when an actual conflict exists is difficult”). Rather, Perillo mandates

examining the specific facts of the case. Perillo, 205 F.3d at 782, 798–99.



58    Muldrow was appointed to Hamilton’s case on February 1, 2002. 1 CR 5. Montoyer
pleaded guilty on April 19, 2002. 4 SHCR–01 790–91. Muldrow cross-examined Montoyer in
Hamilton’s case in November 2002. Id.


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      Examining     the   specific   facts   of   Hamilton’s    case,   Muldrow’s

representation of Montoyer during Montoyer’s plea proceedings was not closely

related to her representation of Hamilton. Indeed, Muldrow initially did not

even remember Montoyer due to the fleeting nature of their contact—she had

to be told that she had previously represented him. 19 RR 106–08. Muldrow’s

representation of Montoyer was limited to standing in for Montoyer’s attorney

at Montoyer’s plea colloquy—Montoyer’s attorney Williams was the one who

worked out Montoyer’s plea agreement. United States v. Olivares, 786 F.2d

659, 663 (5th Cir. 1986) (where defense counsel’s involvement in prior

representation was transient or insubstantial, the court is less likely to find

actual conflict); 19 RR 119, 121–23, 125–26. The plea colloquy apparently only

lasted five to ten minutes. 19 RR 126. And Muldrow was not associated with

Montoyer’s case in the court records. Id. at 109, 119 (the Court: “I got the docket

sheet. I got the judgment. I have got the plea papers. It is Connie Williams.

Connie Williams. Connie Williams.). And while Montoyer did receive some

benefit for his statement concerning Hamilton in the form of a bond reduction,

id. at 124–25, the underlying forgery charge was wholly unrelated to

Hamilton’s murders and the benefit was secured by another attorney.

      Hamilton also fails to demonstrate that Muldrow obtained confidential

information during her representation of Montoyer that would have been




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useful to Hamilton. This is significant because “the fear in successive

representation cases is that the lawyer will fail to cross-examine the former

client rigorously for fear of revealing or misusing privileged information.”

Moss, 323 F.3d at 460; see also Boswell, 2017 WL 5635822, at *4 (“There is no

indication that counsel bore any residual loyalty to Warren or that counsel was

forced to forfeit a defense strategy in petitioner’s case based upon the

representation. In fact, the record reflects that counsel did attempt to impeach

Warren’s credibility on cross-examination.”). Muldrow stated during the trial

court proceedings that there was no discussion of Hamilton’s capital-murder

case. 19 RR 109 (“The Court: Any discussion with him about this case at all?

Ms. Muldrow: None.”). Hamilton parses Muldrow’s language and asserts that

Muldrow never said that she did not receive confidential information. Reply,

ECF No. 34 at 27–28. But Muldrow clearly stated that she did not discuss the

Hamilton case (which would obviously include confidential information), and

Hamilton does not seem to suggest that he has proof that Muldrow had other

unrelated confidential information that was somehow useful to Hamilton’s

case. Indeed, it is difficult to see what information Muldrow could have gleaned

from Montoyer in the couple minutes the representation lasted. 19 RR 122–23.

The most Hamilton can do is suggest that perhaps Muldrow received

confidential information from another source and that she had a “duty to keep




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confidential her former client’s criminal history and not even attempt to

embarrass him with it at trial.” Reply, ECF No. 34 at 27–28. Of course, this

ignores the fact that Muldrow did use Montoyer’s criminal history against him.

4 SHCR–01 790; 19 RR 127–29. Hamilton also must show that the actual

reason that a tactic was not pursued was the alleged conflict. Lee v. Cain, 519

F. App’x 869, 880 (5th Cir. 2013) (citing Perillo, 205 F.3d at 807). Hamilton’s

speculation does not meet this requirement.

      Finally, even though counsel’s representation of Montoyer and Hamilton

were close in time, her representation of Montoyer lasted minutes and was

unambiguously terminated after Montoyer’s guilty plea and before Hamilton’s

trial. It is also worth noting that Hamilton was also represented by Northcutt,

who was unencumbered by any allegation of conflict. Cf., United States v.

Rosnow, 981 F.2d 970, 972 (8th Cir. 1992) (finding in case of suspended lawyer,

“[i]f co-counsel provides petitioners with effective assistance at all critical

stages of the proceedings, petitioners’ Sixth Amendment rights have been

protected.”); Hall v. Thaler, 504 F. App’x 269, 277–78 (5th Cir. 2012) (no

presumed prejudice in case of sleeping lawyer due to presence of co-counsel).

The facts in this case simply do not support that counsel labored under an

actual conflict of interest, and the state court’s decision that there was no




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conflict (which even cited Circuit precedent) was entirely reasonable. 4 SHCR–

01 792, 801–02; see Boswell, 2017 WL 5635822, at *4.

           2.    Even assuming arguendo that an actual conflict
                 existed, Hamilton was not prejudiced and/or the
                 conflict did not adversely impact counsel’s
                 representation of Hamilton.

                 a.    Application of presumed prejudice is barred by
                       AEDPA and nonretroactivity.

      While counsel represented Hamilton and Montoyer at the same time,

that was during Montoyer’s plea colloquy. Hamilton’s petition complains about

counsel’s performance at Hamilton’s trial, when counsel’s representation of

Montoyer was long terminated. Thus, Hamilton’s case is likely most accurately

characterized as one of successive representation. The Fifth Circuit has

previously observed that “the Supreme Court [has] noted that it has never

extended Cuyler to cases of successive, as opposed to concurrent,

representation, and the Court expressed concern about whether Cuyler or

Strickland provides the proper standard for resolving conflict-of-interest

claims involving successive representation.” Infante, 404 F.3d at 391 n.12

(citing Mickens v. Taylor, 535 U.S. 162, 174–76 (2002)). “The Cuyler

presumption of prejudice has never been applied by the Supreme Court to

conflicts of interest stemming from successive representation.” Johnson v.

Cain, CV 14–2676, 2019 WL 4921933, at *20 (E.D. La. Sept. 9, 2019), report




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and recommendation adopted, CV 14–2676, 2019 WL 4918121 (E.D. La. Oct.

4, 2019); United States v. Salinas, C.A. C–09–122, 2010 WL 2606519, at *6

(S.D. Tex. Jun. 24, 2010), aff’d, 428 F. App’x 328 (5th Cir. 2011). Therefore, this

Court is precluded by AEDPA and principles of nonretroactivity from

presuming prejudice even if it finds an actual conflict. 59 Teague, 489 U.S. at

309–10; Langley v. Prince, 926 F.3d 145, 159–60 (5th Cir. 2019) (discussing

Woodall, 572 U.S. at 426). Rather, this Court should only apply Strickland

prejudice, which requires that Hamilton show there was a reasonable

probability that, but for counsel’s conflict, the result of the proceeding would

have been different. 466 U.S. at 694. Hamilton fails to make this showing. In

addition to Montoyer’s testimony, the State had two eyewitnesses linking

Hamilton to the Huynh killing. Also, the State presented ample other evidence

of Hamilton’s domestic abuse, violence in prison, prior convictions, and drug-

dealing. There is no reasonable probability that the result of the punishment

phase would have been different if counsel had cross-examined Montoyer the

way that Hamilton proposes.




59     The Fifth Circuit found that it was bound to apply previous precedent requiring
application of the adverse effect standard in Infante. 404 F.3d at 391 n.12. However, Infante
was a direct appeal. Hamilton proceeds in federal habeas, where review is constrained by
Teague.


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                  b.    Even if presumed prejudice applied, there was
                        no adverse effect stemming from the purported
                        conflict.

      However, even if Cuyler’s presumption of prejudice applied, it makes no

difference. The state court found no adverse effect, 4 SHCR–01 792, and this

determination was reasonable under the plain facts in the record. If counsel is

burdened with an actual conflict of interest, prejudice is presumed only where

the petitioner shows both that counsel acted under the influence of the conflict

and that counsel’s actions adversely affected the representation. United States

v. Culverhouse, 507 F.3d 888, 892 (5th Cir. 2007), abrogated on other grounds

by Evans v. Davis, 875 F.3d 210, 217 n.5 (5th Cir. 2017). To prove adverse

effect, a petitioner need not show that the conflict changed the outcome of the

trial. Nealy v. Cabana, 782 F.2d 1362, 1365 (5th Cir. 1986). An “adverse effect”

is established with evidence that presents a “plausible defense strategy or

tactic that could have been pursued, but was not because of the actual conflict

impairing counsel’s performance.” Perillo, 205 F.3d at 781 (quotation and

citation omitted). Again, a primary fear “is that the lawyer will fail to

cross-examine the former client rigorously for fear of revealing or misusing

privileged information.” Moss, 323 F.3d at 459.

      Here, Hamilton has alleged that he was prejudiced by Muldrow’s

purported conflict because: (1) Muldrow was distracted during her initial




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examination of Montoyer; (2) Muldrow failed to bring out all of Montoyer’s

prior convictions; (3) Muldrow failed to adequately examine Montoyer about

his aliases; (4) Muldrow failed to adequately show inconsistencies between

Montoyer’s statement and his trial testimony; and (5) Muldrow failed to object

to Montoyer’s testimony about Hamilton’s extraneous bad acts. Am. Pet., ECF

No. 50 at 136–39; Pet., ECF No. 19 at 48–51. However, none of these factual

assertions were presented in Hamilton’s state habeas application in

conjunction with this claim. 1 SHCR–01 24–28. Consequently, any new claims

predicated on them are unexhausted and procedurally defaulted. Hamilton

asserts that “Respondent fails to recognize, however, that all of these facts

were before the state habeas court.” Am. Pet., ECF No. 50 at 140; Reply, ECF

No. 34 at 29. However, this is insufficient for exhaustion purposes. Riley v.

Cockrell, 339 F.3d 308, 318 (5th Cir. 2008) (“It is not enough that the facts

applicable to the federal claims were all before the State court, or that the

petitioner made a similar state-law based claim. The federal claim must be the

‘substantial equivalent’ of the claim brought before the State court.”).

      Along the same lines, to the extent Hamilton asserts that his new federal

habeas evidence just supports the claim raised in state court, evidence that

was never before the state court that resolved a claim on the merits is

unequivocally barred by Pinholster. For example, ECF No. 34-1 at Exhibit 7




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and ECF No. 50-1 at Exhibit 3—referenced in Hamilton’s amended petition—

do not appear to have been before the state court. Hamilton’s repeated

assertion that he is permitted to present evidence that supplements rather

than fundamentally alters the claim presented to the state court, see Am. Pet.,

ECF No. 50 at 140–42 & Reply, ECF No. 34 at 29–30, 31, 33, has been firmly

rejected by the Fifth Circuit in light of Pinholster. Clark, 673 F.3d at 416–17;

Lewis v. Thaler, 701 F.3d 783, 789–91 (5th Cir. 2012).

      In any event, as shown below, the record reflects that between her two

cross-examinations, Muldrow aggressively questioned Montoyer about his

current incarceration, his use of a fake name, the details of his prior statement

to police, his possible motivations for testifying, his bond forfeiture, and his

prior convictions. Accordingly, Hamilton fails to demonstrate that he is

entitled to relief even under these new factual theories.

      Specifically concerning Hamilton’s allegation that Muldrow was too

distracted by her potential conflict to examine Montoyer properly, this

assertion is based on Muldrow’s state habeas affidavit. Am. Pet., ECF No. 50

at 136–37 (1 SHCR–01 98). However, Muldrow’ affidavit is speculative and

does not support a claim of a conflict of interest. Id. According to Muldrow, she

did not recall Montoyer’s name and only learned that she had represented him

on a plea at the request of Montoyer’s attorney just as she was about to conduct




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her cross-examination. Id. Muldrow states that it is “possible” that the

announcement of her former representation of Montoyer “could have had some

effect” on her cross-examination. Id. But a conflict of interest may not be

hypothetical or potential. Perillo, 205 F.3d at 802. Hamilton asserts that this

only applies to the existence of the conflict and not actual effect, see Reply, ECF

No. 34 at 30, but the Fifth Circuit has acknowledged that “in Mickens, the

Supreme Court announced that ‘the Sullivan standard is not properly read as

requiring inquiry into actual conflict as something separate and apart from

adverse effect. An ‘actual conflict,’ for Sixth Amendment purposes, is a conflict

of interest that adversely affects counsel’s performance.’” Infante, 404 F.3d at

391–92 (quoting Mickens, 535 U.S. at 172 n.5). Further, Muldrow’s affidavit

fails to account for the fact that the trial court allowed her to examine

Montoyer a second time, when one presumes that her surprise had worn off.

19 RR 126.

      Regarding Hamilton’s assertion that counsel failed to point out all

Montoyer’s convictions and aliases, Hamilton’s contentions are based on copies

of Montoyer’s criminal history provided along with Hamilton’s federal habeas

petition. Am. Pet., ECF No. 50 at 137 (citing Exhibit 3). Again, Hamilton does

not show that these documents were ever presented to the state habeas court

in conjunction with the merits denial of this claim, and therefore they are




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barred by Pinholster. Am. Pet., ECF No. 50-1 at Exhibit 3 (documents dated

June 16, 2016); Ex parte Hamilton, 2015 WL 3899185 (decision rendered June

24, 2015). But even if these documents could be considered, Muldrow

adequately cross-examined Montoyer about his criminal history and use of

another name. 19 RR 126–29. Muldrow may not have questioned Montoyer

about every conviction and alias that Hamilton now claims are associated with

him, but additional impeachment in this fashion would have been cumulative.

See Sheppard, 967 F.3d at 468–69; Carty, 583 F.3d at 264 (“[Petitioner] has not

shown any deficiency related to her proffer of cumulative evidence.”); United

States v. Harris, 408 F.3d 186, 191 (5th Cir. 2005) (“This Court has previously

refused to allow the omission of cumulative testimony to amount to ineffective

assistance of counsel.”). If declining to offer cumulative testimony is not

deficient conduct in the first place 60, then it does not matter whether prejudice

is presumed under the Cuyler standard. Cf. Beets v. Scott, 65 F.3d 1258, 1277

(5th Cir. 1995).

        Hamilton also claims that Muldrow failed to question Montoyer about a

purported discrepancy between his trial testimony and his statement to police.

Am. Pet., ECF No. 50 at 138; Pet., ECF No. 19 at 50. Specifically, he asserts



60     The question is not whether cumulative evidence is admissible, as contended by
Hamilton, see Am. Pet., ECF No. 50 at 141–42 & Reply, ECF No. 34 at 32; rather, the question
is whether counsel should have presented evidence that is cumulative in nature.


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that Montoyer told the jury that he learned about Hamilton’s involvement in

Matalkah’s murder when he overheard Hamilton as Montoyer was cutting

hair, whereas Montoyer told the police that Hamilton told him about

Matalkah’s murder while Montoyer was helping Hamilton at the law library.

Compare 17 RR 184–86 with Am. Pet., ECF No. 50-1 at Exhibit 4. However,

Hamilton has not shown that Montoyer’s statement was presented to the state

habeas court in conjunction with this claim and it is therefore barred by

Pinholster. Montoyer’s statement is also unauthenticated and is consequently

of dubious probative value. But even if the statement was valid and could be

considered, it shows that Montoyer was responding to the detective’s question

“now why is he confiding in you this?” Am. Pet., ECF No. 50-1 at Exhibit 4. In

his statement, Montoyer was not saying that Hamilton confided in him in the

law library, rather he confided in him because Montoyer did legal work and

used the law library (although Montoyer does not mention overhearing

Hamilton while cutting hair in his statement). Id. And while counsel did not

bring out the purported difference between the two stories that Montoyer told,

she was nevertheless aware of the statement and did impeach Montoyer with

it. 17 RR 190–95. Between that and pointing out Montoyer’s prior convictions

and aliases, counsel sufficiently damaged Montoyer’s credibility even if she did




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not highlight any additional discrepancies between Montoyer’s statement and

his trial testimony.

      With respect to counsel’s purported failure to object to unnoticed

extraneous offenses and bad acts, see Am. Pet., ECF No. 50 at 142–43 & Pet.,

ECF No. 19 at 50–51, the Director has previously explained that Hamilton has

not shown these acts were, in fact, unnoticed. See Argument, Section II(B)(1),

supra. To briefly restate, in support of this claim, Hamilton refers to a

document in the state habeas record where the prosecution provides a list of

extraneous offenses and bad acts that they might introduce at the punishment

phase. 3 SHCR–01 555–56. But this letter states that prosecutor will update

counsel with any further information. Id. Possibly this information was sent

later—Hamilton supplies no affidavit from the defense team indicating that

they were surprised by any extraneous offense. Hamilton asserts that the

Director would have him prove a negative and that he has examined all the

documentation in his trial file without finding adequate notice. Am. Pet., ECF

No. 50 at 142–43; Reply, ECF No. 34 at 33–34 & n.8. However, Hamilton has

the burden of proving his entitlement to federal habeas relief. His examination

of counsel’s records does not foreclose that the records are incomplete or

missing or the possibility that information was verbally transmitted to counsel.

If Hamilton wished to pursue this argument, he needed to offer affidavits in




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the state habeas proceedings from counsel attesting that they did not have

actual knowledge of the bad acts in question (and possibly complimentary

affidavits from prosecutors describing their complete efforts to provide notice).

While this may indeed be proving a negative, securing affidavits during state

habeas review is not uncommon or especially arduous. In any event,

Hamilton’s attempt to manufacture a false alibi is noticed in the letter, as are

various jail assaults. 3 SHCR–01 555–56. Defense counsel therefore had no

valid basis for objecting.

        Hamilton’s initial petition’s reply brief also attaches Exhibit 7, which is

a “Public Information Act Request for Attorney Muldrow’s cases.” Reply, ECF

No. 34-1 (Exhibit 6). 61 Hamilton offers this exhibit to explain why Muldrow did

not initially remember previously her interaction with Montoyer—that is, she

was too busy. Id. at 27 n.7. But this evidence does not show a tactic that was

taken because of the conflict 62; instead; it shows a possible deficiency that

resulted from a heavy caseload. Moreover, as noted, Hamilton’s conflict-of-

interest claim concerning Montoyer was alternatively resolved on the merits

by the state court. Thus, new evidentiary support of this claim is barred by

Pinholster, 563 U.S. at 181–82.


61      Hamilton’s reply refers to this as Exhibit 6, although it is actually labeled Exhibit 7.

62     Infante, 404 F.3d at 393 (there must be “some plausible alternative defense strategy
that could have been pursued, but was not, because of the actual conflict.”).


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      The CCA considered and rejected Hamilton’s instant claim on the merits.

Ex parte Hamilton, 2015 WL 3899185; 4 SHCR–01 787–92, 801–02. Therefore,

this Court cannot grant habeas corpus relief unless it determines that the state

courts’ determinations to deny relief conflict with clearly established federal

law as determined by the Supreme Court or that they were “based on an

unreasonable determination of the facts in light of the evidence.” 28 U.S.C. §

2254(d). As discussed above, Hamilton fails to meet his heavy burden to show

that the state court’s decision was unreasonable, and his claim should be

denied with prejudice.

      D.    Hamilton’s related Brady claims are unexhausted and
            procedurally defaulted, as well as meritless.

      In conjunction with this claim, Hamilton makes a Brady-like argument

that the prosecution failed to disclose (1) the entirety of Montoyer’s criminal

history and (2) its involvement in his bond reduction. Am. Pet., ECF No. 50 at

129–30; Pet., ECF No. 19 at 49, 51. But, to the extent that Hamilton is actually

raising Brady claims, these Brady claims are unexhausted and procedurally

defaulted since Hamilton did not raise them in his direct appeal brief or his

state habeas application. However, even if these claims were not unexhausted

and procedurally defaulted, they are still meritless. To establish a Brady

violation, Hamilton must prove: (1) the evidence in question was favorable to

him, either because it is exculpatory or because it is impeaching; (2) the



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evidence was suppressed by the State, either willfully or inadvertently; and (3)

the evidence was material, i.e., prejudice ensued from its nondisclosure. Banks,

540 U.S. at 691; Strickler, 527 U.S. at 281–82.

      With respect to Montoyer’s criminal history, Hamilton provides no direct

evidence that this history was unknown to the defense team—in fact, he seems

to suggest that it was known. Am. Pet., ECF No. 50 at 141. He also cites no

evidence showing that the prosecution knew of this history and then failed to

disclose it. Thus, even though this allegation is not raised as an independent

ground for relief in Hamilton’s federal habeas application, it would be subject

to dismissal as conclusory if it were. Miller, 200 F.3d at 282. Furthermore, the

basis for Hamilton’s assertions concerning Montoyer’s criminal history and

aliases appear to be publicly accessible documents, see Am. Pet., ECF No. 50-1

at Exhibit 3, that counsel could have obtained through the use of due diligence.

See Williams, 35 F.3d at 163 (no Brady violation if the defendant, using due

diligence, could have obtained the information).

      As for Hamilton’s claim the prosecution failed to disclose Montoyer’s

bond reduction (Am. Pet., ECF No. 50 at 128–29; Pet., ECF No. 19 at 45 n.10),

prosecutor Barnett clearly stated during trial that that information was

disclosed to Muldrow. 19 RR 113. And even if Hamilton was correct and

Barnett lied, the issue was still eventually raised before the jury, thereby




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negating any Brady claim. Id. at 128–29; see Argument, Section I(A)(2), supra.

Consequently, to the extent that the Court wants to consider these

unexhausted allegations, they are meritless even under de novo review. Miller,

200 F.3d at 281 n.4 (“Review is de novo when there has been no clear

adjudication on the merits.”).

IV.     Hamilton’s Claim That Attorney Muldrow Had a Conflict of
        Interest Because She Was Purportedly Law Partners with
        Smith’s Lawyer Is Unexhausted and Procedurally Defaulted.
        Alternatively, This Claim Is Without Merit. (Claim 4)

        In his amended petition’s fourth ground for relief, Hamilton argues that

trial counsel Muldrow had an additional conflict of interest because her

purported law partner, Alvin Nunnery, represented Smith. Am. Pet., ECF No.

50 at 150–63; Pet., ECF No. 19 at 57–61. However, this claim was first raised

in a subsequent application that was dismissed as an abuse of the writ. Ex

parte Hamilton, 2020 WL 6588560, at *3; 1 SHCR–02 39–52. Consequently,

this claim is procedurally defaulted and cannot be considered on federal habeas

review. 63 In the alternative, even if this claim is not procedurally defaulted, it

is meritless under de novo review. Specifically, this claim was conclusory, as

Hamilton has not proved that Muldrow and Nunnery were actually law

partners. But even assuming that Muldrow and Nunnery were truly law

partners, Hamilton has also not identified any plausible alternative defense


63      The Director does not waive this procedural bar. Pet., ECF No. 19 at 60.


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strategy that could have been pursued, but was not, because of the alleged

conflict. Finally, Hamilton had conflict-free co-counsel. Accordingly, Hamilton

is not entitled to federal habeas relief on this claim.

      A.    This claim is procedurally defaulted.

      This claim was never raised to the state court during either Hamilton’s

direct appeal or initial state habeas application. See generally Brief for

Appellant; 1 SHCR–01 2–78 (state habeas application). Rather, as noted above,

it was presented in a subsequent application that the CCA dismissed as an

abuse of the writ. Ex parte Hamilton, 2020 WL 6588560, at *3; 1 SHCR–02 39–

52. Thus, this claim is procedurally defaulted. Aguilar, 428 F.3d at 533.

      To the extent that Hamilton argues that he can circumvent the

procedural default of this claim under Martinez and Trevino, Hamilton fails to

demonstrate that he meets Martinez’s requirements. Hamilton does not raise

an IATC claim; instead, he raises a conflict-of-interest claim. Hamilton fails to

demonstrate that the Supreme Court has extended Martinez to encompass

conflict-of-interest claims. In fact, the Supreme Court has emphasized

Martinez’s limited reach and rebuffed efforts to extend Martinez beyond IATC

claims. Davila v. Davis, 137 S. Ct. 2058, 2068–70 (2017) (declining to extend

the Martinez exception to ineffective-assistance-of-appellate-counsel claims).

Hamilton fails to offer any precedent from any court that swells the Martinez




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equitable exception to cover conflict-of-interest claims. He also offers no

compelling reason to make such an extension in the instant case.

      But even if Martinez was applicable to conflict-of-interest claims,

Hamilton would not benefit. Hamilton had state habeas counsel; therefore,

Hamilton must demonstrate that his attorney was actually ineffective to

qualify for Martinez relief. Martinez, 566 U.S. at 14, 17. As shown above, state

habeas counsel was not deficient, and no prejudice exists because Hamilton’s

underlying claim is wholly meritless. See Argument, Section II(A), supra.

Likewise, Hamilton’s claim fails because—even assuming he has successfully

shown cause under Martinez—he has not shown the accompanying actual

prejudice. Id.

      In his reply brief, Hamilton has asserted that McCann also had a conflict

of interest because of his professional relationship with Muldrow and Nunnery.

Reply, ECF No. 34 at 40–44; see also Am. Pet., ECF No. 50 at 161. In support

of his assertion, Hamilton offers: (1) documents that reflect that McCann

shared office space with Nunnery and Muldrow while representing Hamilton,

see ECF No. 34-1 at Exhibit 3 & ECF No. 50-1 at Exhibit 25; (2) documents

purportedly showing that McCann withdrew as capital murderer Howard

Guidry’s state habeas counsel because Muldrow and Nunnery were trial

counsel and McCann realized that he suffered from conflict of interest, see ECF




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No. 34-1 at Exhibit 3 & ECF No. 50-1 at Exhibit 25; and (3) a letter that

Hamilton sent McCann referring to the purported Guidry conflict and asking

McCann to withdraw, see ECF No. 34 at Exhibit 6 & ECF No. 50-1 at Exhibit

26. However, this evidence is insufficient to prove any conflict. 64 As shown

below in the Director’s discussion of the underlying merits of this claim, the

fact that attorneys share office space does not necessarily create a conflict, and

Hamilton does not seem to suggest that Muldrow and McCann are law

partners. But even assuming that McCann was somehow professionally tied to

Muldrow, “[i]n order to establish a violation of the Sixth Amendment, a

defendant who raised no objection at trial must demonstrate that an actual

conflict of interest adversely affected his lawyer’s performance.” Cuyler, 446

U.S. at 349–50. Hamilton has not made this demonstration. Moreover, as

explained above, McCann effectively represented Hamilton during his state

habeas proceedings. Finally, Hamilton’s underlying conflict-of-interest claim

is wholly without merit. Consequently, Hamilton should not be permitted to



64      It is worth noting that the Guidry documents and Hamilton’s letter only show that
McCann withdrew due to an unspecified conflict, which Hamilton merely assumes is because
of his relationship with Muldrow and Nunnery. ECF No. 34-1 at Exhibits 3 & 6. Hamilton’s
conclusory assertion, without more, is insufficient proof of either that this conflict existed in
Guidry’s case or that it existed in his own. It is further worth noting that Hamilton’s letter
to McCann is not accompanied by a response from McCann or any additional details
concerning Hamilton’s complaint. Id. (Exhibit 6). Hamilton refers to a reply letter but does
not seem to attach it. Reply, ECF No. 34 at 43 n.10; ECF No. 34-1 (Exhibit 6). And if McCann
was willing to withdraw from Guidry’s case because of this purported conflict, it would be odd
that he was not willing to do so in Hamilton’s case.


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evade his procedural default on this basis or on the grounds of ineffective

assistance of state habeas counsel or state habeas counsel’s purported conflict

of interest.

      Besides, as previously noted, Martinez, by its own terms, only applies to

petitioners who allege ineffective assistance of state habeas counsel as cause

to excuse their procedural default of an IATC claim—not petitioners who allege

a conflict of interest to excuse the procedural default of their conflict-of-interest

claim. As noted, the Supreme Court in Davila as refused to extend the narrow

Martinez holding beyond its original confines. Hamilton’s precedent for the

proposition that his state habeas counsel’s purported conflict could constitute

cause is not from this circuit. Reply, ECF No. 34 at 44 (citing Manning v.

Foster, 224 F.3d 1129, 1134 (9th Cir. 2000); Jamison v. Lockhart, 975 F.2d

1377, 1380 (8th Cir. 1992)). The Fifth Circuit had previously found a conflict

of interest unavailable to excuse a procedural default, although admittedly

before Martinez/Trevino. Williams, 602 F.3d at 308–09. Until the Supreme

Court or the Fifth Circuit recognizes conflict of interest as cause to circumvent

a procedural default, this Court should not do so on its own. Thus, Hamilton

cannot overcome the procedural bar to review of his claims.




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      B.    This claim is meritless.

      Even if this claim were not procedurally defaulted, Hamilton has failed

to demonstrate any entitlement to relief. The Supreme Court has held that:

      . . . Assuming without deciding that two law partners are
      considered as one attorney, it is settled that “[r]equiring or
      permitting a single attorney to represent co-defendants, often
      referred to as joint representation, is not per se violative of
      constitutional guarantees of effective assistance of counsel.”
      Holloway v. Arkansas, 435 U.S. 475, 482 (1978). We have never
      held that the possibility of prejudice that “inheres in almost every
      instance of multiple representation” justifies the adoption of an
      inflexible rule that would presume prejudice in all such cases. See
      [Cuyler, 446 U.S. at 348]. Instead, we presume prejudice “only if
      the defendant demonstrates that counsel ‘actively represented
      conflicting interests’ and that ‘an actual conflict of interest
      adversely affected his lawyer’s performance.’” Strickland, 466 U.S.
      at 692 (citation omitted). See also Cuyler, 446 U.S. at 348, 350.

Burger v. Kemp, 483 U.S. 776, 783 (1987); see also United States v. Dong Dang

Huynh, CRIM.A.H–05–351–2, 2009 WL 3784393, at *3 (S.D. Tex. Nov. 10,

2009); United States v. Wade, CIV.A. H–10–3973, 2011 WL 2604826, at *4 (S.D.

Tex. Jun. 30, 2011). Hamilton has not demonstrated that the Supreme Court

has decided what was assumed in Burger, i.e., that law partners are considered

as one attorney for the purposes of a conflict analysis. Thus, the adoption of

this new rule would be barred by Teague.




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         In any event, Hamilton has not shown that the Muldrow and Nunnery

are actually law partners. Hamilton cites to a Google search 65 and an exhibit

with appointment forms showing the attorneys have the same address, but the

two may just share office space. ECF No. 50-1 at Exhibits 6 & 27; ECF No. 19-

1 at Exhibit 6; 1 SHCR–02 149–52. Similarly, Ortego’s affidavit only shows

that a receptionist answered the phone “law office of Muldrow and Nunnery.”

ECF No. 50-1 at Exhibit 28; 1 SHCR–02 144. This affidavit is hearsay, but even

assuming that the contents are admissible, it again only shows that Muldrow

and Nunnery share office space and resources. Hamilton notes that the

prosecutor transmitted items to Nunnery through Muldrow (3 SHCR–01 554),

but the fact that the prosecutor gave one attorney materials to give to another

hardly makes the two attorneys partners. The Brian Stolarz affidavit likewise

seems to only reflect the shared use of resources and office space (including a

sign which was later taken down), a hearsay assertion that Nunnery casually

called Muldrow his partner, Nunnery handing over documents for the absent

Muldrow, and an assumption that Nunnery may have provided confidential

information about another case to Muldrow. ECF No. 50-1 at Exhibit 30; 1

SHCR–02 153–56. Finally, Hamilton cites to a blog post with brief mentions



65     It is unclear that this evidence was presented to the state court. 1 SHCR–02 126 (index
of exhibits). Evidence in support of defaulted claims that was not presented to the state court
is barred by § 2254(e)(2).


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that Muldrow and Nunnery are partners, but the source for this assertion is

unclear. ECF No. 50-1 at Exhibit 29; 1 SHCR–01 43 n.9.

        Hamilton has not provided any official documentation of Muldrow and

Nunnery’s partnership, and Muldrow and Nunnery’s state bar information

reflects that, while they share an address, Muldrow 66 and Nunnery 67 are solo

practitioners. Hamilton has cited no affidavit or testimony from the two that

states that the two attorneys were partners. Indeed, the precedent supplied in

Hamilton’s initial petition’s reply brief appears to support the Director’s

position, as it states that “practitioners who share office space and occasionally

consult with one another are not regarded as constituting a single firm for

conflict purposes.” Reply, ECF No. 34 at 39 (citing United States v. Varca, 896

F.2d 900, 903 (5th Cir. 1990)); see also Duncan v. Morton, 256 F.3d 189, 198

(3d Cir. 2001); United States v. Gatti, CRIM03–CR–500333, 2010 WL 1049586,

at *6 (W.D. La. Feb. 9, 2010) (“The evidence established that attorneys Gold

and Flowers merely shared office space and not the representation of clients.”),

report and recommendation adopted, CRIM. 03–CR–50033(3), 2010 WL


66      State     Bar      of    Texas,       Find      a     Lawyer      Results,
https://www.texasbar.com/AM/Template.cfm?Section=Find_A_Lawyer&template=/Customs
ource/MemberDirectory/MemberDirectoryDetail.cfm&ContactID=173746 (last accessed
August 12, 2021).

67      State     Bar      of    Texas,       Find      a     Lawyer      Results,
https://www.texasbar.com/AM/Template.cfm?Section=Find_A_Lawyer&template=/Customs
ource/MemberDirectory/MemberDirectoryDetail.cfm&ContactID=181255 (last accessed
August 12, 2021).


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1039973 (W.D. La. Mar. 18, 2010), aff’d, 434 F. App’x 364 (5th Cir. 2011). To

the extent that Hamilton claims that Nunnery and Muldrow are unethically

creating the impression that they are partners, see 1 SHCR–02 46, 48 & Am.

Pet., ECF No. 50 at 156, an analysis under Cuyler is not designed “to enforce

the Canons of Legal Ethics, but to apply needed prophylaxis in situations

where Strickland itself is evidently inadequate to assure vindication of the

defendant’s Sixth Amendment right to counsel.” Mickens, 535 U.S. at 176; see

also Dong Dang Huynh, 2009 WL 3784393, at *3 (“[e]thics rules are not

dispositive of a conflict of interest analysis under the Sixth Amendment”).

      In any event, even if this Court makes the Burger assumption that law

partners can be considered as one attorney for conflict purposes, there must be

a showing that the joint representation created an “actual conflict,” that is, “a

conflict that affect[s] counsel’s performance—as opposed to a mere theoretical

division of loyalties.” Mickens, 535 U.S. at 171 (emphasis in original). The

burden is on Hamilton to show that an actual conflict was caused by the alleged

joint representation such that “there was some plausible alternative defense

strategy that could have been pursued, but was not, because of the actual

conflict.” Infante, 404 F.3d at 393.

      Hamilton does not plausibly identify any specific action that was or was

not taken due to this purported conflict. Hamilton pleaded guilty, so Smith’s




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testimony concerning Matalkah’s murder was not necessary to support the

verdict. Moreover, any challenge to a conviction that was obtained by a guilty

plea is limited to the issues of voluntariness, the defendant’s understanding of

the charges against him, and his understanding of the consequences of the

plea. Hill v. Lockhart, 474 U.S. 52, 56–57 (1985); Diaz v. Martin, 718 F.2d 1372,

1376–77 (5th Cir. 1983). All non-jurisdictional defects in the proceedings are

waived, except those claims of ineffective assistance of counsel relating to the

knowing and voluntary nature of the plea. United States v. Glinsey, 209 F.3d

386, 392 (5th Cir. 2000). Hamilton asserts that the alleged conflict impacted

counsel’s advice to him, but he offers no compelling evidence of this and fails

to plausibly show how the alleged conflict changed her advice. His assertions

are mostly conclusory. Miller, 200 F.3d at 282. Certainly, Hamilton makes no

showing that the conflict affected counsel’s advice in a way that compromised

the knowing and voluntary nature of his plea, i.e., whether he knew the nature

of the charges against him and the maximum penalty. Diaz, 718 F.2d at 1376–

77; Spinelli v. Collins, 992 F.2d 559, 561 (5th Cir. 1993); Hobbs v. Blackburn,

752 F.2d 1079, 1081–82 (5th Cir. 1985). The fact that Hamilton’s plea was

knowing and voluntary is amply demonstrated below. See Argument, Section

VI, infra. Accordingly, Hamilton’s guilt-innocence conflict-of-interest claim is

waived. United States v. Palacios, 928 F.3d 450, 457 (5th Cir. 2019) (citing




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United States v. Tijerina, No. 00–41365, 35 F. App’x 390 (5th Cir. 2002) (per

curiam) (unpublished)).

      Hamilton points to Smith pleading his Fifth Amendment rights to avoid

testifying during punishment, but the record reflects Smith and Nunnery

seemed amendable to Smith testifying. 19 RR 100. The problem was that

Smith would not testify until his plea deal was finalized, and the prosecution

was unwilling to finalize the agreement at the time of trial. Id. Smith taking

the Fifth is thus not attributable to the purported conflict, but instead the

result of the lack of a formalized plea deal. In fact, Hamilton complains

extensively about the prosecution’s conduct in this respect. Am. Pet., ECF No.

50 at 29–31; Pet., ECF No. 19 at 62–65. Any issue here, then, is not attributable

to the purported conflict. Perillo, 205 F.3d at 781. Another attorney

representing Smith would not have handled this situation any differently.

There is no adverse effect.

      Hamilton has also failed to adequately prove that Smith’s testimony

would have been favorable to him. Hamilton did make a proffer of Smith’s

testimony at trial and submitted an affidavit from Smith’s attorney Nunnery

on state habeas review. 4 SHCR–01 787 (Finding No. 46, citing 19 RR 98–103,

117–18); 1 SHCR–01 96. However, Hamilton has not provided an affidavit from




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Smith himself. Hamilton has thus merely offered hearsay and what other

people believe that Smith would have said.

        Hamilton’s allegations establish neither an actual conflict of interest nor

the existence of a plausible defensive strategy that could have been, but was

not, pursued as the result of Muldrow’s purported partnership with Nunnery.

It is also worth reiterating that Hamilton had the assistance of co-counsel

Northcutt, who is not alleged to be a partner with Nunnery. Cf., Rosnow, 981

F.2d at 972; Hall, 504 F. App’x at 277–78. Accordingly, Hamilton is not entitled

to relief on this claim even under de novo review.

V.      Hamilton’s Claim That His Attorneys Were Ineffective Because
        They Did Not Object to Purported Victim Impact Testimony Is
        Unexhausted and Procedurally Defaulted. Alternatively, the
        State Court Reasonably Denied Hamilton’s Claim. (Claim 5)

        In his amended petition’s fifth ground for relief, Hamilton argues that

his trial attorneys were ineffective for not objecting to victim impact evidence.

Am. Pet., ECF No. 50 at 163–70; Pet., ECF No. 19 at 69–75. Hamilton raised

this claim on direct appeal. Hamilton v. State, 2004 WL 3094382, at *5. But

the state court held the appellate record was not adequate to respond to

Hamilton’s assertions, because it was possible that counsel had a legitimate

strategic reason for not objecting to this testimony:

        [. . . ]During the State’s punishment case-in-chief, Ahmad Naimi,
        a co-worker of the victim, testified about the victim and his life.
        Relying on language from Mosley v. State, 983 S.W.2d 249, 263–64



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      (Tex. Crim. App. 1998), cert. denied, 526 U.S. 1070 (1999),
      [Hamilton] argues that counsel was ineffective for failing to object
      to Naimi’s testimony on the ground “that mitigation was not yet
      an issue in the case.” He reasons that he had the option of
      affirmatively waiving reliance on and submission of the mitigation
      issue at the end of the State’s case, and thus Naimi’s testimony
      was not relevant until evidence on mitigation had been introduced.

            The record on direct appeal is generally inadequate to show
      that counsel’s conduct fell below an objectively reasonable
      standard of performance. Bone v. State, 77 S.W.3d 828, 833 (Tex.
      Crim App. 2002); Thompson v. State, 9 S.W.3d 808, 813 (Tex. Crim.
      App. 1999). “If counsel’s reasons for his conduct do not appear in
      the record and there is at least the possibility that the conduct
      could have been legitimate trial strategy, we will defer to counsel’s
      decisions and deny relief on an ineffective assistance claim on
      direct appeal.” Ortiz v. State, 93 S.W.3d 79, 88 (Tex. Crim. App.
      2002), cert. denied, 538 U.S. 998 (2003).

            Here, counsel’s reasons do not appear in the record. It is at
      least possible that counsel had some strategic reason for not
      objecting to the evidence on the grounds now urged on appeal.
      Accordingly, we will defer to counsel’s decision.

Hamilton v. State, 2004 WL 3094382, at *5.

      Hamilton did not cure the deficiency in the record during either of his

state habeas proceedings by re-raising this claim and then seeking an affidavit

or testimony from trial counsel discussing this issue. See generally 1 SHCR–01

2–76; 1 SHCR–02 1–124. The state court’s decision on direct appeal was

reasonable, and Hamilton has not presented any clear and convincing evidence

to rebut the presumption of correctness attached to the state court’s finding




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that counsel may have had a strategic reason for not objecting to this evidence.

Accordingly, AEDPA precludes relief on this claim.

      A.    Hamilton’s claims that counsel should have objected under
            Rule 403 is unexhausted and procedurally defaulted.

      On direct appeal, Hamilton argued that the purported victim impact

evidence from Naimi was impermissible because he had not yet put on a

mitigation case. Brief for Appellant at 69–75. Now, on federal habeas review,

Hamilton argues that counsel should have objected because the victim impact

evidence would not have been admissible under Texas Rule of Evidence 403.

Am. Pet., ECF No. 50 at 163; Pet., ECF No. 19 at 71. Hamilton cannot offer

new legal theories in support of his claims to the state court. Anderson v.

Harless, 459 U.S. 4, 6–7 (1982); Riley, 339 F.3d at 318; Wilder v. Cockrell, 274

F.3d 255, 259 (5th Cir. 2001). Hamilton asserted in his initial petition’s reply

brief that he has actually raised the same claim, since he cites Mosley in his

direct appeal brief, and Mosley discusses Rule 403. Reply, ECF No. 34 at 60–

61. However, this does not seem to be the import of his claim on direct appeal;

it does not appear that the direct appeal brief specifically mentions Rule 403;

and the Supreme Court has frowned on the use of “daisy chain[s]” in the

exhaustion context. Howell v. Mississippi, 543 U.S. 440, 443–44 (2005). The

Court should deny this aspect of Hamilton’s claim as unexhausted and

procedurally defaulted.



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      B.    Both the exhausted version of this claim (raised on direct
            appeal) and its current incarnation are meritless.

            1.    The IATC standard under AEDPA

      The Director has set forth the general Strickland standard above. See

Argument, Section II(B), supra. But, to the extent that Hamilton seeks a

federal writ of habeas corpus based on the IATC claim raised in the state court,

the standard is more arduous. Instead, “the test is whether the state court’s

decision—that [petitioner] did not make the Strickland showing—was contrary

to, or an unreasonable application of, the standards, provided by the clearly

established federal law (Strickland), for succeeding on his [IATC] claim.”

Schaetzle v. Cockrell, 343 F.3d 440, 444 (5th Cir. 2003); see also Richter, 562

U.S. at 101. Thus, a federal court’s review of a state court’s resolution of an

IATC claim under AEDPA is “doubly deferential,” Pinholster, 563 U.S. at 190

(quoting Knowles v. Mirzayance, 556 U.S. 111 (2009)), because the question is

“whether the state courts application of the Strickland standard was

unreasonable.” Richter, 562 U.S. at 101. Importantly, “[t]his is different from

asking whether defense counsel’s performance fell below Strickland’s

standard,” because the “state court must be granted a deference and latitude

that are not in operation when the case involves review under the Strickland

standard itself.” Id. Consequently, “even a strong case for relief does not mean

the state court’s contrary conclusion was unreasonable.” Id. at 102. Rather, to



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obtain habeas relief, “a state prisoner must show that the state court’s ruling

on the claim being presented in federal court was so lacking in justification

that there was an error well understood and comprehended in existing law

beyond any possibility for fairminded disagreement.” Id. at 102–03.

      As the Supreme Court recently reiterated, in conducting a federal habeas

review, this Court “owe[s] deference to both [Hamilton’s] counsel and the state

court.” Reeves, 141 S. Ct. at 2410 (emphasis in original). The Court may only

grant relief if counsel “took an approach that no competent lawyer would have

chosen.” Id. (citing Titlow, 571 U.S. at 22–23). “Or, in more concrete terms, a

federal court may grant relief only if every fairminded jurist would agree that

every reasonable lawyer would have made a different decision. Id. at 2411

(cleaned up) (emphasis in original).

            2.    Hamilton fails to show deficiency.

      At punishment, Matalkah’s coworker Naimi testified that Matalkah

lived very simply and sent all his money back to Jordan to support his wife,

four children, mother, and sisters. 16 RR 271–73. Hamilton argues that his

attorneys rendered IATC by not objecting to this purported victim impact

evidence. However, Hamilton raised this claim to the CCA on direct appeal,

and the CCA found that the appellate record was insufficient to demonstrate

that counsel did not have a strategic justification for not objecting. Hamilton




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v. State, 2004 WL 3094382, at *5. The CCA’s decision was plainly reasonable,

and it even left the door open for Hamilton to re-argue the claim on state

habeas review (although he chose not to). Without providing habeas affidavits

or habeas testimony with counsel’s thinking and motivations—their

“perspective at the time”—Hamilton plainly fails to meet his burden to show

deficient performance. The CCA’s decision conforms with the Supreme Court’s

teachings. Titlow, 571 U.S. at 23; Reeves, 141 S. Ct. at 2412.

      Further, counsel was not deficient because there was no valid basis for

an objection on Hamilton’s proposed bases. It is questionable that Naimi’s

statements qualify as victim impact testimony. Naimi was not a family

member, and his testimony about Matalkah’s life was brief—most of his

testimony was directed to the circumstances of Matalkah’s murder. Naimi’s

testimony about his relationship with Matalkah, Matalkah’s family, and

Matalkah’s occupation would be more accurately construed as contextual.

Payne v. Tennessee, 501 U.S. 808, 840–41 (1991) (Souter, J., concurring) (noting

that, with respect to a hypothetical victim’s family and occupation, “the usual

standards of trial relevance afford factfinders enough information about

surrounding circumstances to let them make sense of the narrowly material

facts of the crime itself. No one claims that jurors in a capital case should be

deprived of such common contextual evidence.”); Mosely v. Quarterman, CIV.A.




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3:03–CV–1577–N, 2008 WL 656887, at *13 (N.D. Tex. Mar. 6, 2008), aff’d 306

F. App’x 40, 45–48 (5th Cir. 2008).

      Moreover, in Payne, the Supreme Court held that the Eighth

Amendment does not bar testimony about the murder victim or the murder’s

impact. Payne, 501 U.S. at 827. The Court held that there exists a legitimate

interest in countering the individualization of the defendant by reminding the

jury that the victim was also an individual whose death represents a unique

loss to society and to the victim’s family. Id. at 825–28. As a result, the Court

left it to the states to determine whether such testimony is relevant under their

individual punishment schemes. Id. “Courts have always taken into

consideration the harm done by the defendant in imposing sentence.” Id. at

825. “The assessment of harm caused by the defendant as a result of the crime

charged has understandably been an important concern of the criminal law,

both in determining the elements of the offense and in determining the

appropriate punishment.” Id. at 819. As such, “a state may properly conclude

that for the jury to assess meaningfully the defendant’s moral culpability and

blameworthiness, it should have before it at the sentencing phase evidence of

the specific harm caused by the defendant.” Id. at 825. “Victim impact evidence

is simply another form or method of informing the sentencing authority about

the specific harm caused by the crime in question.” Id. In Texas, “victim




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impact[ 68] evidence and victim character[ 69] evidence are admissible, in the

context of the mitigation special issue, to show the uniqueness of the victim,

the harm caused by the defendant, and as rebuttal to the defendant’s

mitigating evidence.” Mosley, 983 S.W.2d at 262.

        In his brief on direct appeal, Hamilton contended that victim

impact/character evidence is relevant only to the mitigation special issue. Brief

of Appellant at 71–72. He reasoned that, because the defense had not yet

presented mitigation evidence at the time of Naimi’s testimony and could have

waived reliance on the mitigation special issue, his purported victim impact

evidence was not admissible. Id. But the CCA did not hold in Mosley that a

defendant could waive reliance upon and submission of the mitigation issue,

thereby rendering victim impact and character evidence irrelevant and

inadmissible—the CCA subsequently found that part of the Mosley holding

was merely dicta. Tong v. State, 25 S.W.3d 707, 711–13 (Tex. Crim. App. 2000).




68     Victim impact evidence is evidence “concerning the effect the victim’s death will have
on others, particularly the victim’s family members.” Mosley, 983 S.W.2d at 261. It is
“designed to remind the jury that murder has foreseeable consequences to the community
and the victim’s survivors.” Salazar v. State, 90 S.W.3d 330, 335 (Tex. Crim. App. 2002).

69     Victim character evidence is “evidence concerning good qualities possessed by the
victim.” Mosley, 983 S.W.2d at 261. Victim character evidence “is designed to give the jury ‘a
quick glimpse of the life that the petitioner chose to extinguish, to remind the jury that the
person whose life was taken was a unique human being.’” Salazar, 90 S.W.3d at 335 (quoting
Payne, 501 U.S. at 830–31 (O’Connor, J., concurring)).


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Besides, Hamilton did not affirmatively waive submission of the mitigation

issue.

         Also, Hamilton’s assertion in his direct appeal brief (p.72) that when the

State admitted the victim impact/character evidence the defense had put on no

witnesses or mitigation testimony is contradicted the record. Naimi testified

after Hamilton’s counsel elicited evidence from Billy Norris that Hamilton’s

whole family was on drugs; Hamilton had been raised in a dirty crack house;

Hamilton’s mother did drugs; Hamilton’s mother and father bought crack;

Hamilton’s mother walked the streets; Hamilton’s father had gone to prison

for aggravated robbery; Hamilton confessed to Norris; and Norris told him to

confess to the Lord and Hamilton did so. 16 RR 271–73 (Naimi testimony); 16

RR 90, 92–93, 95–97, 100, 102, 104 (Norris testimony). Hamilton’s counsel also

elicited evidence from Norris that Hamilton had been using fry at the time he

murdered Matalkah. 16 RR 101–02. Hamilton’s counsel elicited evidence from

Brooke Rogers that Hamilton’s mother walked the streets and was a prostitute;

Hamilton’s father did drugs; Hamilton’s father had been in jail; the whole

family did drugs; and Hamilton had lived in a crack house. Id. at 185–95.

Contrary to Hamilton’s assertions, the trial court admitted Naimi’s evidence

after Hamilton already had introduced mitigating evidence.




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        Concerning Hamilton’s unexhausted federal habeas theory that counsel

should have objected because Naimi’s testimony was not admissible under

Texas Rule of Evidence 403, it appears that counsel both filed a motion in

limine to preclude the introduction of improper victim impact testimony and—

the day after Naimi’s testimony—objected to certain portions of that testimony

as improperly comparing Hamilton’s worth to Matalkah’s. However, the trial

court denied counsel’s objection. 17 RR 8–16. And while the judge granted

counsel’s motion, the judge qualified that he did not believe that the State had

prompted a worth comparison. Id. Hamilton briefing may suggest that

counsel’s objection was denied because it was untimely. Am. Pet., ECF No. 50

at 166 (“This objection was untimely and was overruled by the trial court”).

But the record appears to show that the trial court actually ruled on the

merits. 70 17 RR 16. Counsel cannot be deficient when they actually made the

objection requested and received a ruling.

        Moreover, it was not error by the trial judge to allow this evidence. Trial

judges may exercise:

        [. . .] their sound discretion in permitting some evidence about the
        victim’s character and the impact on others’ lives while limiting
        the amount and scope of such testimony. Considerations in
        determining whether testimony should be excluded under Rule
        403 should include the nature of the testimony, the relationship
        between the witness and the victim, the amount of testimony to be

70      Even though counsel’s objection was made the next day, the trial court could have
easily issued an instruction to disregard if it believed the objection had merit.


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      introduced, and the availability of other testimony relating to
      victim impact and character. And, mitigating evidence introduced
      by the defendant may also be considered in evaluating whether the
      State may subsequently offer victim-related testimony.

Mosley, 983 S.W.2d at 262.

      Here, the testimony in question was brief, factual, and from a coworker

who was familiar with Matalkah and mostly explained how and why Matalkah

came to work at the convenience store where Hamilton killed him (i.e., context

for the crime). It also occurred after the defense had elicited mitigation

testimony, and there was little subsequent victim impact testimony. Thus, as

suggested by the record, see 17 RR 16, the trial judge would not have barred

this testimony even if a timelier objection under Rule 403 had been made.

Emery v. Johnson, 139 F.3d 191, 198 (5th Cir. 1997) (“[F]ailure to assert a

meritless objection cannot be grounds for a finding of deficient performance.”).

Indeed, Hamilton asserts that the testimony improperly compared his worth

with Matalkah’s, Am. Pet., ECF No. 50 at 166–67, but it is not readily apparent

from Hamilton’s briefing where he believes that Naimi made this comparison.

It would appear Hamilton believes that it was simply implied.

      Consequently, Hamilton does not show deficiency under either his

exhausted theory (i.e., failure to object because no mitigation evidence had

been presented) or his unexhausted one (i.e., failure to object under Rule 403).




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            3.    No prejudice         accrued     from    counsel’s     alleged
                  deficiencies.

      Nevertheless, to whatever extent counsel’s performance was deficient,

Hamilton was not prejudiced. Paredes v. Quarterman, 574 F.3d 281, 291 &

nn.12–13 (5th Cir. 2009) (citing United States v. Kimler, 167 F.3d 889, 893 (5th

Cir. 1999) (“An attorney’s failure to raise a meritless argument . . . cannot form

the basis of a successful ineffective assistance of counsel claim because the

result of the proceeding would not have been different had the attorney raised

the issue.”). Hamilton does not show that error by trial counsel with regard to

this testimony created a reasonable probability of a different result. See Mosely

v. Quarterman, 306 F. App’x 40, 46–47 (5th Cir. 2008) (“even assuming that

victim impact evidence was improperly admitted, Mosley fails to explain how

Mrs. Moore’s testimony prejudiced his defense in light of the overwhelming

evidence of guilt”); Guevara v. Thaler, CIV. A. No. 4:08–CV–1604, 2011 WL

4455261, at *20–*21, *23 (S.D. Tex. 2011) (unpublished) (rejecting claim that

counsel were ineffective for failing to object to extraneous offense victim impact

testimony because petitioner failed to show prejudice in light of the evidence

of his violent criminal history, his having committed an “escalating crime

spree” in the months before the murder, and evidence that he was “cruel”); cf.

United States v. Bernard, 299 F.3d 467, 480–81 (5th Cir. 2002) (“Taken in

context, this inadmissible portion of the victim impact testimony was short and



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mild compared to the horror of the crimes and the pathos of the admissible

impact on the parents.”).

        Since the CCA’s rejection of the exhausted portion of Hamilton’s claim

did not result in a decision that was contrary to, or involved an unreasonable

application of, clearly established federal law, as determined by the Supreme

Court of the United States, Hamilton is not entitled to relief. 28 U.S.C.

§ 2254(d); Richter, 562 U.S. at 99–102. Moreover, the unexhausted portion of

Hamilton’s claim should be found defaulted and, alternatively, meritless under

de novo review.

VI.     The State Court Reasonably Denied Hamilton’s Claim That the
        Trial Court Improperly Admonished Him. (Claim 6)

        In his amended petition’s sixth claim for relief, Hamilton argues that the

trial court improperly admonished him concerning the consequences of his

guilty plea, depriving him of due process of law under Boykin v. Alabama, 395

U.S. 238 (1969). Am. Pet., ECF No. 50 at 170–84; Pet., ECF No. 19 at 33–43.

Specifically, he asserts that the trial court failed to tell him the applicable

range of punishment and failed to inform him that a guilty plea would waive

his right against self-incrimination. Id. However, the state court reasonably

rejected variations of this claim on both direct appeal 71 and state habeas



71    The Supreme Court denied certiorari review of this claim on direct appeal. See
Hamilton v. Texas, 545 U.S. 1130 (No. 04–9658).


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review. 72 Hamilton v. State, 2004 WL 3094382, at *1–*3; Ex parte Hamilton,

2015 WL 3899185, at *1; 4 SHCR–01 778–79, 799. The state court correctly

held that Hamilton’s guilty plea was constitutionally permissible since it was

knowing and voluntary. Id. It also found that Hamilton was aware that he

could be sentenced to death, and Boykin did not require that Hamilton be

informed of his right against self-incrimination. Id. As shown below, these

determinations are plainly reasonable. The Fifth Circuit has “repeatedly held”

that Boykin does not require explicit articulation of the three rights mentioned

therein (i.e., the privilege against self-incrimination, the right to trial by jury,

and the right to confront one’s accusers). Neyland v. Blackburn, 785 F.2d 1283,

1287 (5th Cir. 1986). Moreover, the record in the instant case—in contrast to

the silent record in Boykin—plainly shows that Hamilton was aware of his

potential death sentence and his right to be free from compulsory self-

incrimination. Since the state court’s decision was reasonable, AEDPA

precludes relief being granted on this claim.

        A.    The state court reasonably denied relief on these claims.

        Hamilton raised iterations of this claim on direct appeal and during state

habeas review. On direct appeal, the CCA held that:

        [. . .] After [Hamilton] pled guilty to the charged offense of capital
        murder, the trial court proceeded to ask [Hamilton] questions

72     Hamilton’s state habeas claim dealt only with the range of punishment, not the right
against self-incrimination. 1 SHCR–01 11–13.


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     concerning the voluntariness of his plea. The trial court did not,
     however, on the record, inform or discuss with [Hamilton] the
     punishment range for a capital offense. [Hamilton] urges this
     Court to reconsider our opinion in Aguirre-Mata v. State, 125
     S.W.3d 473 (Tex. Crim. App. 2003), and to adopt the reasoning of
     Judge Johnson’s dissenting opinion in that case. He contends that
     our opinion in Aguirre-Mata is at odds with [Boykin], and that the
     complete failure of the trial court to admonish him of the
     applicable range of punishment is a due process violation that
     amounts to “structural error” requiring reversal without a showing
     of harm. We held in Aguirre-Mata that the trial court’s failure to
     show on the record that a defendant entering a plea of guilty was
     admonished on the range of punishment for the offense was
     nonconstitutional error subject to the harm analysis under Rule of
     Appellate Procedure 44.2(b). 125 S.W.3d at 474. We noted that
     “Boykin did not specifically set out what due process requires to be
     ‘spread on the record’” and that “Boykin clearly did not hold that
     due process requires the equivalent of the [Texas Code of Criminal
     Procedure] Article 26.13(a) admonishments or an admonishment
     on the range of punishment.” Id. at 475. Rather, “admonishing a
     guilty-pleading defendant that the consequences of a guilty plea
     are the admission of the factual elements of the charged crime and
     a waiver of various constitutional rights without admonishing the
     defendant on the range of punishment literally satisfies this
     [Boykin] test.” Id. at n.4. We decline to revisit our holding in
     Aguirre-Mata.

           [Hamilton] does not argue that he had no knowledge of the
     possible penalties for capital murder or that his plea was actually
     involuntary. Rather, he complains only about the absence in the
     record of any admonishment on the range of punishment.
     [Hamilton] has failed to show that the absence of an
     admonishment on the range of punishment resulted in an
     involuntary plea or a violation of due process in this case.

Hamilton v. State, 2004 WL 3094382, at *1.




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      In conjunction with a related claim, the CCA further found:

      In this case, the record fails to support an inference that
      [Hamilton] did not know the punishment range for his offense.
      Although the trial court did not explicitly admonish [Hamilton] on
      the punishment range for his offense, throughout jury selection,
      the parties openly discussed the punishment range at length in
      [Hamilton]’s presence. At the beginning of voir dire, at which
      [Hamilton] was present, the trial court informed the panel that the
      State was seeking the death penalty, and during individual voir
      dire, the prosecutor and defense counsel asked each venire
      member multiple questions concerning the death penalty, life
      imprisonment, and related issues.

Id. at *2.

      The CCA additionally held that “‘there is no requirement that [the]

appellant be informed of his right against self-incrimination at trial upon a

plea of guilty.’ [] Boykin does not hold that the failure to admonish a guilty-

pleading defendant of the privilege against self-incrimination violates due

process.” Id. at *2–*3 (quoting Williams v. State, 674 S.W.2d 315, 320 (Tex.

Crim. App. 1984)).

      On state habeas review, Hamilton re-raised his claim concerning the

trial court’s admonishments. In response, the state habeas court entered the

following findings of fact:

      13. The trial court informed the jury panel at the beginning of
      voir dire that the State sought the death penalty, and the defense
      and [the] State asked each venire member many questions
      concerning the death penalty and life imprisonment. [Hamilton v.
      State, 2004 WL 3094382, at *2].




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   14. There were many instances during [Hamilton]’s trial where
   the range of punishment as well as the death penalty[] was
   mentioned in [Hamilton]’s presence, including but not limited to
   the following:

         •     trial counsel urged a motion requesting that
               [Hamilton]’s family and friends be allowed to
               testify regarding their feelings about a death
               sentence and the impact that an execution
               would have on them [1 CR 266; 19 RR 170];

         •     the State argued for the death penalty in
               opening arguments [16 RR 24–25];

         •     in trial counsel’s opening statement, she stated
               that accountability did not always mean
               execution; that [Hamilton] “pled guilty because
               he understood his accountability;[”] and, that
               [Hamilton] deserved a life sentence [16 RR 25–
               27]; and

         •     both the State and trial counsel argued their
               positions on a life sentence versus the death
               penalty at the end of punishment [21 RR 4–90].

   15. On direct appeal of the instant conviction, [Hamilton] urged
   two points of error alleging that the trial court failed to admonish
   him on the record of the applicable range of punishment in
   violation of [Hamilton]’s constitutional rights and [Tex. Code Crim.
   Proc. art. 26.13]. The [CCA] overruled [Hamilton]’s points of error,
   holding that the record supported the inference that [Hamilton]
   knew the relevant range of punishment for his offense because the
   parties openly discussed the punishment range in [Hamilton]’s
   presence during jury selection. [Hamilton v. State, 2004 WL
   3094382, at *2].

   16. The Court finds, based on the record and the 2014 habeas
   affidavit of trial counsel Muldrow, that [Hamilton] voluntarily and
   knowingly entered his guilty plea in the primary case; that
   [Hamilton] was aware of the consequences of pleading guilty to the



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      primary offense; that trial counsel advised [Hamilton] that
      pleading guilty was the best legal strategy in [Hamilton]’s case;
      and, that trial counsel advised [Hamilton] that the prosecution
      still intended to seek the death penalty after [Hamilton] plead[ed]
      guilty. [4 SHCR–01 811 (Muldrow affidavit).]

      17. The Court finds unpersuasive and not credible the self-
      serving habeas affidavit of [Hamilton] in which [Hamilton] asserts
      that he did not understand that he could still be sentenced to death
      after pleading guilty to capital murder. [1 SHCR–01 84]

4 SHCR–01 778–79. The state court then concluded that “[Hamilton]

voluntarily entered his guilty plea and was aware of the consequences of

pleading guilty in the primary case, including that [Hamilton] was still subject

to receiving the death penalty.” Id. at 799.

      B.    The Fifth Circuit has repeatedly held that Boykin does not
            require explicit waiver of the three rights mentioned
            therein—only that a guilty plea be voluntarily and
            intelligently given.

      “A guilty plea operates as a waiver of important rights, and is valid only

if done voluntarily, knowingly, and intelligently, ‘with sufficient awareness of

the relevant circumstances and likely consequences.’” Bradshaw v. Stumpf,

545 U.S. 175, 183 (2005) (quoting Brady v. United States, 397 U.S. 742, 748

(1970)). A knowing and voluntary plea waives the privilege against compulsory

self-incrimination guaranteed by the Fifth Amendment, the right to trial by

jury, and the right to confront one’s accusers. Boykin, 395 U.S. at 243. Boykin

mandates an affirmative showing on the record that a defendant’s guilty plea




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is intelligently and voluntarily made, and a reviewing court should “‘scrutinize

with guarded caution those situations . . . where the reviewing court cannot

ascertain from the trial transcript that the stringent due process requirements

imposed by [Boykin] . . . have been complied with scrupulously.’” Walker v.

Maggio, 738 F.2d 714, 716 (5th Cir. 1984) (quoting LeBlanc v. Henderson, 478

F.2d 481, 483–84 (5th Cir. 1973)). But when a defendant pleads guilty to a

substantive offense, the court is not required to recite a litany of all the

constitutional rights that are waived. Holloway v. Lynaugh, 838 F.2d 792, 794

(5th Cir. 1988). In particular, Boykin does not mandate any strict rule of

criminal procedure, and failure to advise a guilty-pleading defendant of his

right to trial by jury, right of confrontation, and right against self-

incrimination does not in itself render the plea involuntary. See Burton v.

Terrell, 576 F.3d 268, 271–72 (5th Cir. 2009). “This Circuit has repeatedly held

that a specific express articulation and waiver of the three rights mentioned in

Boykin is not mandated, but that it is necessary for the record to show that the

plea was voluntarily and intelligently given.” Neyland, 785 F.2d at 1287 (citing

Brown v. Jernigan, 622 F.2d 914, 915 (5th Cir.), cert. denied, 449 U.S. 958

(1980); Van Poyck v. Wainwright, 595 F.2d 1083, 1085–86 (5th Cir. 1979);

McChesney v. Henderson, 482 F.2d 1101, 1106 (5th Cir. 1973), cert. denied, 414

U.S. 1146 (1974); United States v. Frontero, 452 F.2d 406, 415 (5th Cir. 1971);




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Barksdale v. Blackburn, 670 F.2d 22 (5th Cir. 1982)); see also James v. Cain,

56 F.3d 662, 666 (5th Cir. 1995) (“A federal court will uphold a guilty plea

challenged in a habeas corpus proceeding if the plea was knowing, voluntary

and intelligent.”). 73

        A plea should be upheld if it is shown by the record that a defendant

understood the charge and its consequences when he pleaded guilty. Hobbs v.

Blackburn, 752 F.2d 1079, 1081 (5th Cir. 1985). Consequences of a guilty plea

include only that the defendant knows the maximum penalty and fine for the

charged offense. Id. at 1081–82. If the defendant understood the maximum

penalty that he might possibly receive, he was fully aware of the consequences

of his plea. Spinelli v. Collins, 992 F.2d 559, 561 (5th Cir. 1993); United States

v. Howard, 991 F.2d 195, 199–200 (5th Cir. 1993) (relief not warranted when

defendant only showed that record reflected that defendant was not specifically

advised of his right to jury trial); Schaefer v. Davis, A–16–CA–1273–SS, 2017




73      The Fifth Circuit has observed that (at the time of its statement) “were we to impose
a rule of criminal procedure requiring express articulation and waiver of certain
constitutional rights at the time of acceptance of guilty pleas, we would require more of the
state courts than is required in the federal courts.” McChesney, 482 F.2d at 1109. But even if
the state courts independently interpret Boykin to require such articulation, failure to make
the articulation is a matter for the state courts to correct. Neyland, 785 F.2d at 1289. A state
court’s failure to follow its own procedural rules is not a per se federal constitutional violation
cognizable in federal habeas corpus. Stewart v. Estelle, 634 F.2d 998, 999 (5th Cir. 1981); Van
Poyck, 595 F.2d at 1086. To constitute a cognizable federal due process violation, the state
trial judge’s incorrect admonishments must somehow affect the knowing and voluntary
character of the plea.


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WL 3822750, at *4–*6 (W.D. Tex. Jun. 21, 2017), report and recommendation

adopted, A–16–CA–1273–SS, 2017 WL 3726433 (W.D. Tex. Aug. 25, 2017).

      In assessing whether a defendant’s plea is valid, courts should look at

“all of the relevant circumstances surrounding it,” including whether there is

evidence of guilt. Matthew v. Johnson, 201 F.3d 353, 364–65 (5th Cir. 2000)

(citing Brady, 397 U.S. at 749). Evidence of guilt is not required before

validating a guilty plea, but it is indicative of whether the plea is knowing and

voluntary. Id. at n.16. A defendant’s experience with the criminal justice

system is also a factor in determining whether that defendant knowingly and

intelligently waived constitutional rights. Parke v. Raley, 506 U.S. 20, 37

(1992); Marshall v. Lonberger, 459 U.S. 422, 437 (1983).

      C.    Hamilton’s guilty plea was knowing and voluntary and
            made with an awareness of the applicable range of
            punishment.

      The record in the instant case—unlike that in Boykin—is not silent. In

Boykin, the defendant was indicted for five robberies. 395 U.S. at 239. The trial

court appointed counsel. Id. Three days later, at arraignment, the defendant

pleaded guilty to all five indictments. Id. The appellate record was silent

concerning the plea and did not show that the judge examined the defendant

or that the defendant addressed the court. Id.




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      In contrast, the record in Hamilton’s case reflects that after the

indictment was read Hamilton entered a plea of guilty before the jury. 16 RR

9–10. The trial court then excused the jury and examined Hamilton and

Hamilton’s counsel. Id. at 10–17. The trial court confirmed that Hamilton was

pleading guilty because he was guilty and for no other reason. Id. at 11.

Hamilton had not been promised anything to plead guilty. Id. at 11–12.

Hamilton had not been frightened or coerced. Id. at 12. Hamilton was pleading

guilty of his own free will. Id. at 12. Hamilton understood he had the right to

a jury trial. Id. at 12. Hamilton understood he had the right to confront and

cross-examine witnesses. Id. at 12. Hamilton wished to give up his rights and

plead guilty. Id. at 12. Hamilton had had enough time to speak with counsel

about his case. Id. at 13. Counsel had answered his questions, and he was

satisfied with his representation. Id. at 13. Hamilton had no questions. Id. at

13. Hamilton did not have any problems talking with counsel; and Hamilton

understood the criminal proceedings. Id. at 14. The trial court asked Hamilton

if he had any history of any mental disease or defect, and Hamilton’s counsel

explained that Hamilton was a “special ed” student, but counsel was unaware

of any psychiatric illnesses. Id. at 13. Hamilton had never been declared

incompetent or insane. Id. at 13–14. Hamilton had no problems talking with

counsel, and he understood the proceedings. Id. at 14. Hamilton’s attorneys




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had adequate time to speak with Hamilton and believed him competent. Id. at

14.

      Here, the relevant “question [ ] is whether [petitioner] was advised by

someone, prior to pleading guilty, of [his] punishment range.” Burdick v.

Quarterman, 504 F.3d 545, 547–48 (5th Cir. 2007) (“Texas argues, the trial

court need not advise the defendant of consequences of her guilty plea, as long

as somebody does. We agree.”); see also Burton, 576 F.3d at 271–72 (“This court

has consistently held that the critical question is not whether the court

informed the defendant of the maximum sentence, but whether the defendant

knew, in fact, the maximum he faced.”). As noted by the state habeas court,

defense counsel submitted an affidavit that explained that she and co-counsel

told Hamilton that he could receive the death penalty even after pleading

guilty, but that they were hoping to get a life sentence from the jury instead:

      After review of the parts of the State’s files made available to us,
      and our investigation of evidence under the Special Issues, we
      decided the best legal strategy was for Mr. Hamilton to enter a plea
      of guilty before the jury. Mr. Hamilton was told of our plan. He was
      also told that the [S]tate was still intending to ask for the death
      penalty, and thus we would have to proceed with trial before the
      jury in what later proved to be a vain attempt to get a life penalty
      jury verdict.

4 SHCR–01 811. The state court found this affidavit credible evidence that

Hamilton’s plea was knowing and voluntary and that Hamilton was aware that

he could still be sentenced to death even after his plea. 4 SHCR–01 778–79.



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The state court did not find Hamilton’s affidavit to the contrary credible. Id.

Again, “[a] trial court’s credibility determinations made on the basis of

conflicting evidence are entitled to a strong presumption of correctness and are

virtually unreviewable by the federal courts.” Pippin, 434 F.3d at 792 (internal

quotation marks and citations omitted); see also Burton, 576 F.3d at 273.

        Further, as noted by the CCA on direct appeal, during voir dire the trial

court, defense counsel, and the prosecutor repeatedly mentioned that the range

of punishment consisted of either life imprisonment or death. 74 Hamilton v.

State, 2004 WL 3094382, at *2. It can be presumed that Hamilton had actual

knowledge of the applicable range of punishment from these references.

Burdick, 504 F.3d at 548 (“There is also evidence that during voir dire, which

was conducted before Burdick’s guilty plea, Burdick’s defense attorney referred

to the range of imprisonment and specifically referenced the maximum

possible term.”); cf. United States v. Vonn, 535 U.S. 55, 75 (2002) (defendants

may be presumed to recall information provided to them prior to the plea

proceeding); Bousley v. United States, 523 U.S. 614, 618 (1998) (fact that the

defendant had been given a copy of the indictment prior to pleading guilty gave


74      Hamilton was appointed counsel on February 1, 2002, 1 CR 5, and indicted on April
18, 2002. 1 CR 11. The defense filed several pre-trial motions in October 2002—shortly before
voir dire began—that discussed the possibility Hamilton would receive the death penalty or
seeking to preclude the death penalty. 1 CR 78–84, 100–02, 112–14, 119–21, 168–70, 173–
220. Voir dire took place October 14, 2002 (3 RR) to October 30, 2002 (15 RR). Hamilton
pleaded guilty on November 6, 2002. 16 RR 10. The jury returned its guilty verdict on
November 12, 2002, following the conclusion of the punishment phase of trial. 2 CR 328.


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rise to the presumption the defendant was informed of the nature of the charge

against him).

      Moreover, in Texas cases where the defendant enters his plea before the

jury and the jury assesses his punishment, the defendant may withdraw his

plea at any time before the jury retires to consider punishment. McWherter v.

State, 571 S.W.2d 312, 313 (Tex. Crim. App. 1978) (“A liberal practice prevails

in this state concerning the withdrawal of a guilty plea.”). Here, the trial record

reflects references to the range of punishment being either life imprisonment

or death before the jury retired, yet Hamilton offered no objection. During

opening statements immediately following the plea, the prosecutor twice

argued there was no mitigating evidence that warranted “a life sentence over

the death penalty.” 16 RR 18–19, 25. In addition, defense counsel argued that

Hamilton pleaded guilty because he understood his accountability. Id. Defense

counsel further argued that “accountability doesn’t always mean execution”

and that the mitigating evidence compelled a life sentence. Id. at 25–27. The

charge to the jury also explained the applicable range of punishment: “The

mandatory punishment for the offense of capital murder is death or

confinement in the Texas Department of Criminal Justice, Institutional

Division, for life.” 2 CR 321; 21 RR 4.




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      During closing arguments, defense counsel argued that Hamilton

pleaded guilty and was fully accountable for the capital murder. 21 RR 53–55,

66. Counsel further argued that there is a presumption that a capital murder

defendant was subject to a life sentence; that the law does not demand the

death penalty; that there was compelling mitigating evidence; and that they

should hold out for a life sentence so that Hamilton is not “strapped to the

gurney and they stop his beating heart.” Id. at 54, 68–69. Thereafter, the

prosecutor argued that the mitigating evidence did not warrant a life sentence,

and that Hamilton should receive the death penalty. Id. at 82, 88–89. It can

reasonably be inferred from these references to life imprisonment and the

death penalty that Hamilton had knowledge of the applicable range of

punishment at a time when he could have retracted his plea. See Burdick, 504

F.3d at 548.

      In response, Hamilton contends that he lacked the intellectual and legal

sophistication to know that he could retract his plea. Am. Pet., ECF No. 50 at

182–83; Reply, ECF No. 34 at 14–16. He maintains that he could not have been

expected to “stand up and object.” Id. However, Hamilton’s plea colloquy

demonstrates that both he and his counsel believed that they could

meaningfully interact. If Hamilton had meant to plead guilty only in exchange

for a life sentence, he clearly would have conveyed his surprise to his attorneys




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when he saw that he was still on trial for his life. His attorneys could have then

acted to retract the plea pursuant to Texas’s liberal policy. See McWherter, 571

S.W.2d at 313. Or, at the very least, his attorneys could have alerted the trial

court and made a record showing that Hamilton had made a grave mistake.

This did not happen, and counsel’s affidavit reflects no confusion on the part of

her client. 4 SHCR–01 811. Hamilton’s lack of protestation strongly suggests

that the ensuing proceedings unfolded exactly the way that Hamilton expected.

      D.    The trial proceedings show that Hamilton was aware of his
            right against self-incrimination as well as his ability to
            waive it.

      As noted above, the Fifth Circuit has made it clear that there is no

requirement that a defendant be expressly advised that a guilty plea waives

his right against self-incrimination. Neyland, 785 F.2d at 1288. Moreover, the

affidavit that Hamilton submitted during state habeas contains no complaint

about mistakenly waiving his right against self-incrimination—rather,

Hamilton only complains about receiving the death penalty despite his guilty

plea. 1 SHCR–01 84. Nevertheless, the record in this case shows that Hamilton

was aware of his right against self-incrimination and his ability to exercise it

at a trial. At voir dire, the trial court repeatedly explained the right against

self-incrimination in front of Hamilton. 3 RR 20–28; 12 RR 78–90; 14 RR 25–




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32; 75 Schaefer, 2017 WL 3822750, at *5 (“Petitioner did know he was waiving

his right to a jury trial and did know he was waiving his right to be free of self-

incrimination, as these specific rights were discussed during jury voir dire and

prior to the entry of the guilty pleas.”). Defense counsel submitted a motion

attempting to limit the State’s cross-examination of Hamilton at punishment

if he should testify, suggesting that his testimony at punishment would not

constitute a full waiver of his right against self-incrimination. 2 CR 281–89.

And the trial court’s charge also acknowledged that Hamilton exercised his

right against self-incrimination vis-à-vis punishment and ordered that

Hamilton should not be penalized for it. 2 CR 326; 21 RR 4.

        Further, Hamilton was no stranger to guilty pleas or the criminal justice

system. Hamilton had multiple prior convictions before his indictment for

Matalkah’s murder—pleading guilty no less than four times. SX 48–51.

Hamilton even signed a stipulation of evidence regarding his prior convictions

that acknowledged that he wanted to “waive his right against self-

incrimination.” SX 47. This stipulation is dated only one day after his guilty

plea. 16 RR 10. Hamilton has asserted that the Director has cited “no cases

[that] allow information learned after a guilty plea to be used as proof of

knowledge at time of the guilty plea.” Am. Pet., ECF No. 50 at 183–84; Reply,


75     The Director’s previous answer had also cited 11 RR 75–84, but Hamilton correctly
notes that Hamilton was not present at that time. Am. Pet., ECF No. 50 at 183; 11 RR 6.


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ECF No. 34 at 12, 15–16. However, the converse is also true—Hamilton offers

no cases clearly and explicitly showing that evidence from the punishment

phase has no place in ascertaining the defendant’s knowledge at the time of a

guilty plea. And Hamilton has the burden on federal habeas review. But even

without this evidence, it seems clear that Hamilton had the relevant

awareness, as discussed above.

      This Court cannot grant habeas relief unless it determines that the

state’s determination conflicts with clearly established federal law as

determined by the Supreme Court or “[is] based on an unreasonable

determination of the facts in light of the evidence.” 28 U.S.C. § 2254(d); see

Flores v. Davis, No. H–15–1208, 2016 WL 8223054, at *17–18 (S.D. Tex. Dec.

19, 2016) (holding the state court’s rejection of the petitioner’s due process

claim was not an unreasonable application of Boykin because “Boykin does not

require, and has never been extended to require, that the trial court inform the

defendant of the possible punishment range. Instead, . . . all that is required is

that the defendant know, from some source, the potential penalties he faces

when pleading guilty.”) (emphasis added). . Here, the state court findings and

determinations are not unreasonable or inconsistent with clearly-established

federal law. See id. at *18 (holding the state court’s rejection of Boykin claim

was not based on an unreasonable determination of the facts where the record




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showed the petitioner was present when the punishment range was discussed).

Consequently, the Court should deny any federal habeas relief on this claim.

VII. Hamilton’s Apprendi/Ring/Hurst Claim Is Procedurally Barred
     and Meritless. (Claim 7)

      In his amended petition’s seventh claim for relief, Hamilton argues that

he is entitled to relief under Apprendi, Ring, and Hurst because: (1) the first

special issue purportedly allows the jury to make its decision based on a

probability rather than a reasonable doubt; and (2) the second special issue is

not required to be proven beyond a reasonable doubt. Am. Pet., ECF No. 50 at

185–96; Pet., ECF No. 19 at 118–29. The state court rejected this claim on state

habeas review, finding that the claim was procedurally barred for lack of

contemporaneous objection and alternatively meritless. 1 SHCR–01 28–40; 4

SHCR–01 792–94, 802–03. Consequently, this claim is now defaulted for the

purposes of federal review. In the alternative, the state court’s decision on the

merits was reasonable under Fifth Circuit precedent, and Hamilton’s claim

should be denied under AEDPA.

      A.    This claim is procedurally             barred    for   lack   of   a
            contemporaneous objection.

      The state court found that Hamilton did not object at trial on the instant

grounds and procedurally barred him from presenting his state habeas claim

that the Texas death penalty is unconstitutional in light of Apprendi and Ring.




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4 SHCR–01 792–94, 802–03. A defendant’s failure to comply with Texas

contemporaneous objection rule constitutes an adequate and independent

state-law procedural ground sufficient to bar federal habeas relief. Hughes v.

Johnson, 191 F.3d 607, 614 (5th Cir. 1999). Hamilton has asserted that he can

circumvent the bar because he can demonstrate cause and prejudice and

because failure to consider this claim would constitute a miscarriage of justice.

Reply, ECF No. 34 at 85–87. Specifically, he asserts that his claim is

purportedly novel and could not have been raised at trial. But Apprendi

(decided June 26, 2000) and Ring (decided June 24, 2002) were both available

at the time of trial in November 2002. 16 RR 8. And, if Hamilton truly believes

that Hurst has sufficiently altered his claim that it could not have been raised

previously, then the claim must be new and therefore is simply unexhausted

and procedurally defaulted.

      Moreover, Hamilton’s claim for prejudice is just that his claim is

meritorious and not hearing it permits him to be sentenced to death without

the benefit of the beyond-a-reasonable-doubt standard. However, as shown

below, the Fifth Circuit has repeatedly rejected the underlying claim and

therefore Hamilton cannot show prejudice on that basis. And Hamilton does

not show that failure to consider this claim would result in a fundamental

miscarriage of justice because that only occurs when the petitioner is actually




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innocent of the offense underlying his conviction or ‘actually innocent’ of the

death penalty.” Roberts, 681 F.3d at 605. Hamilton pleaded guilty to the

underlying offense, meaning he is not innocent of the offense underlying his

conviction. Moreover, Hamilton is not actually innocent of the death penalty,

since being actually innocent of the death penalty means being ineligible for

the death penalty, and Hamilton admitted his eligibility when he pleaded

guilty to his capital offense. Rocha v. Thaler, 626 F.3d 815, 826 (5th Cir. 2010);

Buck v. Thaler, 345 F. App’x 923, 928–29 (5th Cir. 2009); Ex parte Chavez, 213

S.W.3d 320, 324 n.19 (Tex. Crim. App. 2006) (noting that evidence showing

actual innocence of the death penalty does not encompass “evidence that

merely informs a jury’s discretionary authority to assess a punishment less

than death. It extends only to evidence that negates the statutorily specified

aggravating factors that elevate the offense to capital status”) (emphasis in

original).

      Accordingly, this claim must be denied as procedurally barred.

      B.     Hamilton’s claim is meritless.

      Hamilton at least partly acknowledges that these claims have been

found meritless under Fifth Circuit precedent. Am. Pet., ECF No. 50 at 192;

Pet., ECF No. 19 at 125. Indeed, this Circuit’s cases shows that Apprendi does

not control the pleading and proof requirements for the mitigation issue




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because the mitigation issue is not an aggravating factor that increases

punishment beyond the prescribed statutory maximum authorized by the

jury’s verdict. Scheanette, 482 F.3d at 828; Granados v. Quarterman, 455 F.3d

529, 536–37 (5th Cir. 2006); Turner v. Quarterman, 481 F.3d 292, 299–300 (5th

Cir. 2007); Rowell v. Dretke, 398 F.3d 370, 378 (5th Cir. 2005). Similarly,

“Texas’s use of special issue no. 1 in the punishment phase of [Hamilton]’s

capital case, which required the jury to answer ‘yes’ only if the State had

proven ‘beyond a reasonable doubt that there is a probability that [Hamilton]

would commit criminal acts of violence that would constitute a continuing

threat to society,’ does not violate [] Apprendi, or Ring.” Rowell, 398 F.3d at

379.

       Hurst has not altered the Fifth Circuit’s opinion. Thompson, 916 F.3d at

462 (the Hurst Court’s holding does not bear on the Texas procedure, in which

a jury reaches findings regarding whether to reduce a sentence from death);

Sparks v. Davis, 756 F. App’x 397, 404 (5th Cir. 2018) (“Sparks argues that

[Hurst] now requires this court to apply Apprendi to Texas’s capital sentencing

law. This court has consistently rejected that claim.”); Garcia, 704 F. App’x at

324 (“Garcia has not shown how the Supreme Court’s opinion in Hurst disturbs

this court’s prior analysis and holding.”).




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        Moreover, the Fifth Circuit has explained that “[n]o Supreme Court or

Circuit precedent constitutionally requires that Texas’s mitigation special

issue be assigned a burden of proof.” Rowell, 398 F.3d at 378. Likewise,

“[a]ccepting [petitioner]’s argument that special issue no. 1 is unconstitutional

because the term ‘probability’ swallows the reasonable doubt standard under

an extension of Apprendi and Ring [. . .] would be a violation of Teague.” Id.

Under Teague, Hamilton may not obtain relief based on rules of constitutional

law that have yet to be announced, or that were announced after his conviction

became final. 76 Accordingly, even assuming that the special issues did require

the procedural safeguards set forth in Apprendi, the retroactive application of

such requirements would be barred by Teague.

        The state court’s rejection of Hamilton’s claim was objectively reasonable

and not contrary to clearly established federal law. Consequently, Hamilton is




76      There were formerly only two limited exceptions to Teague’s non-retroactivity
principle. The first exception was for rules that would place primary conduct beyond the
government’s power to proscribe or a class of persons beyond its power to punish in certain
ways. Graham v. Collins, 506 U.S. 461, 477 (1993). The second Teague exception was reserved
for bedrock rules of criminal procedure that are necessary to ensure a fundamentally fair
trial. Id. The Supreme Court recently dispatched the second exception. Edwards v. Vannoy,
141 S. Ct. 1547, 1560, 1562 (2021) (“New procedural rules do not apply retroactively on
federal collateral review.”). Hamilton asserts that he falls into the first exception. Reply, ECF
No. 34 at 88–89. However, he cites no case identifying his proposed group—which is
apparently just victims of this alleged error—as valid for Teague purposes, and certainly such
a group is not clearly defined as the others who have fallen into this Teague exception, like
the underaged or the intellectually disabled. Indeed, Hamilton’s class would encompass all
offenders subject to the purported error—in fact, it would likely encompass all Texas death
row inmates.


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not entitled to federal habeas relief on this claim even if it were not

procedurally barred for lack of a contemporaneous objection.

VIII. The State Court Reasonably Rejected Hamilton’s 12–10 Rule
      Claim. (Claim 8)

        In his amended petition’s eighth claim for relief, Hamilton complains

that Texas’ 12–10 rule 77 violated his rights under the Eighth and Fourteenth

Amendments. Am. Pet., ECF No. 50 at 196–203; Pet., ECF No. 19 at 129–36.

In support, he relies on Jones v. United States, 527 U.S. 373, 381–82 (1999).78

The CCA denied this claim on direct appeal. Hamilton v. State, 2004 WL

3094382, at *4 (“Jones also recognized that jurors are not affirmatively misled

when they are not informed of the consequence of their failure to agree because

such an instruction has ‘no bearing on the jury’s role in the sentencing process’

but that it instead ‘speaks to what happens in the event that the jury is unable

to fulfill its role.’”). This decision is plainly reasonable, as the Fifth Circuit has



77      The jury was instructed that it could not vote “yes” to the future-dangerousness
special issue unless all twelve jurors agreed with that answer or “no” unless ten or more
jurors agreed with that answer. 2 CR 322. It was further instructed that it could not vote
“yes” to the mitigation special issue unless ten or more jurors agreed with that answer or “no”
unless all twelve jurors agreed with that answer. Id.

78      To the extent that Hamilton now relies on any other basis for relief—for instance,
Mills v. Maryland, 486 U.S. 367 (1988), or Simmons—his claim is unexhausted and
procedurally defaulted since he did not raise these issues on direct appeal when he advanced
his original Jones-based claim. Am. Pet., ECF No. 50 at 198, 200; Brief for Appellant at 58–
63; Young v. Davis, 835 F.3d 520, 527 n.35 (5th Cir. 2016). That said, the Fifth Circuit has
rejected 12–10 claims based on these cases. Young, 835 F.3d at 527–29; Alexander v. Johnson,
211 F.3d 895, 897 (5th Cir. 2000); see also Greer v. Thaler, 380 F. App’x 373, 387–89 (5th Cir.
2010) (per curiam).


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previously cited Jones in support of denying claims that the 12–10 rule in

Texas violated a capital murder defendant’s Eighth and Fourteenth

Amendment rights. Young, 835 F.3d at 527–29; Sprouse v. Stephens, 748 F.3d

609, 623 (5th Cir. 2014) (holding Fifth Circuit precedent and Jones foreclose

certificate of appealability on whether failure to inform jury on consequences

of a holdout juror violates the Constitution); Blue v. Thaler, 665 F.3d 647, 669–

70 (5th Cir. 2011) (holding “Jones insulates the [12–10] Rule from

constitutional attack”); Druery, 647 F.3d at 543–44 (acknowledging Jones and

rejecting argument that failure to inform jurors of consequence of failure to

agree relieves them of individual responsibility) 79; Alexander, 211 F.3d at 897,

n.5; see also Reed v. Stephens, 739 F.3d 753, 779 (5th Cir. 2014). It has also

consistently held that any ruling that the 12–10 rule violates the federal

Constitution is a new constitutional rule of criminal procedure as defined in

Teague. 80 Blue, 665 F.3d at 670; Hughes v. Dretke, 412 F.3d 582, 593–94 (5th

Cir. 2005); Alexander, 211 F.3d at 897; Webb v. Collins, 2 F.3d 93, 95–96 (5th

Cir. 1993). Since the denial of this ground for relief at the state level was not



79     Druery also rejects an argument based on Kubat v. Thieret, 867 F.2d 351 (7th Cir.
1989), cited by Hamilton. Am. Pet., ECF No. 50 at 199–200.

80     Hamilton argued in his initial petition’s reply brief that Teague would not apply
because Jones and Mills existed prior to Hamilton’s trial. But Hamilton wishes to extend the
holdings of those cases to disparate circumstances. Reply, ECF No. 34 at 90–91. That
extension—which is not dictated by precedent, breaks new ground, and imposes a new
obligation on Texas—is what violates Teague.


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contrary to clearly established federal law, federal habeas relief is precluded

under AEDPA.

IX.   The State Court Reasonably Determined That the Trial Court
      Was Not Required to Define All Terms in Its Instructions. (Claim
      9)

      In his amended petition’s ninth claim for relief, Hamilton argues that he

was denied his rights to due process of law, an impartial jury, and freedom

from cruel and unusual punishment because the Texas death-penalty statute

purportedly uses inherently vague terms that allow the arbitrary imposition of

capital punishment. Am. Pet., ECF No. 50 at 203–09; Pet., ECF No. 19 at 136–

41. Specifically, Hamilton complains of the trial court’s failure to define the

terms “probability,” “criminal acts of violence,” and “continuing threat to

society” in the future dangerousness special issue. Id. The CCA denied this

claim during Hamilton’s direct appeal. Hamilton v. State, 2004 WL 3094382,

at *5. This decision was clearly reasonable, and AEDPA now precludes this

Court from granting any relief on Hamilton’s claim.

      The future dangerousness special issue is part of the Texas capital-

punishment scheme that has been repeatedly upheld by the United States

Supreme Court. See Johnson v. Texas, 509 U.S. 350, 373 (1993); Franklin v.

Lynaugh, 487 U.S.164, 171 (1988); Jurek v. Texas, 428 U.S. 262, 273 (1976);

see also Pulley v. Harris, 465 U.S. 37, 50 n.10 (1984) (noting that Texas’s




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punishment issues are not impermissibly vague because they have a “common-

sense core of meaning”). The Fifth Circuit has also repeatedly rejected claims

that the words used in the punishment issues have such imprecise meanings

in the context of a capital murder trial that the jury cannot discern what is

being asked without having those terms defined in the jury instructions. See

Sprouse, 748 F.3d at 622–23 (“Texas does not run afoul of Maynard v.

Cartwright, 486 U.S. 356 (1988), or Godfrey v. Georgia, 446 U.S. 420 (1980) by

not expressly defining these terms.”); Paredes, 574 F.3d at 294; Scheanette, 482

F.3d at 827–28 (denying certificate of appealability on claim that failure to

define “probability” dilutes the State’s burden of proof on grounds that the

Fifth Circuit has “repeatedly held that the term ‘probability’ as used in the

Texas special issue is not so vague as to require additional instructions (such

as definition by the court)”); Turner, 481 F.3d at 299–300 (holding terms

“probability,” “criminal acts of violence,” and “continuing threat to society” not

unconstitutionally vague); Leal v. Dretke, 428 F.3d 543, 553 (5th Cir. 2005)

(holding that terms “probability,” “criminal acts of violence,” and “continuing

threat to society” needed no definition); Hughes, 191 F.3d 615 (upholding use

of term “probability”); Woods v. Johnson, 75 F.3d 1017, 1033–34 (5th Cir. 1996)

(rejecting argument that the terms used in the special issues are “aggravating

factors” and unconstitutionally vague absent definition); James v. Collins, 987




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F.2d 1116, 1120 (5th Cir. 1993) (upholding use of terms “deliberately,”

“probability”, “criminal acts of violence,” and “continuing threat to society” as

having a “common-sense core of meaning that criminal juries should be capable

of understanding”); Nethery v. Collins, 993 F.2d 1154, 1162 (5th Cir. 1993)

(upholding use of terms “deliberately,” “probability,” and “society” without

definition); Milton v. Procunier, 744 F.2d 1091, 1095–96 (5th Cir. 1984) (the

terms “deliberately,” “probability,” and “criminal acts of violence” have “plain

meaning of sufficient content” to warrant their inclusion in sentencing

instructions). And because controlling federal law currently upholds the

constitutionality of the Texas future dangerousness issue, acceptance of

Hamilton’s argument is barred by Teague. See Scheanette, 482 F.3d at 827

(noting that district court Teague-barred this argument); Leal, 428 F.3d at 553

(same).

        Hamilton’s argument that the state court’s adjudication of this claim was

unreasonable is flatly contradicted by Fifth Circuit precedent. Accordingly,

this Court should deny any federal habeas relief on this claim.

X.      One of Hamilton’s Claims Under Bush Is Procedurally Barred for
        Lack of a Contemporaneous Objection, and Both Are Meritless.
        (Claims 10 & 11)

        In his amended petition’s tenth and eleventh claims for relief, Hamilton

alleges that the Texas death-penalty system discriminates on the basis of race




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and that the Texas death penalty is arbitrarily imposed based on a defendant’s

geographic location. Am. Pet., ECF No. 50 at 209–16; Pet., ECF No. 19 at 141–

50. In support, Hamilton asserts that statistical analysis shows that African

Americans and residents of Harris County are more likely to receive the death

penalty for a capital crime than individuals of another race or residents of

another Texas county. Id. However, the state habeas court found that

Hamilton’s tenth claim (discrimination based on race) was procedurally barred

for lack of a contemporaneous objection. In the alternative, the state court

denied both claims on the merits. As shown below, the state habeas court’s

decision was entirely reasonable. Accordingly, this Court should deny relief

under AEDPA.

      A.    Hamilton’s tenth claim is procedurally barred for lack of a
            contemporaneous objection.

      The state habeas court found that Hamilton did not preserve a complaint

based on racial discrimination for review with a contemporaneous objection. 4

SHCR–01 795–97, 804–05. A finding by a Texas appellate court that a criminal

defendant has failed to comply with the Texas contemporaneous objection rule

constitutes an independent and adequate basis for a federal habeas court’s

refusal to address the merits of a claim for federal habeas corpus relief. Rowell,

398 F.3d at 374–75. Hamilton complains that the state court’s imposition of

the bar was improper because he did actually object. Reply, ECF No. 34 at 98.



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But, again, the Fifth Circuit has held that it will not second-guess the state

court’s application of a procedural bar. Buntion, 982 F.3d at 951; Smith, 216

F.3d at 523. In any event, the cited pages make it clear that Hamilton objected

based on geography, not race. 1 CR 180–81.

      B.    Alternatively, the state court reasonably found that these
            two claims were meritless.

            1.    Hamilton’s race-based claim is meritless.

      Hamilton does not adduce any direct evidence of racial discrimination.

Am. Pet., ECF No. 50 at 209–12; Pet., ECF No. 19 at 141–45. His arguments

do not point to any specific decision in his case directly attributable to racial

animus. Id. He has not identified any action by the prosecutors, jury, or judge

that infused his trial with racial bias. Id. Instead, he relies primarily on

statistical analysis to show that he was the victim of prejudice. However, the

state habeas court noted that in McCleskey v. Kemp, 481 U.S. 279, 288–89

(1987), the Supreme Court rejected the use of general statistics and studies to

show racial discrimination in the death penalty process. 4 SHCR–01 796, 805.

Given the lack of specific proof relating to Hamilton’s own case, the state

habeas court reasonably denied Hamilton’s claim.

      “‘One of society’s most basic tasks is that of protecting the lives of its

citizens and one of the most basic ways in which it achieves the task is through

criminal laws against murder.’ Implementation of these laws necessarily



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requires discretionary judgments.” McCleskey, 481 U.S. at 297 (quoting Gregg

v. Georgia, 428 U.S. 153, 226 (1976) (White, J., concurring)). “Whether to

prosecute and what charge to file or bring before a grand jury are decisions

that generally rest in the prosecutor’s discretion,” United States v. Batchelder,

442 U.S. 114, 124 (1979), so long as the prosecutor “has probable cause to

believe that the accused committed an offense defined by statute.”

Bordenkircher v. Hayes, 434 U.S. 357, 364 (1978). Though it is subject to

constitutional restraints, the sound exercise of prosecutorial discretion is a core

constitutional function of the executive branch of government, is essential to

protecting societal interests in the effective enforcement of criminal law, and

is thus ill-suited to judicial review. United States v. Armstrong, 517 U.S. 456,

464–65 (1996); Wayte v. United States, 470 U.S. 598, 607 (1985); United States

v. Goodwin, 457 U.S. 368, 382 (1982); Bordenkircher, 434 U.S. at 365.

“Exceptionally clear proof” is therefore required before courts will infer abuse

of prosecutorial discretion. McCleskey, 481 U.S. at 297. Accordingly, “[t]he

conscious exercise of some selectivity in [criminal law] enforcement is not in

itself a federal constitutional violation” unless the selection was “deliberately

based upon an unjustifiable standard such as race, religion or other arbitrary

classification.” Oyler v. Boles, 368 U.S. 448, 456 (1962).




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      Moreover, the McCleskey Court held that to establish an equal protection

violation in the capital sentencing context, a defendant must prove that the

decisionmakers in his case acted with a discriminatory purpose. McCleskey,

481 U.S. at 292–93; White v. Thaler, 522 F. App’x 226, 235 (5th Cir. 2013) (“A

defendant claiming an equal protection violation in a death penalty case must

prove that the prosecutor acted with a discriminatory purpose in that

particular case.”). Hamilton presents no direct evidence of racial bias in his

case, only statistics. See Hughes v. Dretke, 160 F. App’x 431, 436 (5th Cir. 2006)

(petitioner presented no direct evidence that conviction obtained as a result of

racially discriminatory practice); Goss v. Johnson, 199 F.3d 439, 1999 WL

1067676 at *5 (5th Cir. 1999) (newspaper articles and statistics insufficient);

Johnson v. Stephens, CIV.A. H–11–2466, 2013 WL 4482865, at *23 (S.D. Tex.

Aug. 19, 2013) (unpublished) (denying McCleskey claim where petitioner relied

on “various social-science studies and ‘a long history of racial discrimination in

the application of the death penalty in the United States’ to argue that ‘his

chances of receiving the death penalty in the United States, and in particular

Harris County, Texas, are far greater simply because he is an African-

American’”); White v. Thaler, H–02–1805, 2011 WL 4625361, at *9 (S.D. Tex.

Sept. 30, 2011) (unpublished) (“the Supreme Court foreclosed this argument

more than 20 years ago”); Cannady v. Dretke, CIV. A. C–01–273, 2005 WL




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5226384, at *16 (S.D. Tex. Apr. 29, 2005) (unpublished) (McClesky “requires a

petitioner making an equal protection challenge to show purposeful

discrimination.    While    Cannady        makes   general   arguments    about

discrimination toward Hispanic, indigent, and/or incarcerated defendants, he

points to nothing showing purposeful discrimination in his case.”); United

States v. Sanders, CRIM.A. 10–00351, 2014 WL 3122418, at *3 (W.D. La. July

3, 2014) (unpublished) (“[The Defendant] relies solely on law review articles

and general statistical data that purport to show a racial and geographical bias

in capital-sentencing decisions generally, which is insufficient to sustain his

burden of proof under the Fifth or Eighth Amendments.”); see also United

States v. Duran-Gomez, 4:10–CR–0459–S, 2019 WL 11853411, at *1–*2 (S.D.

Tex. Oct. 7, 2019); Young v. Stephens, MO–07–CA–002–RAJ, 2014 WL 509376,

at *50–*52 (W.D. Tex. Feb. 10, 2014), opinion vacated in part, CIV. MO–07–

CA–002, 2014 WL 2628941 (W.D. Tex. Jun. 13, 2014), aff’d, 795 F.3d 484 (5th

Cir. 2015), as revised (July 30, 2015).

      Hamilton reads Bush as removing the requirement that he adduce

specific evidence of racism. But the Fifth Circuit “previously has discussed

Bush’s utter lack of implication in the criminal procedure context.” Chi v.

Quarterman, 223 F. App’x 435, 439 (5th Cir. 2007). In fact, the Fifth Circuit

has found that it “is beyond debate” that Bush does not require federal courts




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to examine “if the decision to seek the death penalty and the Texas clemency

process are unconstitutionally infused with racial considerations[.]” Coleman

v. Quarterman, 456 F.3d 537, 543–44 (5th Cir. 2006); see also Chi, 223 F. App’x

at 439; Wyatt v. Dretke, 165 F. App’x 335, 339–40 (5th Cir. 2006); Hughes, 160

F. App’x at 436. Furthermore, application of the equal protection principles of

Bush to Hamilton’s state criminal conviction is foreclosed by Teague. 81

Coleman, 456 F.3d at 542 (noting district court found claim Teague-barred).

        Hamilton provides no evidence that he, specifically, was treated

differently because he is a member of protected class. There is no suggestion

that a specific prosecutor took a specific action in his specific case that was

product of racial bias, let alone one that led to the decision to seek the death

penalty. Rather, “a legitimate and unchallenged explanation for the decision is

apparent from the record: [Hamilton] committed an act for which the United

States Constitution and [Texas] laws permit the imposition of the death

penalty.” McCleskey, 481 U.S. at 297 (footnote omitted). That is, he brutally

murdered Matalkah while committing a robbery. The state court’s merits

denial of this claim was entirely reasonable.




81     Hamilton asserts that his claim is not Teague-barred because Bush was rendered
before his trial. Reply, ECF No. 34 at 99. But it is Hamilton’s proposed extension of Bush to
the disparate circumstances at hand that is Teague-barred, not Bush itself. That extension
is hardly dictated by Bush.


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              2.     Hamilton’s geography-based claim is meritless.

        In his amended petition’s eleventh claim, Hamilton complains that the

Harris County prosecutor chooses to utilize the death penalty statute more

frequently than other counties. Am. Pet., ECF No. 50 at 213–16; Pet., ECF No.

19 at 146–50. But, since a suspect 82 classification is not implicated, the Texas

death-penalty statute “is presumed to be valid and will be sustained if the

classification drawn by the statute is rationally related to a legitimate state

interest.” City of Cleburne, Tex. v. Cleburne Living Ctr., 473 U.S. 432, 440

(1985). Given that prosecutorial discretion is essential to the criminal justice

process, see McCleskey, 481 U.S. at 297, Hamilton cannot satisfy this standard.

        Hamilton complains that the death penalty is disproportionately applied

in Harris County as compared to other states and counties, but the fact

remains Hamilton committed an act for which the United States Constitution

and Texas laws permit the imposition of the death penalty. McCleskey, 481

U.S. at 297. Hamilton was not the victim of happenstance; he chose to commit

this capital murder in Harris County. As demonstrated by the precedent in the

previous section, the decision to seek the death penalty was clearly within the

prosecutor’s discretion, and Hamilton fails to demonstrate that a prosecutor



82    The Supreme Court has never held that capital murderers constitute a suspect class
and has even indicated otherwise. See Gregg, 428 U.S. at 186–87 (decision to authorize capital
punishment for some classes of crimes was one best left to legislature).


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would not have sought the death penalty if Hamilton had only committed this

capital murder in a different county. And while he argues again that Bush

supports his claim, the Director reiterates the Fifth Circuit has opined that

Bush has an “utter lack of implication in the criminal procedure context.” Chi,

223 F. App’x at 440; White, 2011 WL 4625361, at *10 (“White contends that

Harris County seeks the death penalty more frequently than rural Texas

counties. The only authority he cites in support of his claim that this violates

equal protection is Bush. As noted above, Bush is irrelevant.”).

      Hamilton’s briefing generally suggests that it is constitutionally

intolerable that some death-eligible defendants are subjected to the possible

imposition of capital punishment, while others are not. But “[t]he Constitution

permits qualitative differences in meting out punishment and there is no

requirement that two persons convicted of the same offense receive identical

sentences.” Williams v. Illinois, 399 U.S. 235, 243 (1970). Moreover, Hamilton’s

geography-based claim is Teague-barred.

      For the foregoing reasons, the state habeas court’s rejection of these two

related claims was not contrary to, or an unreasonable application of, federal

law. See 28 U.S.C. § 2254(d)(1). Accordingly, federal habeas relief should be

denied.




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XI.   Hamilton’s Claim That the Texas Mitigation Special Issue Sends
      Mixed Signals to the Jury Is Procedurally Barred for Lack of a
      Contemporaneous Objection. Alternatively, the State Court
      Reasonably Found That This Claim Is Meritless. (Claim 12)

      In his amended petition’s twelfth claim for relief, Hamilton contends that

the mitigation special issue sends “mixed signals” to the jury, thereby

rendering any verdict reached in response to that special issue intolerably

unreliable under Penry II. Am. Pet., ECF No. 50 at 217–23; Pet., ECF No. 19

at 150–56 (citing Penry v. Johnson, 532 U.S. 782 (2001) (“Penry II”)). These

“mixed signals” apparently refer to: (1) the Apprendi burden-of-proof issue

discussed above; and (2) the fact that the mitigation instruction purportedly

limits mitigating evidence to evidence that could be considered as reducing a

defendant’s moral blameworthiness. Id. However, the state court found that

this claim was barred for lack of a contemporaneous objection. 4 SHCR–01

794–95, 803–04. Alternatively, the state habeas court found that this claim

failed on the merits. Id. As shown below, the state court’s conclusion is

indisputably correct in view of the fact that Hamilton received the current

mitigation special issue, which has been cited approvingly by both the Supreme

Court and the Fifth Circuit. Accordingly, AEDPA precludes relief on this claim.




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      A.    Hamilton’s claim is procedurally barred for lack of a
            contemporaneous objection.

      The state habeas court found that Hamilton did not preserve this

complaint for review with a contemporaneous objection. 4 SHCR–01 794–95,

803–04. Again, a finding by a Texas appellate court that a criminal defendant

has failed to comply with the Texas contemporaneous objection rule constitutes

an independent and adequate basis for a federal habeas court’s refusal to

address the merits of a claim for federal habeas corpus relief. Rowell, 398 F.3d

at 374–75. Hamilton’s initial petition’s reply brief states that he raised this

claim to the trial court. Reply, ECF No. 34 at 102 (citing 1 CR 168–70). But,

again, the Fifth Circuit has held that federal habeas courts cannot second-

guess a state court’s application of a procedural bar. Buntion, 982 F.3d at 951.

And, in any event, the pages cited by Hamilton seem mostly limited to arguing

that that the mitigation special issue impermissibly shifted the burden of proof

to him, which does not fairly encompass the current claim. 1 CR 168–70. The

state court thus correctly found that no objection was made.




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      B.    Alternatively, the state court reasonably determined that
            this claim is meritless.

      A review of the instruction given clearly shows that Hamilton’s capital-

sentencing jury was not denied a vehicle for expressing its reasoned moral

response to Hamilton’s mitigating evidence. The trial court instructed the jury

on the mitigation issue as follows:

      Do you find from the evidence, taking into consideration all of the
      evidence, including the circumstances of the offense, the
      defendant’s character and background, and the personal moral
      culpability of the defendant, Ronald James Hamilton[,] Jr., that
      there is a sufficient mitigating circumstance or circumstances to
      warrant that a sentence of life imprisonment rather than a death
      sentence be imposed?

2 CR 330 (jury charge on punishment).

      The Fifth Circuit has repeatedly held that “Texas’ definition

‘encompasses ‘virtually any mitigating evidence.’” Roach v. Quarterman, 220

F. App’x 270, 277 (5th Cir. 2007) (quoting Beazley, 242 F.3d at 260); see also

McCoskey v. Thaler, 478 F. App’x 143, 150 (5th Cir. 2012) (“The capacious

definition of mitigating evidence employed in the Texas statute can encompass

virtually any mitigating evidence.”) (cleaned up). Furthermore, the Supreme

Court has suggested that the Texas instruction is a “[a] clearly drafted catchall

instruction on mitigating evidence” and displays “brevity and clarity.” Penry

II, 532 U.S. at 803.




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      With respect to Hamilton’s argument that the jury received “mixed

signals” because no burden of proof is placed on the mitigation special issue,

the Supreme Court does not require the states to assign a burden of proof to

mitigating evidence. In fact, the Supreme Court “doubt[s] whether it is even

possible to apply a standard of proof to the mitigating-factor determination”

because the existence of a mitigating factor is a “judgment call” and subject to

the individual juror’s discretion. Kansas v. Carr, 577 U.S. 108, 119 (2016).

“[T]he ultimate question whether mitigating circumstances outweigh

aggravating circumstances is mostly a question of mercy[.]” Id. The Fifth

Circuit has likewise rejected “mixed signals” arguments based upon a lack of

burden of proof for the mitigating special issue. Blue, 665 F.3d at 668–69

(rejecting argument that failure to assign burden of proof to the mitigating

special issue violates the Due Process Clause or Ring and Apprendi); Manns v.

Quarterman, 236 F. App’x 908, 912 (5th Cir. 2007); Oliver v. Quarterman, 254

F. App’x 381, 386–87 (5th Cir. 2007) (rejecting argument that the Texas special

issues send “mixed signals” to the jury, noting that the Supreme Court has

implicitly upheld Texas’ current scheme); Scheanette, 482 F.3d at 824–27

(rejecting argument that additional mitigation instructions sent “mixed

signals” and effectively nullified the mitigation special issue because it did not

apply a burden of proof); Coleman, 456 F.3d at 542. Hamilton “fail[s] to make




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any plausible argument that Texas’s mitigation special issue does not allow

the jury to consider and give effect to a defendant’s mitigating evidence.”

Oliver, 254 F. App’x at 387.

      Hamilton also claims that Texas’s capital-sentencing statute is invalid

because it limits his mitigating evidence to evidence that could be considered

as reducing his moral blameworthiness. This argument has been rejected by

the Fifth Circuit as well. Rhoades, 914 F.3d at 366; Hummel v. Davis, 908 F.3d

987, 994 (5th Cir. 2018); Rockwell v. Davis, 853 F.3d 758, 763 (5th Cir. 2017);

Blue, 665 F.3d at 665–66 (citing Beazley, 242 F.3d at 259). In fact, Supreme

Court justices have broadly used the term “moral blameworthiness” to describe

that which a jury considers in effectuating the mitigation inquiry. Landrigan,

550 U.S. at 499 (Steven, J., dissenting); South Carolina v. Gathers, 490 U.S.

805, 817–18 (1984). Specifically, the justices have used the term to describe

how a jury gives effect to good character evidence that is not “directly relevant”

to the crime. Gathers, 490 U.S. at 817–18 (O’Connor, J., dissenting).

      Accordingly, Hamilton has not shown that the state court proceedings

resulted in a decision that was contrary to, or involved an unreasonable

application of, clearly-established federal law, as determined by the Supreme

Court of the United States, or that the decision was based on an unreasonable

determination of the facts in light of the evidence presented in the state court




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proceeding. For the same reasons, Hamilton’s claim is Teague-barred. No relief

should issue on this claim.

XII. Hamilton’s Claim That Execution by Lethal Injection Is Cruel
     and Unusual Is Without Merit. (Claim 13)

      In his amended petition’s thirteenth claim for relief, Hamilton argues

that execution by lethal injection is cruel and unusual punishment. Am. Pet.,

ECF No. 50 at 223–35; Pet., ECF No. 19 at 156–67. However, this Court should

dismiss this claim because federal habeas corpus review is not the proper

vehicle for such a challenge. This claim is not an attack on the validity of

Hamilton’s conviction or death sentence but a challenge to the proposed

method of execution. For this reason, this claim must be raised as a civil rights

action under 42 U.S.C. § 1983. Alternatively, the state court reasonably denied

this claim, and federal habeas relief should now be denied under AEDPA.

      A.    This claim must be raised under § 1983, not § 2254.

      Hamilton’s    challenge   to   the    lethal-injection   protocol   is   more

appropriately raised as a civil rights action under 42 U.S.C. § 1983, rather than

as a habeas corpus claim under 28 U.S.C. § 2254. See Glossip v. Gross, 576 U.S.

863, 879 (2015) (“a method-of-execution claim must be brought under § 1983

because such a claim does not attack the validity of the prisoner’s conviction or

death sentence”) (citing Hill v. McDonough, 547 U.S. 573, 579–80 (2006)); see

also Thompson v. Davis, CV H–13–1900, 2017 WL 1092309, at *21 (S.D. Tex.



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Mar. 23, 2017), aff’d, 941 F.3d 813 (5th Cir. 2019). Hamilton’s citations to pre-

Hill precedent are not compelling. Am. Pet., ECF No. 50 at 225–26.

      It is further worth noting that the Fifth Circuit holds that a statute of

limitations applies to § 1983 method-of-execution challenges, and such attacks

are appropriately filed either after a plaintiff’s conviction and sentence become

final on direct review, or the date that an execution protocol change becomes

effective. See Walker v. Epps, 550 F.3d 407, 411–15 (5th Cir. 2008). Because

§ 1983 has no statute of limitation, Texas’ two-year statute for personal-injury

actions governs this challenge. Whitaker v. Collier, 862 F.3d 490, 494 (5th Cir.

2017). In this case, the statute of limitations began to run on the later of the

two relevant dates—when the protocol changed July 9, 2012, see Sells v.

Livingston, 750 F.3d 478, 480–81 (5th Cir. 2014)—and expired on July 9, 2014.

Consequently, even if he were to file under § 1983, Hamilton’s time for seeking

relief on this claim has already expired. See, e.g., Swearingen v. Collier, 4:19–

CV–3079, 2019 WL 3935285, at *4 n.8 (S.D. Tex. Aug. 20, 2019) (“The

defendants convincingly argue that Swearingen’s claims are time-barred. A

two-year limitations period exists for the relevant portions of Texas’ protocol.

Despite recent changes to an unrelated portion of the Texas protocol, the core

issues at play have been available to Swearingen since 2012, at least.”).




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        B.    The state court’s disposition is entitled to deference.

        To the extent that this Court believes that this claim is properly raised

as a habeas challenge under § 2254, the state court’s ultimate rejection of this

claim on state habeas review was correct and entitled to deference by this

Court. Therefore, federal habeas corpus relief, if allowed, must nevertheless be

denied. See, e.g., Thompson, 2017 WL 1092309, at *21.

        Here, the state court denied relief on Hamilton’s claim, concluding first

that the claim was not cognizable in an application for state writ of habeas

corpus. 83 4 SHCR–01 797–98, 806. This finding is reasonable because such

claims are indeed barred by state law. See Ex parte Chi, 256 S.W.3d 702 (Tex.

Crim. App. 2008). In the alternative, the court concluded that Hamilton failed

to show that the Texas lethal-injection procedure creates a demonstrated risk

of severe pain that is substantial when compared to a known alternative, or

that the Texas lethal-injection procedure is cruel and unusual punishment. 4

SHCR–01 797–98, 806. The state court’s alternative conclusion that Hamilton

failed to demonstrate that the current method of execution amounts to cruel




83     The state court also concluded that the claim was not ripe for review because Hamilton
does not have an execution date. The Fifth Circuit now allows inmates to challenge the
manner of their execution in federal court even though no date has been set. See Whitaker v.
Livingston, 597 F. App’x 771, 774 (5th Cir. 2015). Hamilton’s complaints about the state
court’s interpretation of Ex parte Barber, 879 S.W.2d 889 (Tex. Crim. App. 1994), are
therefore superfluous—he is not impeded from raising his lethal-injection claim in federal
court due to lack of ripeness. Am. Pet., ECF No. 50 at 233–34.


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and unusual punishment is entitled to deference by this Court and is

reasonable under Supreme Court precedent. 84

        Indeed, the Supreme Court “has yet to hold that a State’s method of

execution qualifies as cruel and unusual.” Bucklew v. Precythe, 139 S. Ct. 1112,

1124 (2019) (affirming denial of challenge to single-drug pentobarbital

challenge); see also Barr v. Lee, 140 S. Ct. 2590, 2591 (2020) (holding that

challenge to federal single-drug pentobarbital protocol was unlikely to succeed

on the merits in preliminary injunction context). To make out an Eighth

Amendment method-of-execution claim, an inmate must establish that the

chosen method creates “a risk that is ‘sure or very likely to cause serious illness

and needless suffering,’ and give rise to ‘sufficiently imminent dangers.’”

Glossip, 576 U.S. at 877 (emphasis in original) (quoting Baze v. Rees, 553 U.S.

35, 50 (2008)). This requires showing “‘a substantial risk of serious harm,’ an

‘objectively intolerable risk of harm’ that prevents prison officials from

pleading that they were ‘subjectively blameless for purposes of the Eighth

Amendment.’” Id. (quoting Baze, 553 U.S. at 50). An inmate must also provide

a “‘feasible, readily implemented’” execution-method alternative that is not




84      Hamilton’s amended petition cites to several news articles that appear not have been
cited to the state court in his state habeas application. 1 SHCR–01 60–75. To the extent that
this claim is considered, those articles are Pinholster-barred.


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“‘slightly or marginally safer,’” but “significantly reduce[s] a substantial risk of

severe pain.’” Id. (quoting Baze, 553 U.S. at 51–52).

      Even if this claim could be considered, Hamilton has not adequately

demonstrated either a substantial risk of serious harm from pentobarbital or

a feasible and readily-implemented alternative that significantly reduces a

substantial risk of severe pain. In state court, Hamilton raised his claim as a

challenge to the prior three-drug protocol. 1 SHCR–01 60–75. The Fifth Circuit

has rejected challenges to Texas’s three-drug lethal injection process. See

generally Raby v. Livingston, 600 F.3d 552 (5th Cir. 2010). However, at this

point, Texas is currently using a single-drug pentobarbital protocol, which is

also acceptable. Bucklew, 139 S. Ct. at 1120, 1134; Lee, 140 S. Ct. at 2591; Wood

v. Collier, 836 F.3d 534, 540 (5th Cir. 2016) (“The reality is that pentobarbital,

when used as the sole drug in a single-drug protocol, has realized no . . . risk”

that it “is sure or very likely to cause serious illness and needless suffering,

and give rise to sufficiently imminent dangers.”) (quotation omitted);

Sepulvado v. Jindal, 729 F.3d 413, 417 (5th Cir. 2013), cert. denied, 134 S. Ct.

1789 (2014); Thorson v. Epps, 701 F.3d 444, 447 n.3 (5th Cir. 2012) (“Though

Texas recently adopted a one drug protocol—also acceptable under the flexible

Baze standard—the method at issue here exactly parallels the one cleared for

use in Raby.”). Use of pentobarbital has been upheld by many courts. See Ringo




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v. Lombardi, 677 F.3d 793, 798–99 (8th Cir. 2012) (noting that challenges to

the use of pentobarbital have been denied). Moreover, the Fifth Circuit has

denied certificates of appealabilty on challenges to the Texas lethal-injection

protocol. See, e.g., Rivas v. Thaler, 432 F. App’x 395, 404–05 (5th Cir. 2011);

Kerr v. Thaler, 384 F. App’x 400, 404–05 (5th Cir. 2010).

      C.    Hamilton’s request for discovery should be denied.

      “A habeas petitioner, unlike the usual civil litigant in federal court, is

not entitled to discovery as a matter of ordinary course.” Bracy v. Gramley, 520

U.S. 899, 904 (1997); United States v. Fields, 761 F.3d 443, 483 (5th Cir. 2014),

cert. denied, 135 S. Ct. 2803 (2015); Reed, 504 F.3d at 471. It is well settled

that a federal habeas petitioner is only entitled to discovery where there is a

showing of “good cause” why discovery should be allowed. Rule 6(a), Rules

Governing Habeas Corpus Cases Under § 2254. Although “good cause” is not

defined, the Advisory Committee Notes to Rule 6 explain that the rule is

consistent with the Supreme Court’s decision in Harris v. Nelson, 394 U.S. 286

(1969). In Harris, the Supreme Court concluded that a federal district court

must provide discovery only “where specific allegations before the court show

reason to believe that the petitioner may, if the facts are fully developed, be

able to demonstrate that he is confined illegally and is therefore entitled to

relief.” 394 U.S. at 300. The Court reasoned that habeas actions are




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particularly unsuited for literal application of the civil discovery rules because

“[s]uch a broad-ranging preliminary inquiry is neither necessary nor

appropriate in the context of a habeas corpus proceeding.” Id. at 297. A

petitioner also cannot show “good cause” for discovery where the federal court

cannot reach the claim’s merits. See Thompson v. Stephens, CIV.A. H–13–1900,

2014 WL 2765666, at *2 (S.D. Tex. Jun. 18, 2014) (unpublished).

      Here, Hamilton is not entitled to relief under 28 U.S.C. § 2254 and is

barred by the statute of limitations if he proceeds under 42 U.S.C. § 1983. And

even if Hamilton could proceed under § 2254, any new evidence would be

barred by Pinholster, and any new claims would be unexhausted and

procedurally defaulted. Since the Court cannot reach the merits of Hamilton’s

lethal-injection claim, he fails to show good cause for discovery. Furthermore,

his claims fail to state a prima facie claim for relief under controlling Circuit

and Supreme Court precedent. Montoya v. Scott, 65 F.3d 405, 417 (5th Cir.

1995). Accordingly, granting discovery under these circumstances would

constitute an abuse of discretion.

XIII. Hamilton’s Cumulative-Error Claim Is Time-Barred, Defaulted,
      and Meritless (Claim 14).

      In his amended petition’s fourteenth claim for relief, Hamilton argues

that he is entitled to relief based on cumulative error. Am. Pet., ECF No. 50 at

236–38. But this claim is time-barred, defaulted, and meritless. First, this



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claim was not included in Hamilton’s original federal habeas petition and was

raised for the first time in his amended petition. Compare Pet., ECF No. 19 at

iii–vii (table of contents) with Am. Pet., ECF No. 50 at 3–6 (table of contents).

Most (if not all) of the claims in his amended petition that Hamilton wishes to

cumulate were in his original petition. There is no reason that this claim could

not have been raised in Hamilton’s original petition, and therefore it is time-

barred under AEDPA’s one-year statute of limitations. 85 28 U.S.C. § 2244(d).

Second, Hamilton does not identify where he raised this claim to the state

court. It does not appear that he raised a cumulative-error claim on direct

appeal or state habeas review. See Brief for Appellant; 1 SHCR–01 2–78. And

it does not appear that he presented it in the subsequent application that the

CCA dismissed as an abuse of the writ. 1 SHCR–02 1–123. Therefore, the claim

is unexhausted and procedurally defaulted. Beatty, 759 F.3d at 465. Third, the

Fifth Circuit has repeatedly held that individual errors not of constitutional

dimension cannot be cumulated to form an error worthy of relief. United States

85       Direct review of Hamilton’s conviction was not complete and/or Hamilton received
tolling for his initial state habeas proceedings until June 24, 2015. 28 U.S.C. §§ 2244(d)(1)(A),
(d)(2); Ex parte Hamilton, 2015 WL 3899185. Hamilton filed his federal petition for a writ of
habeas corpus on June 17, 2016, with seven days left on the clock. Pet., ECF No. 19. Federal
habeas proceedings did not toll the statute of limitations for this new claim, Duncan v.
Walker, 533 U.S. 167, 181–82 (2001), so the statute of limitations expired on June 24, 2016.
While Hamilton seeks cumulate the alleged errors resulting from the purported
constitutional violations raised in his original petition, his cumulative-error claim does not
relate back to the date the original petition was filed because his cumulative-error claim is a
separate and distinct claim for relief. See Mayle v. Felix, 545 U.S. 644, 656–57 (2005); Ramey
v. Davis, 314 F. Supp. 3d 785, 797, 800 (S.D. Tex. 2018) (holding the petitioner’s claim eight—
alleging cumulative error—did not relate back to the filing of his original petition).


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v. Thomas, 724 F.3d 632, 648 (5th Cir. 2013) (“there is no precedent supporting

the idea that a series of ‘errors’ that fail to meet the standard of objectively

unreasonable can somehow cumulate to meet the high burden set forth in

Strickland”); Coble, 496 F.3d at 440; Turner, 481 F.3d at 301 (“[W]here

individual allegations of error are not of constitutional stature or are not

errors, there is ‘nothing to cumulate.’”) (quoting Yohey v. Collins, 985 F.2d 222,

229 (5th Cir. 1993)). As shown throughout this amended answer, none of

Hamilton’s claims have merit; thus, cumulation would afford him no relief.

Further, under the Fifth Circuit’s precedent, a cumulative-error analysis is

only warranted when errors were not procedurally defaulted for habeas

purposes, and the errors so infected the entire trial that the resulting

conviction violates due process or fundamental fairness. Westley v. Johnson, 83

F.3d 714, 726 (5th Cir. 1996). Some of Hamilton’s claims are procedurally

defaulted, and none of his claims involved errors that deprived his conviction

and sentence of fundamental fairness.

      The Fifth Circuit has also recognized that the Supreme Court has never

accepted cumulative error as a valid constitutional claim. Hill v. Davis, 781 F.

App’x 277, 280–81 (5th Cir. 2019). As such, this claim is barred under the non-

retroactivity doctrine of Teague. And even the Fifth Circuit has acknowledged




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that its own views concerning the applicability of cumulative error are

scattershot. In Hill, the Fifth Circuit stated:

        Although Hill is correct that we have employed a cumulative
        framework at times to assess ineffective assistance of counsel
        claims, there is no hard and fast rule governing its use, even as a
        matter of circuit precedent. On multiple occasions, this court has
        either declined to apply a cumulative prejudice analysis or
        questioned its relevance altogether. See, e.g., Pondexter v.
        Quarterman, 537 F.3d 511, 525 (5th Cir. 2008) (holding that
        “[m]eritless claims or claims that are not prejudicial cannot be
        cumulated, regardless of the total number raised”) [ ]; see also
        Allen v. Vannoy, 659 F. App’x 792, 818 (5th Cir. 2016) (per curiam);
        Zimmerman v. Cockrell, 69 F. App’x 658, 2003 WL 21356018, at
        *12 (5th Cir. 2003) (per curiam).

781 F. App’x at 281 n.2. Given the multiple occasions the Fifth Circuit has

rejected a cumulative error analysis, and that the Supreme Court has never

recognized it, this Court should likewise reject its use in this case.

                                    CONCLUSION

        For the foregoing reasons, the Court should deny Hamilton’s petition for

a writ of habeas corpus and his requests for discovery and a hearing. Am. Pet.,

ECF No. 50 at 238–39. 86 Furthermore, because the resolution of Hamilton’s

claims is not debatable among jurists of reason, the Court should sua sponte

deny a certificate of appealability. See Alexander, 211 F.3d at 898 (explaining




86     Hamilton’s prayer includes a cursory request for a stay to exhaust his state remedies.
But this Court has already granted one stay for this purpose, and Hamilton does not
elaborate on why a second stay would be necessary.


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that the district court has the power to sua sponte deny a certificate of

appealability without prior briefing and argument by counsel).

                                   Respectfully submitted,

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                        CERTIFICATE OF SERVICE

       I do hereby certify that August 24, 2021, I electronically filed the

foregoing pleading with the Clerk of the Court for the United States District

Court, Southern District of Texas, using the electronic case-filing system of the

Court. The electronic case-filing system sent a “Notice of Electronic Filing” to

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